     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 1 of 231



 1          UNITED STATES DISTRICT COURT OF MARYLAND
                         SOUTHERN DIVISION
 2
   ------------------------x
 3 UNITED STATES OF AMERICA  :
              Plaintiff      :
 4                           :
                             :
 5 vs                        :Criminal Action:           RWT -04-0235
                             :
 6                           :
   PAULETTE MARTIN, et al    :
 7           Defendants.     :
   ------------------------x
 8

 9                           Thursday, July 13 , 2006
                             Greenbelt, Maryland
10
         The above-entitled action came on for a Jury Trial
11 Proceeding before the HONORABLE ROGER W. TITUS, United
   States District Judge, in courtroom 4C, commencing at
12 9:30 a.m.

13       THIS TRANSCRIPT REPRESENTS THE PRODUCT
         OF AN OFFICIAL REPORTER, ENGAGED BY
14       THE COURT, WHO HAS PERSONALLY CERTIFIED
         THAT IT REPRESENTS TESTIMONY AND PROCEEDINGS             AS
15       RECORDED AND REQUESTED BY COUNSEL.

16       APPEARANCES:

17       On behalf of the Plaintiff:

18       DEBORAH JOHNSTON, Esquire
         BONNIE GREENBERG, Esquire
19
         On behalf of the Defendants:
20
         MICHAEL MONTEMARANO , Esquire
21       ANTHONY MARTIN, Esquire
         MARC HALL, Esquire
22       TIMOTHY MITCHELL, Esquire
         PETER WARD, Esquire
23       EDWARD SUSSMAN , Esquire
         HARRY MCKNETT , Esquire
24
   Tracy Rae Dunlap,   RPR , CRR                      (301) 344-3912
25 Official Court Reporter




                                                                Page     1
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 2 of 231



 1                               I N D E X

 2                         DIRECT       CROSS    REDIRECT   RECROSS

 3 Det John Shea           31           60       107        116

 4 Colleen   Muldoon       130          201      227

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23 Reporter's Certificate                                   231

24 Concordance                                              232

25



                                                                  Page   2
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 3 of 231



 1            THE COURT:      Mr. Montemarano , you've       got a

 2 preliminary     matter ?

 3            MR. MONTEMARANO :        Yes , Your Honor .    I think I'm

 4 obligate d to make a record          regard ing this , and what the

 5 Court choose s to do with this is the Court 's decision .

 6 Yesterday     afternoon    when we complete d our court day , I

 7 asked Ms. Greenberg        for a list of witness es for the

 8 day .     Ms. Greenberg    said she had a list but she need ed

 9 to get it with Ms. Johnston .            I turn ed --

10            THE COURT:      What ?    Just repeat    the last thing .

11 I could n't hear .

12            MR. MONTEMARANO :        I then turn and wait ed for Ms.

13 Johnston     to complete     her conversation .       She was

14 stand ing at the white table there speaking               with the

15 witness     who was then on direct        examination , Detective

16 Shea, and they spoke for several            minute s re view ing

17 piece s of evidence , or apparently          review ing -- I was

18 not privy to the conversation            going through     them as

19 they put them in the box .

20            I know the Local Rule 107 .14 permit s a witness

21 to be spoken with       while the witness       is on direct      or

22 cross .     It does not , however , permit         a witness '

23 testimony     to be discuss ed while the witness          examination

24 has been commence d.         I, therefore , submit       to the Court

25 that at least     there is a question        on the part of the




                                                                     Page   3
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 4 of 231



 1 defense     what was being discuss ed in light of the           length

 2 of the conversation , and I'm obligate d to make a record

 3 regard ing that .

 4            THE COURT:     All right .   You've made your record .

 5            MS. JOHNSTON:     Your Honor , after Mr. Shea

 6 finish ed his testimony , he stood up there .          He turn ed

 7 to me and said , kick me .       I said , what do you mean ,

 8 kick me ?     He said , tomorrow , I'm going to ask you on

 9 the stand why you told me to kick you so he can testify

10 to the jury .     He testifi ed I think -- excuse        me .

11 Detective     Shea would you please      step out ?

12            He explained    to me that he had made a mis take ,

13 that an eight ball is not one and a half grams, like he

14 testified.      He said it was 324, 325 grams.         I don't

15 know what he told me.         That was the ex tent of our

16 conversation     in term s of what was going on .        We

17 gathered    up the evidence , made sure we had all of the

18 evidence , and that was it .       That 's the    ex tent of it .      I

19 don't imagine     there 's anything     in that conversation

20 that violate s the rule s.

21            THE COURT:     All right .

22            MR. MONTEMARANO :    Based upon the length         of the

23 conversation , Your Honor , long enough          that I, at least

24 at one point , thought       about being rude and going over

25 and asking     Ms. Johnston    to get it so the rest of us




                                                                   Page   4
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 5 of 231



 1 could leave --

 2            THE COURT:       I'll let you kick Detective       Shea

 3 when he come s in today .

 4            MR. MONTEMARANO :      I would n't presume     to kick

 5 Detective    Shea , Your Honor .

 6            MS. JOHNSTON:       Your Honor , I mean we had some

 7 casual   conversation .        I've known Detective      Shea for

 8 probably    -- almost       as long as    he 's been a police

 9 officer .

10            THE COURT:       I don't find this to be a momentous

11 conversation     that involve s a violation          of the rule .

12 Even if it were , it 's a min or technical            one an d does

13 not call for any action          by the    Court .   As I said , Mr.

14 Montemarano , as I'm sure you will when you

15 cross -examine    him , you will give him a nice kick , so

16 that 's fine .

17            MR. MONTEMARANO :      Thank you , Your Honor .      I

18 appreciate     that .

19            THE COURT:       You will do a wonderful      job with his

20 cross-examination       .

21            MR. MONTEMARANO :      Your Honor , this was n't hello ,

22 how are you ?     I, therefore , thought        it was appropriate

23 to make a record .          I have not    levee d any sort of

24 accusation s.     I thought      it was    appropriate   for the

25 government     to put a proffer      on the record .




                                                                   Page   5
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 6 of 231



 1           THE COURT:     All right .       It 's done .

 2           Now , I had --

 3           MR. MONTEMARANO :       Mr. Mitchell     has a question .

 4           THE COURT:     Yes .

 5           MR. MONTEMARANO :       Mr. Mitchell     pointed    o ut to

 6 me , and I think he is correct , in as much as            they

 7 discuss ed his testimony         what an eight ball is , I don't

 8 think it is appropriate          to go back to that .        Their

 9 testimony    is that an eight ball is a gram and a half .

10           THE COURT:     They may not go back to that .              You

11 will , but they won't .      That may do it on re direct .

12 That subject    is pass ed as far as         I'm concerned .      All

13 right ?

14           MR. MONTEMARANO :       Thank you .

15           Now , I believe   --

16           MS. JOHNSTON:      I i ntend to ask him what he said

17 to me after court and that he said , "K ick me ."                I'm

18 going to ask him to explain , why did you say that to

19 me , so he can explain      that .     I think that that 's

20 perfect ly permissible .         There 's nothing    in the rule

21 that says the government          cannot   talk to witness es while

22 it 's on direct   examination        about their testimony .

23           What they're     going to cover in the witness '

24 testimony , clear ly that is not covered            by the    rule .

25 Once they are turn ed over for cross , then the




                                                                    Page      6
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 7 of 231



 1 government        is not permitted     to talk to them about their

 2 testimony      or what to expect       on cross-examination    .

 3           MR. MONTEMARANO :         Local Rule 17 .14 .    It 's found

 4 on Page 21 of the most recent            print ed version    of the

 5 local rule s, amended           at the end of 19 94 , that I

 6 re view ed in the library          this morn ing .   It specifically

 7 says , you may speak with a witness            during    examination .

 8 You may not discuss            the witness ' testimony .

 9           It appear s that the witness          initiate d a

10 conversation        about his testimony      seek ing to correct      or

11 clarify    it .     Any question     direct ed to that is therefore

12 in breach      of the rule and in breach        of the Court 's

13 direct ive .       I submit     that it is entire ly within    the

14 rule -- it is exact ly what the rule discuss es .              You

15 cannot    go back and fix the problem          that you real ize and

16 discuss    with the witness .

17           MS. JOHNSTON:          Just so the record     is clear , Your

18 Honor , I didn't       discuss     with the witness     what his

19 testimony      was going to be .       He said to me , kick me , and

20 I said to him in term s of that subject              matter , kick

21 you ?    He said , yeah , kick me .        I said , I'm going to ask

22 you in -- your very first question             on the stand is ,

23 what did you say to me when you finish ed your testimony

24 yesterday ?        Kick me .     And I'm going to ask you why , and

25 it was obvious        to why he was going to say that , but I




                                                                   Page       7
        Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 8 of 231



 1 did not tell him what to say , anything             of that sort .

 2            He made that comment       to me and that was the

 3 ex tent of it .      We pack ed up the evidence,        made sure

 4 everything      was there , made some joke s about the fact

 5 that he had been here , I think , four day s without

 6 get ting on the stand during          this trial , and he was

 7 surprise d he had gotten         on at all yesterday .

 8 In term s of the length        of the conversation , since

 9 counsel     seem s to be so concerned       about the length        of it

10 --

11            MR. MONTEMARANO :      I'm sorry .

12            THE COURT:      I'm just going to take a quick look

13 at the local rule and I'll defer action              on this .      This

14 is not a momentous        matter , in my judgment , based on

15 what's     been related     to me by the government , but I did

16 want to make sure I had the chance             to hear from Mr.

17 Martin .

18            MR. MARTIN:      Thank you , Your Honor .

19            THE COURT:      Is there any other matter        other than

20 this one that anybody         want s to be heard on ?       All right .

21 Mr. Martin , let me hear you on this matter              here .

22            MR. MARTIN:      May it please     the Court , Your

23 Hono r.

24            THE COURT:      Is the government going to        file a

25 written     opposition , or are you going to respond              oral ly ?




                                                                     Page     8
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 9 of 231



 1            MS. JOHNSTON:      Your Honor , there is nothing                in

 2 here really      to respond    to .     There is no case law --

 3            THE COURT:      Let me hear from Mr. Martin .              Why do

 4 you want this information             in ?

 5            MR. MARTIN :     First off , before           I get into why I

 6 want it , I think the question               yesterday    was whether       or

 7 not there was any authority             to support       this , and I

 8 would submit to      the Court that there are at least                    two

 9 pillar s, and very important            pillar s, that this rest s

10 on .   The first is constitutional              and the second       is

11 statutory .

12            I call the Court 's attention           to Brady v.

13 Maryland , which I am -- I know everyone                  in the

14 courtroom      is familiar    with , and there is a due process

15 requirement , of course , that the prosecution                 dis close

16 evidence    favorable     to an accused         upon request       when such

17 evidence    is material .      And I would submit           this is

18 material    to the defense , and I'm going to go into

19 reason s as to why that is .            The second       part of Brady

20 that is important       here is that we're also entitle d to

21 information      that could be use d to impeach             government

22 witness es .

23            The second     pillar   that we're going to be resting

24 on or do rest on is the statutory                one , and the

25 statutory      one can be found at rule s, which of course                      is




                                                                        Page        9
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 10 of 231



 1 the discovery     rule , A1 (e), which talk s about document s

 2 and object s.     And it says , upon a defendant 's request ,

 3 the government     must permit      the defendant   to inspect    and

 4 to copy or photograph        paper s, document s, data within

 5 the government 's possession , custody         or control .

 6            Now , Your Honor , we've had each and every one of

 7 these people     either    listed   as witness es , take the stand

 8 or we anticipate        that they're    going to be call ed in the

 9 defense 's case in chief .

10            THE COURT:     Well , three of them have already

11 complete d testimony .

12            MR. MARTIN:     Your Hono r, may I finish ?      Plea se ,

13 sir , please .    With respect      to the three that may have

14 testifi ed , already      testifi ed , we would still proffer        to

15 the Court one of us may call some or all of these

16 people .     The important    point here is whether      or not

17 there has been any coll usion on the part of these

18 witness es , and I specifically         asked Mr. Thurman     whether

19 or not     at any time he had been house d or incarcerate d

20 with Mr. Smith .        He deni ed that .

21            And the question     now come s up with respect      to

22 Larry Lane , who is also listed          as a government    witness ,

23 and I have it on information           that I've not been able to

24 co nfirm that the two of them , that is Larry Lane and

25 Michael     Thurman , may very well have been house d




                                                                 Page 10
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 11 of 231



 1 together .     I went to serve a subpoena          on the US

 2 Mar shal 's downstairs , and they would not accept              the

 3 subpoena .

 4            Now , Your Honor , in light of the fact that the

 5 government     and the US Mar shal 's service        is part of the

 6 government     has exclusive       access    and custody   of this

 7 information , the only way that I can get it is with a

 8 court order , and in determini ng what is material                to the

 9 defense , I think no one know s that better            than the

10 defense .

11            So the government       can't argue that 's not

12 material     to our case , and it certain ly is information

13 that can be use d by us to impeach             these gentlemen .

14 Now , I'm sorry I cut the Court off , but I didn't                want

15 to lose my train of thought , which is so easy for me to

16 do .   If Your Honor has a question            or you would like the

17 government     to respond , I'll be happy to answer            your

18 question     or respond   to whatever        they have to say .

19            THE COURT:     Well , I mean , do you have

20 information     that indicate s that witness         did not testify

21 truth fully about contact          with the other witness ?

22            MR. MARTIN:     No .    That 's what I'm try ing to get .

23 The information     that I have regard ing two of these

24 people , not necessarily          Horace    Smith and Michael

25 Thurman , but with respect          to Larry Lane and Michael




                                                                   Page 11
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 12 of 231



 1 Thurman    is an issue that may very wel l up when and if

 2 Mr. Larry Lane take s the stand .           And what I'm say ing ,

 3 Your Honor , is I think that this is important

 4 information     that could be use d to impeach         this

 5 particular    witness     should   he take the stand and deny

 6 that he 's met with him , or I can point out to the

 7 juror s that there was an opportunity             for collusion

 8 because    these gentlemen     were house d together .        Even if

 9 for a brief period        of time .

10            THE COURT:     Being house d in the same facility             is

11 not the same as being hous ed in the same cell .

12            MR. MARTIN:     That 's correct , but I would n't know

13 whether    or not   they were transport ed in the same

14 vehicle , I would n't know if they were tran sported

15 together    in what is sometimes         ref erre d to -- kept

16 together    and sometimes     what's     referred   to as a rat 's

17 cage.     I would n't know anything , Your Honor , unless            I

18 had the document .

19            THE COURT:     Why was this motion       not filed until

20 yesterday    or the day before ?         Why was it so late being

21 filed ?

22            MR. MARTIN:     The motion     is late in being filed ,

23 Your Honor , because       it was only a day and a half ago

24 that I discovered , through           informal   information , that

25 Mr. Michael     Thurman    and Larry Lane were apparent ly




                                                                  Page 12
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 13 of 231



 1 house d together    at a place call ed Allegheny , which I'm

 2 not even familiar      with .     I guess it 's in Pennsylvania .

 3 I didn't know    that before .

 4          MR. MONTEMARANO :        Your Honor , if I could

 5 suppl ement Mr. Martin 's motion , because          I think I am

 6 sort of part of the cause of it .             Mr. Martin    brought   up

 7 the question    of access       to these witness es to each

 8 other , and I turn ed to him immediate ly and said go ask

 9 the mar shal s for a Form 129 .        He look ed at me and said

10 what is a Form 129 ?

11          THE COURT:     That 's what I said when I got this

12 motion , but now I know what it is .

13          MR. MONTEMARANO :        During    2005 , I tri ed a case

14 before   Judge Blake in Baltimore .           My client    inform ed me

15 that a jailhouse      snitch , whom he did not know was , in

16 essence , creati ng a narrative        out of wh ole cloth based

17 upon his contact with       a client       of mine who was a

18 co -defendant   of a client       of mine who had been separate .

19 I turn ed to the marshals , with whom I have              a very good

20 relationship    because , well , we sort of all live

21 together .

22          THE COURT:     All part of one big family .

23          MR. MONTEMARANO :        One big family , that 's a fair

24 statement , your Honor .         And one of them said to me , go

25 ask Ted -- mean ing Ted Stol er, who supervise s prisoner




                                                                  Page 13
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 14 of 231



 1 operation s in Baltimore        -- for a Form 129 , and I went

 2 downstairs      and Mr. Stol er , he hand ed it to me , and it

 3 show ed the witness     and co -defendant      had been house d in

 4 and they're      all held together    in that facility .      So I

 5 was able to demonstrate         that the defendant     -- I mean

 6 the witness      was lying .

 7          Now , I will tell the Court , to provide           a full

 8 narrative , that subsequent        to that , that witness     wrote

 9 a letter    to a friend   of my client , who then provided

10 the letter      to my client , say ing he had made this all up

11 out of who le cloth based upon his conversation s with

12 the co -defendant , exact ly what I was seek ing to

13 establish    on cross , and that led to Judge Blake

14 gran ting a motion     for new trial in advance        of

15 sent encing .

16          So this is extraordinarily          vital .   This is a

17 public   record , or public      enough   that a CJA attorney

18 asking   for this, it should       be routine .    This should       not

19 be the subject      of a motion    or subpoena .

20          THE COURT:      I'm told the form has a lot of

21 confidential      information    on it.

22          MR. MARTIN:      It can be sanitiz ed , Your Honor ,

23 and I point ed that out to the mar shal when she told me

24 there was some privacy         information   act on that .    I

25 said , fine , you can sanitize       that , give it to me , and




                                                                Page 14
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 15 of 231



 1 if I have    any question s, the judge can re view it in

 2 camera .

 3            THE COURT:     I'm not confident      that the form ,

 4 eve n if it 's provide d to you , is going to be         very

 5 helpful    for you .

 6            MR. MARTIN:     She said that as well .      She said

 7 you will need more for the Form 129 .            I keep saying

 8 she.   I don't want to refer to her as a cat .               I can't

 9 remember    her last name .

10            THE COURT:     Elizabeth   Quick .

11            MR. MARTIN:     Ms. Quick .   Okay.     And you don't

12 have to be 68 to have your memory fail.              In any event,

13 she told me what she would need, and that is a motion.

14 So in response to your question,          why is it , Mr. Martin ,

15 that you're     filing    this so late , I didn't think        I was

16 going to need a motion        to get this information .         I

17 thought    I would be able to go downstairs          and jus t get

18 it .

19            And I want to supplement      what Mr. Montemarano

20 said , as long as       we're talk ing about anecdote s.        I had

21 a client    once who was downstairs       and he was privy to a

22 conversation     where Mr. Mitchell 's client        was the

23 defendant    in a case , and because      my client    had

24 over heard that information , he was able to take the

25 stand and talk about the collusion          that took place




                                                                  Page 15
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 16 of 231



 1 between    two of the government 's witness .           And Mr.

 2 Mitchell , you may very well remember           that case .       It

 3 just occurred     to me .    And I think a not guilty         verdict

 4 was return ed .

 5           MR. MITCHELL :      Well , we were hopi ng for that .

 6           MR. MARTIN:       What did happen ?

 7           MR. MITCHELL:       Right .    There was dis cussion         down

 8 in the holi ng cell and on the bus on the           way back .          I

 9 concur    with my fellow     counsel .    I think this is

10 important    information .

11           THE COURT:      Let me hear from the government .

12 I've heard from , I think , virtually          every defense

13 attorney .

14           MS. JOHNSTON:       Your Honor , if I understand

15 correct ly , Counsel      is look ing for this information             so

16 that they could impeach         or at tac k the credibility        of

17 the witness es , including       Mr. Thurman , Mr. Smith , Mr.

18 Lane and Mr. Echarte .        Three of those witness es have

19 already    testifi ed .

20           Mr. Echarte , who is the        most recent    of those

21 witness es , I don't believe       was asked if he was house d

22 or had any contact        with the other three people         on this

23 list , so quite frankly , they didn't          lay a foundation             in

24 term s of Mr. Echarte       in regards    to Mr. Lane , he has not

25 yet testifi ed , and perhaps       if he is call ed to testify ,




                                                                  Page 16
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 17 of 231



 1 they might , in some way , be able to use that

 2 information     to attack      his credibility .

 3            In term s of Mr. Thurman , he was asked a question

 4 about having     contact      with some people , and I don't

 5 remember    the exact question          because   it 's been a couple

 6 of week s ago , and he said he had not had contact                 with

 7 whoever    he was asked about .          I don't know   if the people

 8 he was asked about are the people             on this list .

 9 Certain ly Mr. Thurman         has only been incarcerate d since

10 the spring     of 2005 , I believe , so going back to 2002 ,

11 really , is irrelevant         here .

12            Mr. Thurman       has only been in the federal        custody

13 since spring     of 2005 .      I can get the Court the exact

14 date because     he was arrested         under a criminal complaint

15 in this case .     Mr . Smith, as far as we know, hasn't

16 been incarcerated.       H    e was out on release or has been

17 out on release,     so he would not have been in contact

18 with these people.

19            So Mr . Ech arte -- one , a foundation        was n't laid

20 with Mr. Ech arte .       He do esn't even know Mr. Thurman ,

21 did not identify      him in court when he was shown the

22 chart .    Mr. Smith has n't been incarcerated .           Mr.

23 Thurman    has already       been in carcer ated since    2005 .     So ,

24 the only possible        person   Mr. Thurman      could have had

25 contact    with is Mr. Lane .




                                                                    Page 17
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 18 of 231



 1            In deed , they knew about these witness es before

 2 they testifi ed , Mr. Thurman           testifi ed , I believe      at his

 3 -- over a couple     of day s, and I think his testimony

 4 actual ly went over the weekend            because     counsel    was able

 5 to obtain    a copy of his direct          examination .     If they

 6 want ed to cros s- examine      Mr. Thurman       in relation      to

 7 this , they should        have request ed this information

 8 before    he took the stand because            he would have had an

 9 opportunity     to address     it .

10            To get the information         now and try somehow           to --

11 I don't know     how they would introduce             it and how it

12 would be relevant         without     giving   Mr. Thurman   an

13 opportunity     to respond     to any question s concern ing

14 possible    impeachment      or attack ing his credibility

15 through    show ing he was with Mr. Lane .

16            We would suggest     to the Court that in term s of

17 Mr. Lane , the Court can defer ruling                on that , you know ,

18 un til such time that Mr. Lane is call ed to testify , if

19 he is call ed to testify .            I don't know     he 's going to be

20 call ed to testify        in this case , and so we would suggest

21 to the Court they should            have gotten      it before    Mr.

22 Thurman    testifi ed .     There is nothing         they can do with

23 it now in term s of Mr. Thurman .              Mr. Smith has n't been

24 incarcerate d.     Mr. Echarte , they didn't            found a lay

25 foundation     with , and Mr. Lane has not yet been call ed .




                                                                      Page 18
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 19 of 231



 1            THE COURT:     You say Smith has not been

 2 incarcerate d?

 3            MS. JOHNSTON:     Mr. Smith has not been

 4 incarcerate d as far as       we know .

 5            THE COURT:     There would be no Form 129 on him at

 6 all .

 7            MS. JOHNSTON:     I don't know , going back to 2002 ,

 8 but I don't believe        he 's been incarcerate d.     I think

 9 he's been out pend ing sentenci ng in the District of

10 Columbia    because     he 's cooperate d.

11            Again,   they didn't   lay a foundation     with these

12 witness es .    You can't just not ask them any question s

13 and then say oh , introduce        this to show they were

14 house d together .       They have a right to be

15 cross -examine d, they have a right to respond , and the

16 government     has a right to re habilitate       the witness .

17            For example    Mr. Thurman     made the same statement

18 -- in essence , gave the same testimony           to the agent s

19 before   he was arrested , and so we would have been able

20 to re habilitate      him by introducing      those statement s

21 extensively , so it is too late is the           government 's

22 position    in regards     to Mr. Thurman .     Again , if Mr. Lane

23 is called,     and I don't know     that he is going to be

24 call ed in this case .       If he is call ed , then the

25 government     would not object     to them having     access    to




                                                                Page 19
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 20 of 231



 1 Mr. Lane 's 129 because      they might be able to use that

 2 in some manner     in term s of cross -examining         him .        As I

 3 said , Mr. Echarte , there has been no foundation                    made .

 4 He was cross -examine d yesterday        and the day before .

 5           THE COURT:     All right .    Mr. Martin .

 6           MR. MARTIN:     Your Honor , with respect        to the

 7 scope of the request       from calendar    year 2002 to the

 8 present , I just put 2002 in there to be safe .                  I

 9 could n't remember      exact ly how long some of these people

10 might have been incarcerate d, and so the fact that I

11 put 2002 I think is of no moment .          I think it could

12 have been worse if I had went the other way and didn't

13 make it broad enough .       So that was out of an abundance

14 of caution , and I'm not sure that the government                     really

15 has a strong    argument    on that point .         With respect

16 to Michael    Thurman , I would suggest        two thing s:           One ,

17 there 's no reason      why the defense    can't call him as a

18 witness   that I'm aware of ; and two , I asked Michael

19 Thurman   on cross-examination       whether    or not    he had any

20 contact   with Horace     Smith who , at the time , I thought

21 was incarcerate d and now I remember , yes , he did walk

22 out of the courtroom .

23           THE COURT:     So your motion    does n't -- it 's not

24 applicable    to Smith at all then , right ?

25           MR. MARTIN:     With respect    to Smith , it 's not




                                                                        Page 20
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 21 of 231



 1 applicable , but I would suggest          I did lay a foundation

 2 to determine     whether    or not    he had engaged    collusion

 3 with anybody     else regard ing his testimony .

 4            THE COURT:     Right , but 25 percent      of your motion

 5 has just been deni ed because          Mr. Smith does n't have a

 6 Form 129 .     Let 's work on the other three quarter s.

 7            MR. MARTIN:     Well , Larry Lane .      Let 's move

 8 straight     to Larry Lane .

 9            THE COURT:     He 's on the government 's witness

10 list , but he has n't been call ed ; is that correct ?

11            MR. MARTIN:     He has n't been call ed , and I have

12 it on information        that they , Michael     Thurman   and Larry

13 Lane , have been house d together .         I need this

14 information .       I need these document s and the related

15 information     attach ed to it so I can cross -examine           him

16 on the question       of whether     or not there was an

17 opportunity     for he and Michael       Thurman    to speak , and

18 two , whether    or not they talk ed about this particular

19 case .    You know , once I establish       --

20            THE COURT:     The form is not going to tell you

21 that .

22            MR. MARTIN:     Your Honor,    he may not admit that

23 to me , but then it 's up to the fact -finder           to determine

24 whether    or not    it 's credible , whether      it 's belie vable

25 that these two men who are incarcerate d for the same




                                                                 Page 21
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 22 of 231



 1 reason    talk ed about sport s and everything       else but

 2 didn't    talk about this case .       And I think that the jury

 3 apply ing their common      sense is going to find that

 4 that 's hard to believe .

 5           THE COURT:     Why are you entitle d to it on Emilio

 6 Echarte ?

 7           MR. MARTIN:     I don't know    that I am .

 8           THE COURT:     Well , there 's another    25 percent       of

 9 the motion , because      he 's off the stand , he has n't been

10 asked about it , he has n't deni ed any conversation s with

11 anybody .     I don't see how you're      entitle d to it on

12 Emilio    Echarte .

13           MR. MARTIN:     That 's fine , Your Honor .      I will

14 concede     that point , but I'm not stopping       anybody    else

15 here from maki ng that argument .

16           THE COURT:     We're down to Larry Lane , who may

17 testify , and Michael      Thurman , who did ; right?

18           MR. MARTIN:     Correct .

19           THE COURT:     Well , what I will do is I will           ask

20 the marshal 's service      to provide    me Form s 129 on

21 Thurman     and Lane .   I'll look at them , and I may and may

22 not permit     you to see them .      They do , I am advise d by

23 the marshal's     service , have considerable       amount    of

24 information     that 's not public .

25           If I look at it and determine        that something        on




                                                                 Page 22
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 23 of 231



 1 there would be of possible         assistance    to the defense , I

 2 will e valu ate it for redaction , and if I can give you

 3 -- if I can give you something          in redact ed form , I will

 4 give it to you in redact ed form .         I can't tell you

 5 right now without       look ing at this form whether       I will

 6 be sympathetic     or not , but I can certain ly ask the

 7 marshal's service       to provide    me the form so I can look

 8 at it in camera     re view .

 9           MR. MARTIN:     Very good , sir .     I would ask you to

10 look at more than the 129 .

11           THE COURT:     Your motion    asks for the 129 .      What

12 else do you want ?

13           MR. MARTIN:     There are form s attach ed to the

14 129 .

15           THE COURT:     If they're    attach ed to it , they're

16 part of it .

17           MR. MARTIN:     Let me take that back because         I

18 haven't   seen the file .       I understand    the Form 129 is

19 one of several     paper s that refer to the movement         and

20 housi ng of these individuals         and -- what was her name

21 again , Your Honor ?

22           MS. JOHNSTON:     Ms. Quick .

23           MR. MARTIN:     I understand    from Ms. Quick that

24 she had actual ly copi ed some of the information            for me

25 and then on second       thought   had decide d, hey , you know




                                                                Page 23
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 24 of 231



 1 what .

 2           THE COURT:     Now that she 's copi ed it , she can

 3 provide    it to me for in camera         re view .

 4           MR. MARTIN:     What I'm asking       the Court is not

 5 just to look at the Form 129 , but also               any paper s that

 6 may be with it .

 7           THE COURT:     I will    be glad to ask Ms. Quick if

 8 there are any other form s or document s that evidence

 9 the location    of a prisoner .

10           MR. MARTIN:     I can't ask for more than that ,

11 Your Honor .

12           THE COURT:     We 've got to get this --

13           MR. MARTIN:     You're not granting          the motion ,

14 you're    going to re view it .

15           THE COURT:     I'm not granting       the motion .     I'm

16 going to ask that it be provide d to me , period , and I

17 will rule on it , but I will clear ly look at it with

18 enough    intelligence    and further      discussion     with counsel

19 so that if Larry Lane gets call ed , it will be resolve d

20 before    Larry Lane testifi es .

21           MR. MARTIN:     Thank you , Your Honor .

22           MS. JOHNSTON:     Your Honor -- do you having           in

23 else on this ma tter?

24           MR. MONTEMARANO :       Yes .

25           MS. JOHNSTON:     Okay .




                                                                  Page 24
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 25 of 231



 1           MR. MONTEMARANO :       Jus t so the Court is clear ,

 2 because     I un fortunate ly did not provide       enough

 3 information     to Mr. Martin     based on my experience , what

 4 I got from Mr. Stol er was a piece of paper , a printout

 5 from their computer .       At the top , it had the name and

 6 the marshals 's number      and the    date the person       came into

 7 federal     custody   and essentially we have a release date,

 8 if the person     had be en re lease d.

 9           In my case , my person      was still in custody        and

10 it gave a listing , line by line , and in the left-hand

11 column , it was where he was on a certain            date , and on

12 that date where he went to , from here to there , and the

13 next line was from there to somewhere             else .

14           THE COURT:     I will    confer    with Ms. Quick and I

15 will make sure I have in front of me what appear s to be

16 what you're interested in.           I'll see whether it's

17 appropriate to release it at all, or in redacted form.

18           MR. MONTEMARANO :       Beyond    the DOB and marshal 's

19 number , I don't recall      anything       even questionably

20 private .

21           THE COURT:     We're speaking       in the dark about

22 something .     I haven't   seen the document , so I can't do

23 it without     that , but with respect        to the Motion for

24 Dis closure    of Movement , it is deni ed as to Horace          Smith

25 because     he 's not in custody     and there isn't any such




                                                                   Page 25
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 26 of 231



 1 form , and it 's de nied as to Emilio       Echarte    because      he 's

 2 finished    testif ying, and has never testified about

 3 where he was or whether he talked to anybody.

 4            MS. JOHNSTON:     Your Honor , in regards       to that

 5 matter , the government       would like an opportunity        to

 6 re view those document s that the Court get s and speak to

 7 the court ex parte       concern ing Mr. Thurman .

 8            THE COURT:    Well , speak to Ms. Quick .        Make sure

 9 you tell Ms. Quick -- you need to confer            with Ms.

10 Quick , and that 's fine with me .

11            MS. JOHNSTON:     You don't have any problem        -- the

12 Court does n't --

13            THE COURT:    I have   no problem    with you

14 confer ring with Ms. Quick .       She 's part of the

15 Department    of Justice     and you can talk to he r.       I need

16 to understand what       the form is and what it has in it

17 and I will look at it.

18            MR. MARTIN:     Your Honor I would object        to any ex

19 parte communication        regard ing Michael   Thurman    or any

20 other witness     in this matter .     I think the Court can

21 confer   with Ms. Quick .      I don't see why the government

22 has to tell Ms. Quick what to tell the Court .              We would

23 object   to that .

24            THE COURT:    Ms. Quick , you know , is entitle d to

25 have some legal assistance        in dealing    with this matter .




                                                                Page 26
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 27 of 231



 1 That 's what the US Attorney' s Office is for .

 2          MR. MARTIN:      I don't think     it should   be

 3 government    trial counsel       in this particular    case .

 4          THE COURT:      I'm going to look at them first ,

 5 okay , and then we'll see what happen s.           So I'm going to

 6 ask Ms. Quick to provide          them to me and I'll look at

 7 them .

 8          MS. JOHNSTON:      Your Honor , on the other matter ,

 9 I have the local rule in front of me .

10          THE COURT:      I have    the local rule in front of

11 me , and I don't agree -- I'll steal your thunder .

12          MS. JOHNSTON:      Thank you , your Honor .

13          THE COURT:      I have    the local rule right here ,

14 thank s to the computer .         And what it says is unless

15 otherwise    ordered   by the Court , during      all break s and

16 re cesses,   counsel   may speak with the witness        while

17 conduct ing direct     examination     on the witness , but with

18 the exception    below may not discuss testimony with the

19 witness, including while the witness is on cross             ,

20 redirect or recross.         That 's not what happened .

21          Your objection     is note d, and the first question

22 out of the box is going to be , why did you kick me ?               I

23 didn't   see any violation        of the rule .   I don't see any

24 corruption    of this witness       by what took place .

25          Mr. Sussman .




                                                                Page 27
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 28 of 231



 1            MR . SUSSMAN :     Along that line .     I respect fully

 2 -- going back to the detective .

 3            THE COURT:       Mr. Sussman , can I interrupt       you for

 4 just one second ?

 5            Bea, have you got them all here ?

 6            THE CLERK:       I'm going to find out .

 7            MR. SUSSMAN :      I stood before , and I was n't

 8 recognize d on this issue .            I dis agree with Your Honor

 9 about the testimony         in this case , and that 's a big

10 issue in this case .

11            THE COURT:       About what testimony ?

12            MR. SUSSMAN :      About whether     an eight ball , which

13 is , as I understand        it , not in the Encyclopedia

14 Britannica     or Web ster 's dictionary        is one and a half ,

15 or three grams , or 3.4 grams .            The officer    made the

16 statement , Ms. Johnston            obvious ly didn't   like it , which

17 is not un expect ed .       She tr ied to clean it up .       He was

18 insistent .

19            On his 22 year s, I think it 's an asked and

20 answered     question , apart from the issue of -- I think

21 that the rule is de sign ed to avoid those kinds of

22 situations .     I would ask if the Court -- reading            the

23 local rule , that the Court tell all witness es now not

24 to discuss     their testimony         with anyone , and I think

25 we've been a little         lax .     The juror s are not advise d --




                                                                  Page 28
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 29 of 231



 1            THE COURT:      First of all --

 2            MR. SUSSMAN :    --    along those line s either .

 3            THE COURT:      I don't find a violation      of the

 4 local rule .      I don't find a violation      of the

 5 sequestration      rule , and this is a witness      simply    say ing

 6 whoops,     I made a mis take , and it 's going to be

 7 correct ed .     You can have a field day wit h it on

 8 cross-examination       that he didn't     know what it was and

 9 he made a mis take , but he 's entitle d to correct           his

10 testimony      while he 's on his direct     examination .     This

11 would not be the first time I've seen a witness               on

12 direct     come back in the afternoon       and say I made a

13 mis take what I said in the morn ing , and I want to

14 correct     it now .

15            MR. SUSSMAN :     If the Court 's ruled , fine .        But I

16 would ask that all witness es be told that they are not

17 to discuss      their testimony     with anyone .   That is the

18 ground     rule s I've already    play ed on under during

19 trial s.

20            THE COURT:      I invoke d the rule s on witness es and

21 witness es are     not to discuss      their testimony   with each

22 other .     The local rule govern s what you can do with a

23 witness     who 's on the stand .

24            MR. SUSSMAN :     Well --

25            THE COURT:      I've made my ruling , and that 's all




                                                                 Page 29
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 30 of 231



 1 I can do for you .

 2          MR. SUSSMAN :        Then I just want to clarify        what

 3 can the witness      discuss      when he 's off the stand ?

 4          THE COURT:         The local rule govern s what the

 5 answer   to that question         is .

 6          MR. SUSSMAN :        When the witness        is on direct

 7 testimony , he can discuss          his testimony ?

 8          THE COURT:         During a     break and re cess, Counsel

 9 may speak to the witness           while conduct ing direct      of the

10 witness .      All right ?

11          MR. SUSSMAN :        Certain ly that change s when direct

12 is finish ed .

13          THE COURT:         When direct     is finished , absolute ly .

14          MR. SUSSMAN :        Then I ask that all witness es be

15 admonish ed not to discuss          their testimony      at the point

16 the direct      is over .

17          THE COURT:         I will consider     your request .

18          Bea, are they all here ?

19          THE CLERK:         Yes , they're    here .

20          THE COURT:         All right , let 's go .

21          MS. JOHNSTON:         Your Honor , with the Court 's

22 permission , we will start our testimony               down here with

23 the evidence .

24          THE COURT:         That 's where you were when we

25 adjourn ed .     That 's fine .




                                                                   Page 30
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 31 of 231



 1                  (Witness   Shea resume s the stand .)

 2          MS. JOHNSTON:      I think I'll have him on the

 3 stand when we first start .

 4          THE COURT:     All right .

 5                  (Jury return s at 10 :02 a.m. )

 6          THE COURT:     You may proceed .

 7          MS. JOHNSTON:      Thank you,    Your Honor.

 8                  CONTINUING DIRECT EXAMINATION

 9          BY MS. JOHNSTON:

10 Q.       Good morn ing , Detective      Shea .

11 A.       Good morning .

12 Q.       We ended your testimony        yesterday , and as the

13 jury was walk ing out , what comment        did you make to me ?

14 A.       I told you to kick me .

15 Q.       Could you explain      to the jury why you told me to

16 kick you ?

17 A.       Yes .   I made a mis take yesterday       when you asked

18 the question     about an eight ball , the origin , or why

19 it 's call ed an eight ball .      It's actual ly an eighth       of

20 an ounce , which is     3.5 grams , and I believe       I told you

21 it was 1.5 .

22 Q.       Is that based on your 22 year s of experience ?

23 A.       Yes, ma'am .

24 Q.       If I could can ask you to        please   step down , keep

25 your voice up.      I don't know     if we have a hand held




                                                                Page 31
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 32 of 231



1 micro phone for you , but if you keep your voice up , and

2 we will go back to where we were when we left off .                  I

3 think when we left off yesterday , we were talk ing about

4 the plaid bag that is depict ed in P-203 .

5 A.        Yes, ma'am .

6 Q.        Now , in addition      to that plaid bag with the

7 content s of the bagg ies that we went over yesterday ,

8 was there also another          bag in side the box ?

9 A.        Yes, ma'am .     There was a Hallmark      bag , and in

10 two , you can see the picture        in 202 , you can see the

11 top of the purple      bag .

12 Q.       In P-202 , then , we see the box and both of the

13 bag s; is that correct ?

14 A.       Yes, ma'am .

15 Q.       Now , let me show you what's        been mark ed as

16 Government 's Exhibit     SD-15 , South Dakota      15 .   Do you

17 recognize    that exhibit ?

18 A.       Yes, ma'am .     This is the Hallmark      bag which was

19 locate d in side of that Cook 's champagne         box .

20 Q.       Call ing your attention , then , to Page 204 .          What

21 are we look ing at in Photo 204 ?

22 A.       These are the content s that were in side of this

23 Hallmark    bag .

24 Q.       Can you de scribe      what those content s were ?

25 A.       Sure .     There was a scale -- individual        scale .




                                                                Page 32
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 33 of 231



 1 There was some false bottom           can s, Soft & Dry can , false

 2 bottom   can that had ten individual            baggi es that had a

 3 weight   of 8.4 grams , and then there was a Right Guard

 4 false bottom      that 's right there , had four baggi es with

 5 7.6 grams , a spray starch .

 6 Q.       Of what ?

 7 A.       Oh , cocaine .       I'm sorry , cocaine .    The spray

 8 starch   false bottom        can was empty .     A Noxema    can was

 9 also empty , and then there was a Cord on Blue contain er .

10 Q.       Before    we move on to that , what is this here ?

11 I'm referring      to P-204 .

12 A.       That 's a black plastic         bag that had three

13 individual    Ziploc       baggi es in it .    The first Ziploc

14 baggy had two small er Ziploc s in it with the total

15 weight   was 3.1 grams , and the second           Ziploc    baggy had

16 four small er Ziploc         bag s in it that weigh ed 1.8 grams ,

17 and then there was a third bag , a third Ziploc                bag that

18 had eight small er Ziploc          bag s, 29 .4 grams of cocaine .

19 All of that was co ca ine .

20 Q.       Then you mention ed another           contain er was also in

21 that Hallmark      bag .

22 A.       Yes .    It was a cord on -- a cord on contain er that

23 had three large Ziploc          baggi es , and in each of those

24 baggi es , the first bag had three small er Ziploc

25 baggi es .




                                                                   Page 33
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 34 of 231



 1 Q.       Call ing your attention          to P-206 , is that the

 2 contain er you're    referring     to ?

 3 A.       Yes, ma'am .    And there 's three individual           Ziploc

 4 bagg ies in there , and each bag had an amount            -- a

 5 small er Ziploc    bag in it .

 6 Q.       Then P-207 , what do we see there ?

 7 A.       That 's a top view look ing down into the top of

 8 that particular     contain er .

 9 Q.       And all of those item s dis regard ing , what's

10 shown in P-205 , was re covered           in side of the Hallmark

11 bag ; is that correct ?

12 A.       Yes, ma'am .

13          JUROR:    Excuse me .     Could you drop the bag for a

14 second   so we can see those photo s?

15          MS. JOHNSTON:      I'm sorry .

16          BY MS. JOHNSTON:

17 Q.       Do the picture s, beginning          with P-204 ,

18 accurate ly depict     the drug s as they were locate d in the

19 Soft & Dry can , and the      drug s that came from the Right

20 Guard can, and the drug s that were in the black bag ?

21 A.       Yes, ma'am .

22 Q.       Then do picture s P-206 and P-207 show the drug s

23 as they were when you re covered            them ?

24 A.       Yes, ma'am .

25 Q.       Now let me show you some exhibit s.




                                                                Page 34
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 35 of 231



 1            Beginning , first of all , with Government 's

 2 Exhibit    South Dakota     6.    What is that ?

 3 A.         That 's the scale that is shown in this pic ture ,

 4 204 , right here .

 5 Q.         Is that similar       to the scale s that were

 6 re covered      at other place s in the school ?

 7 A.         Yes .

 8 Q.         What kind of scale is it ?

 9 A.         This is a titanium       -- titanium    digital   scale .   A

10 min i- slim .

11 Q.         Let me show you Exhibit        South Dakota    8, if you

12 can de scribe      what that item is ?

13 A.         It 's -- on the appearance , it just look s like a

14 can of shavi ng cream , but it actual ly has a false

15 bottom    and you un screw the bottom         and -- ( witness

16 indicati ng ).

17 Q.         That one , when you re covered       it , was there

18 anything     in side ?

19 A.         The Noxema    can was empty .      This one was empty .

20 Q.         And SD -- South Dakota       7, I believe     that is .

21 A.         This is spray starch       can .   The same as the

22 Noxema    can .    It 's false bottom .

23            MS. JOHNSTON :    Your Honor , with the Court 's

24 permission , may we publish         those item s?

25            THE COURT:     Yes , you may .




                                                                  Page 35
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 36 of 231



 1            MS. JOHNSTON:     If we could maybe start one in

 2 the first row , one in the back row , that might help

 3 move them about a little        bit .

 4            BY MS. JOHNSTON:

 5 Q.         Now , you mention ed the drug s that were re covered

 6 there .     I want to show you Government 's Exhibit           South

 7 Dakota     13 , and also show you Drug s 17 .      In reference        to

 8 Drug s 17 , does that contain      all of the drug s that were

 9 re cove red from    the various   item s found in the Hallmark

10 bag ?

11 A.         Yes .   These are all of the drug s that are in one

12 bag that came out of each of these contain er s, and

13 in side you will notice       that I have my locate r slip that

14 de scribe s what and where everything          came from .

15 Q.         Are the individual     packet s mark ed with a No. 9

16 followed     by a letter ?

17 A.         Yes .

18 Q.         In reference    to , for example , south Dakota       13 .

19 Is the No. 9 reflect ed on there with a letter               for the

20 correspond ing drug s in Drug s 17 ?

21 A.         Yes .   At the top here , it says Item 9E, so you

22 would look at this pack et , and each one has a letter ,

23 like this has 9C.         You have to shake these around         to

24 look for -- 9 E, and whatever           has a 9E came from this

25 can .     Nine C would with one of these other s.




                                                                  Page 36
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 37 of 231



 1 Q.        Again , the Right Guard can .       Did that open

 2 similar   to the false bottom        can s we're passing       to the

 3 jury ?

 4 A.        Yes .   If you move it around      in the container,

 5 you can see it is similar          to those can s.

 6 Q.        Again , what was re covered , according           to your

 7 note s, in the Right Guard can , Government 's Exhibit 13

 8 -- SD-13 ?

 9 A.        The Right Guard can had four baggi es that had a

10 total weight      of 7.6 grams .

11 Q.        Of cocaine ?

12 A.        Yes, ma'am .     I'm sorry , cocaine .

13 Q.        Then show ing you the Soft & Dry can .             Again ,

14 what drug exhibit      does that correspond      with in

15 Government 's Exhibit 17 ?

16 A.        The Soft & Dry can is labeled        9D, D as in David .

17 Q.        What was found in side there , if we look at Drug s

18 17 ?

19 A.        The Soft &     Dry can had ten baggi es -- ten small

20 baggi es in here with a total weight          of 8.4 grams .

21 Q.        And are those drug s part of what's         in this bag ?

22 A.        Yes .   Nine D is right here .      Right be low the

23 red , it will say 9D.

24 Q.        Next let me show you South Dakota          11 .     If you

25 could tell us what that is .




                                                                   Page 37
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 38 of 231



 1 A.          It 's the Cord on contain er -- I'm probably           not

 2 pronounci ng that .           It's Cord on Blue contain er .      And

 3 in side that contain er was three large Ziploc              baggi es ,

 4 and each of the three baggi es had small er baggi es

 5 in side .

 6 Q.          Let me show you what's        Government    Exhibit    South

 7 Dakota      11 A.

 8 A.          That let me set this down for a minute .              You see

 9 the larger          Ziploc   baggi es are up here , and you can see

10 the small er Ziploc           bagg ies.

11 Q.          Ag ain , why would the drug s be package d in the

12 small er Ziploc         baggi es and then put in a larger         bag ?

13 A.          Matter     of organization    to know how much you have

14 and how much it 's worth , and each individual              baggy has

15 a certain      price .       You could -- a person     could sell this

16 as a whole to know if you had certain              -- let 's just ,

17 for the purpose          of just explain ing this to you , if I

18 knew I had 10 .1 gram rock s in each , or one in each of

19 those bag s, and I had ten of them , I would know those

20 are common ly $20 rock s on the street .             Because   10.1

21 gram s is worth         $20 on the street , so if I had that on

22 here , I would know that I would have $200 here .                  By the

23 time I'm done sell ing this larger            bag , I should      have

24 $200 , so I'd sell each one of those for $20 .

25 Q.          Alternatively,       could you sell them as a group at




                                                                     Page 38
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 39 of 231



 1 wholesale    price ?

 2 A.        You could sell them at wholesale           if you came up

 3 with a customer .      When you purchase         this , it all

 4 depends    on who you are and who you know and how well

 5 you're    deal ing with the person .          If a person   is not

 6 known to the deal er , general ly does n't --

 7           MR. WARD:    Your Honor , we object , to testimony

 8 --

 9           MS. JOHNSTON:      I'll -- I will continue , Your

10 Honor .    I'll go to another       question .

11           THE COURT:      Pardon   me ?

12           MS. JOHNSTON:      I'll go on to something         else .

13           MR. MCKNETT :     Could we have the testimony

14 stricken ?

15           MR. WARD:    On the basis of expertise , Your

16 Honor .    There 's been no qualification .

17           THE COURT:      I'll strike     the response , and let 's

18 move on to another      subject .     Dis regard    the response ,

19 ladies and gentlemen of the jury          .

20           BY MS. JOHNSTON:

21 Q.        Have you seen small bag s like that before ?

22 A.        Yes, ma'am , I have .

23 Q.        Court 's indulgence .

24           Now , look ing at the bag s in Government 's Exhibit

25 17 , which contain s the drug s from all of the exhibits




                                                                    Page 39
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 40 of 231



 1 out of the Hallmark        bag , there are different         size bag s

 2 in here ?

 3 A.         Yes .

 4 Q.         Those would have been put -- strike             that .

 5            So there are a variety        of size s of bag s in here ?

 6 A.         Yes, ma'am .

 7 Q.         These bag s today that are soft today , are they

 8 similar     -- show ing you South Dakota         1, how do those

 9 little     tiny bag s compare     to these little        tiny bag s that

10 are in the bigger        bag mark ed with an apple ?

11 A.         They're   very close and similar        in size .        The

12 only difference        is these are brand new , and these

13 appear     to be use d or have been use d.

14 Q.         When you re covered       these bag s with the drug s in

15 them , were they black like this ?

16 A.         No .

17 Q.         Based on your experience , what is the black

18 powder ?

19 A.         Fingerprint    powder .     Someone   tr ied to   lift

20 fingerprint s off this .

21 Q.         And those bag s were found , then , in this bottle ,

22 it look s like a champagne         bottle ?

23 A.         Champagne    bottle   contain er .

24 Q.         Now , did that contain er have a false bottom                  or

25 was that just a regular          champagne    bottle ?




                                                                   Page 40
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 41 of 231



 1 A.        It 's just a regular     -- the top pop s off .

 2 Q.        Again , are there correspond ing number s on the

 3 exhibit   to indicate      which part of Drug s 17 came out of

 4 that can ?

 5 A.        Yes .

 6 Q.        And what are the number s?

 7 A.        This one has 9A, B and C, so each of the three

 8 bag s that were in side of here got their own number ; 9A,

 9 9B and 9C.

10 Q.        And th en finally , I think in P-204 , you

11 reference d the black bag that had drug s --

12 A.        Yes .

13 Q.        Let me show you South Dakota         14 .   What is that ?

14 A.        This is the black bag that is shown in this

15 picture , 204 , right here , and it had -- in side of it ,

16 it had three Ziploc        baggi es , larger   Ziploc   baggi es , and

17 the first one had 3.1 grams , and it had two additional

18 small er Ziploc     baggi es in side of it .     So , the same as

19 those larger      Ziploc   baggi es and contain ing small er one s

20 with cocaine      in them .

21 Q.        And again , is there a 9F and G reference d to the

22 content s of Government 's Exhibit        Drug s 17 ?

23 A.        Yes .   Nine F and G in the corner .

24           MS. JOHNSTON:       Your Honor , with the Court 's

25 permission , may I publish        these exhibit s to the jury ?




                                                                 Page 41
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 42 of 231



 1           THE COURT:     You may .

 2           MS. JOHNSTON:      While we're do ing that , if I

 3 could read to the jury the portion           of the stipulation

 4 that al l the parti es have agreed to , that these drug s

 5 that were obtain ed from       the Hallmark    bag ; Government 's

 6 Exhibit    Drug s 17 , 9A through      9C from the champagne     tin ,

 7 total 40 .64 grams of cocaine ; 9D from the Soft &            Dry

 8 can , 3.62 grams of cocaine        base ; 9E, 7.01 grams of

 9 cocaine    came from the Right Guard can ; 9F was 25 .46

10 grams of cocaine       base ; and 9G was 0.83 grams of cocaine

11 from the plastic       bag s re covered   from Paula 's School of

12 Perform ing Art s.

13           BY MS . JOHNSTON:

14 Q.        I believe    I did it earlier     today , but so the

15 record    is clear , I think the first one I asked you

16 about was P-203 .       Again , does that show the plaid bag

17 we discuss ed yesterday ?

18 A.        Yes, ma'am .

19 Q.        Now , if I could move on to ask you to look at

20 the picture       on the screen   there , P-210 .   Do you

21 recognize    that ?

22 A.        Yes .    That 's a scale .

23 Q.        Where is that scale ?

24 A.        That scale is -- once you walk from the

25 reception    area past the off ice into the hall , it 's




                                                                Page 42
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 43 of 231



 1 sitting    in that little         chair right there in front of

 2 you .    The mirror s -- if you remember , the mirror s that

 3 are on the wall , they were , like , right at the base of

 4 that mirror .      That 's , like , the chair rail , and above

 5 that is the mirror .

 6 Q.         And do one of the other picture s that we use d

 7 yesterday     depict   where that chair is locate d?

 8 A.         It was in the back of the hall .           If you're

 9 say ing the back , that would be towards             the office .   Q.

10 Let me show you P-18 6, if I can put that up on the

11 screen    and see if that 's the        photograph    you were

12 look ing for ?

13 A.         Yes .   That 's -- do you see , there 's the chair

14 right there , the green chair s, and there 's the mirror ,

15 and there 's the office .

16 Q.         Why did you seize the -- does P-10 accurate ly

17 depict    the scale as you observe d it on that date ?

18 A.         Yes .

19 Q.         Show ing you what 's been mark ed as Government 's

20 Exhibit    South Dakota      4.     Can you tell us what that is ?

21 A.         It 's a scale .    It pretty    much balance s out --

22 you put a weight       that you're      try ing to achieve   on one

23 side -- either      side , and then you would just stack

24 whatever     your drug s or whatever       on this side to get --

25 and once it become s even , the long er line in the middle




                                                                    Page 43
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 44 of 231



 1 actual ly let s you know that you have the same weight s.

 2 Q.        Why would you seize that ?

 3 A.        It 's use d in the trade of weigh ing out the

 4 product    to make sure you have the same amount .

 5 Q.        Let me show you Government 's Exhibit          P-205 .

 6 That 's going to come up on the screen .            Do you

 7 recognize    that photograph ?

 8 A.        Yes .

 9 Q.        What is that ?

10 A.        That 's a brown box that was locate d under a

11 table .    It is the back , left corner       of the dance hall ,

12 there 's a brown box .      And in side of the brown box was

13 this black bag here which contain s -- I listed               it as a

14 black over night bag , and it contain ed Aqua Net false

15 bottom    can with 23 Ziploc     baggi es with crack,        total

16 weight    of 76 .9 grams , three of the scale s were digital

17 scale s, US currency      bonds , $2,000   bands that you would

18 wrap the money in , common ly what a bank would use , Bank

19 of America    envelope s, 45 bag s of heroin , total weight

20 of 25 .3 grams , a bag with several        Ziploc    baggi es .

21 Q.        Now , going back to the Aqua Net can .          How many

22 bag s did you re cover in there ?

23 A.        It was 23 Ziploc     bag s with crack .

24 Q.        What was the weight     of the crack ?

25 A.        76 .9 grams .




                                                                  Page 44
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 45 of 231



 1 Q.       I hesitate     to ask you to do the math , but did

 2 the -- can you give us an approximate           how much was in

 3 each one of those bag s?

 4 A.       In the bag s --

 5          MS. GREENBERG:      Detective    Shea , do you want a

 6 note pad ?

 7          THE WITNESS:      Please , and a pen .

 8          BY MS. JOHNSTON:

 9 Q.       Twenty-three     bag s and 76 grams ; is that correct ?

10 A.       Yes, ma'am .

11          MS. JOHNSTON:      Your Honor , for the record , he 's

12 -- the witness     is going to use his blackberry         that I

13 think has a calculat or on it .

14          THE WITNESS:      3.3 grams .

15          COURT REPORTER:       What was it again ?

16          THE WITNESS:      3.3 .

17          BY MS. JOHNSTON:

18 Q.       For each bag ?

19 A.       Yes .

20 Q.       First of all , what are we look ing at on the

21 board in P-205 ?

22 A.       That 's the Aqua Net can .

23 Q.       Just so the record        is clear , it look s like we

24 have two government      exhibit s mark ed as P-205 .       For the

25 record , we will make the one on the board P-205 A




                                                                Page 45
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 46 of 231



1 because    it came from the black bag , and P-205.

2 A.        That 's the Aqua N et can that came out of this

3 bag .

4 Q.        Does that accurate ly reflect        how the bag s look ed

5 when you empti ed the Aqua Net can ?

6 A.        Yes .

7 Q.        Let me show you what 's been mark ed as

8 Government 's Exhibit       Drug s 12 .   Do you see those two

9 item s?

10 A.       Yes .   This is the Aqua Net false bottom          and

11 these are 23 bag s that were locate d in side .

12 Q.       The bag s that they were original ly in , are they

13 part of the Aqua Net contain er ?

14 A.       Yes .   They're   in this Aqua Net contain er .

15 Q.       Found in the bag seen in P-205 A?

16 A.       Yes .

17 Q.       It look s as though     there is some of that black

18 powder   on the contain er and the bag s that were

19 separate d?

20 A.       Yes .

21 Q.       But each one of those -- each one of the 23 bag s

22 contain ed rough ly 3.3 grams ; is that correct ?

23 A.       On the street , eight ball .        Eighth   of an ounce .

24 Q.       Would have fit in these bag s; is that correct ?

25 A.       It would have fit in these bag s, yes .           The bag s




                                                                Page 46
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 47 of 231



 1 are different     size s.     You can see that some of them

 2 would have to be cram med in there pretty                tight for it

 3 to fit in the small er one s, but you shove that in

 4 there .

 5            MS. JOHNSTON:      If you can put , with the Court 's

 6 permission , publish        Government' s Exhibit        Drug s 12 to

 7 the jury , please .

 8            THE COURT:   You may .

 9            MS. JOHNSTON:      Thank you , Your Honor .

10            BY MS. JOHNSTON:

11 Q.         While we're publish ing Drug s 12 to the jury ,

12 again , the parti es have stipulate d that these materials

13 were analyze d by the chemist        and determine d to be as

14 follow s:     Government 's Exhibit       Drug s 12 , an Aqua Net

15 can contain ed 64 .5 grams of cocaine          base common ly known

16 as crack .

17            Detective , when you weigh ed them , did you take

18 them out of the     little     baggi es or did you weigh them in

19 their entire ty with        the plastic    wrap ping ?

20 A.         With the plastic     wrap ping , that 's why I say

21 total weight .     When I say total weight , I mean that

22 includes     the packaging .

23 Q.         And the stipulation      is based upon -- in look ing

24 at Stipulation     4, is that based upon the weight             done by

25 the forensic     chemist     once they've    re move d it ?




                                                                   Page 47
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 48 of 231



 1 A.         Right .      Once the chemist     re move s it , they take

 2 it out of the bag s.

 3            MR. MARTIN:       Objection .

 4            THE COURT :      What was this ?

 5            MR. MARTIN:       Objection     as to what the chemist

 6 did .

 7            THE COURT:       All right .     Sustained .

 8            BY MS. JOHNSTON:

 9 Q.         Now , call ing your attention        to the next exhibit ,

10 South Dakota       9.    Can you tell us what those item s are ?

11 A.         These are three digital          scale s slim , compact ,

12 easy to carry around .          More modern     than the even -weight

13 scale .    They were also locate d in this bag .

14 Q.         Where they the same as the          previous   scale that

15 you've    shown to the jury ?

16 A.         Yes .

17            MS. JOHNSTON:       If you could publish       those to the

18 jury as well , with the Court 's permission .

19            THE COURT:       You may .

20            MS. JOHNSTON:       Thank you.

21            BY MS. JOHNSTON:

22 Q.         In reference      to the scale s, the parti es -- all

23 of the defendant s and the government             have stipulate d

24 that the three digital          scale s were analyze d by a

25 forensic     chemist     and determine d to contain       a detectable




                                                                  Page 48
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 49 of 231



 1 amount   of cocaine .

 2            Now going back to our black bag .          Look ing at

 3 what's   been mark ed as Drug s 13 .      Do you recognize        that

 4 item ?

 5 A.         Yes .

 6 Q.         What is that ?

 7 A.         That 's the Bank of America     envelope , the money

 8 envelope     that contain ed 45 bag s of heroin .           The small er

 9 bag s here together        in the same evidence      bag with

10 envelope     are the bag s direct ly in side it and the

11 content s in that little        bag has been taken out and put

12 into a larger      bag .

13 Q.         Now , the -- how many Bank of America            envelope s

14 are in there ?

15 A.         Just one Bank of America      envelope .

16 Q.         How many of those little      baggi es was in side the

17 Bank of America       envelope ?

18 A.         The small Ziploc s, there 's 45 small Ziploc

19 baggi es there .

20 Q.         Did they all contain     heroin ?

21 A.         Yes .   It 's the brown ish powder      here .

22 Q.         Approximately     how much did you weigh that out to

23 be when you seize d it ?

24 A.         My total weight     was 25 .3 grams .

25 Q.         Again , including    the packaging ?




                                                                   Page 49
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 50 of 231



 1 A.        Yes, ma'am .

 2 Q.        And they all fit in the Bank of America

 3 envelope ?

 4 A.        Yes, ma'am .       These are certain ly small er

 5 baggi es .

 6           MS. JOHNSTON:        If you could , with the Court 's

 7 permission , may we publish         Drug s 13 to the jury ?

 8           THE COURT:      Yes , you may .

 9           MS. JOHNSTON:        Th ank you .

10           MR. MONTEMARANO :       Ms. Johnston , what was that

11 last exhibit      number ?

12           MS. JOHNSTON:        Drug s 13 .

13           MR. MONTEMARANO :       Thank you .

14           MS. JOHNSTON:        You're   welcome .

15           And while we're publi shing that to the jury , I

16 will read again from the stipulation            agreed upon by all

17 defendant s and the government          in reference   to

18 Government      Exhibit   Drug s 13 :   The parti es have agreed

19 that it was analyze d and determine d by a forensic

20 chemist      to contain   18 .88 grams of heroin .

21           BY MS. JOHNSTON:

22 Q.        Now , you mention ed some other item s that are

23 part of South Dakota         3.   If you could describe     them --

24 just pull them out and show the jury and tell the jury

25 what's    in here .




                                                                 Page 50
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 51 of 231



 1 A.         These are the money bands .            You get $2,000 , you

 2 take a band and wrap it around               it , just similar       to what

 3 the bank would do .            Easy to count .       Make it easy to

 4 organize     so that you can count each of the bands and

 5 you know what you've            got .

 6 Q.         What else is in all of these bag s here ?

 7 A.         Ziploc     baggi es .    More Ziploc      baggi es of

 8 different     size s that were locate d in side that bag .

 9 There 's a bank envelope           with no mark ings , just a white

10 -- that also has small er -- the small er Ziploc                    baggi es

11 in side of that , s everal         Ziploc    baggi es .

12 Q.         Similar , again , to the size of the one s that you

13 de scribe d as having          eight ball s?

14 A.         Yes .     These were even small er than that .

15 Q.         Some are small er ?

16 A.         Right .     These are .

17 Q.         What else do we have in here ?

18 A.         In here , more of the same .           More Ziploc       bag s.

19 Un use d Ziploc      bag s with an apple on them on the out er

20 Ziploc .     Different     size s.      All different     size s.

21 Rangi ng from small , medium            to large .

22 Q.         And in this bag ?

23 A.         Bigger     Ziploc    baggi es .   This one has a card

24 in side of it and shop ping bag s, black shop ping bag s,

25 Q.         Similar     to the one that you've          re covered    some of




                                                                        Page 51
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 52 of 231



 1 the drug s in ?

 2 A.          Yes , more bag s.

 3 Q.          And this being another       size of the baggi es ?

 4 A.          Yes .

 5 Q.          And this bag ?

 6 A.          More Ziploc    baggi es of all different      shape s and

 7 size s.

 8 A.          Quite a few Ziplocs .      And the bag s a quarter           of

 9 the way full of Ziploc          baggi es .

10 Q.          The kind of drug s that were re covered            in with

11 the Ziploc      bag s in this bag was what ?

12 A.          Heroin .   Heroin   and cocaine .

13 Q.          The Aqua Net can that we've previous ly shown the

14 jury ; is that correct ?

15 A.          Yes , that can there had the cocaine         in it and

16 the envelope        that you have had the heroin        in it .

17 Q.          This would be powder      cocaine     or crack ?

18 A.          That 's crack cocaine .

19 Q.          You mention ed yesterday         that there was an

20 individual      whom you saw out front try ing to come

21 in side .     Do you recall     that testimony ?

22 A.          Yes, ma'am .

23 Q.          Who was that individual ?

24 A.          That was Milburn     Walker .

25 Q.          He did not have a key for the premises ; is that




                                                                     Page 52
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 53 of 231



1 correct ?

2 A.        No, ma'am .

3 Q.        Was any search      conduct ed of him and or his

4 vehicle ?

5 A.        Yes , both .   Conduct ed a search       of Mr. Walker      and

6 found he had a gold -colored        bracelet , a black nylon

7 bracelet , two set s of key s, a Mickey           Mouse watch ,

8 mint s, sunglasses , wallet       with various      IDs, $286 , two

9 lace s a draw string      for his pant s, a black hat , a cell

10 phone , a fanny pack with personal         item s.    Search     of the

11 fanny pack show ed a One Touch bottle           with four Ziploc

12 package s contain ing white powder .

13 Q.       Let me show you first what's           mark ed as P-28 3.

14 That will be up on the screen         there .     Do you recognize

15 that photograph ?

16 A.       Yes .

17 Q.       What are we look ing at there ?

18 A.       There is the OneTouch       bottle , which is use d with

19 diabetic s for their testing       strip s, and there 's the

20 white powder     substance   that was in side of this package ,

21 or in side of that OneTouch       bottle   that were in side of a

22 fanny pack he had , and that 's his identification .

23 Q.       Are you able to see a portion           of the fanny pack

24 on that picture , P-28 3?

25 A.       Yes , right here .     It 's on this corner      here .




                                                                  Page 53
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 54 of 231



 1 Q.         Let me show you P-28 4.      Can you tell us what

 2 we're look ing at on P-28 4?

 3 A.         That look s like the content s of -- that is the

 4 content s of what the fanny pack had .

 5 Q.         Let me show you Walker -1 .     Do you recognize       this

 6 item ?

 7 A.         Yes .   This is a shavi ng bag that was locate d

 8 in side of the trunk of this car .         It had a black bag

 9 contain ing cocaine , marijuana       and suspect ed heroin .

10 Q.         Government 's Exhibit    Walker -2, what is that ?

11 A.         That 's his fanny pack .     That 's the fanny pack .

12 Q.         And then show ing you what 's been mark ed as Drug s

13 18 .     Can you tell us what all those item s are in Drug s

14 18 ?

15 A.         These are the OneTouch     contain er s.    There was

16 one -- only one of these OneTouch          contain er s was

17 locate d in the fanny pack .       The rest of these were

18 locate d in here , in his shavi ng kit that was in side of

19 the trunk of his car .       They there are Altoids       mint s,

20 box es , paraphernalia , this was some roll ing paper , and

21 the drug s that were in side .

22 Q.         Are those some of the item s that are depict ed in

23 the photograph      as well as on the screen , which I

24 believe     is P-28 4?

25 A.         Yes .   You can see the Altoids     mint cont ents .




                                                                 Page 54
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 55 of 231



1 There 's one there .          And there 's the OneTouch   can s that

2 are in here , and I'm not -- that Altoids           can , the

3 small er of the Altoids          can s -- he had different    size

4 Altoids    can s, a larger       one and small er one -- two

5 OneTouch     for your test strip s.

6 Q.         And all of the item s were re move d from         either

7 the shavi ng kit or the fanny pack and --

8 A.         Yes, ma'am .

9 Q.         -- and package d together ?

10 A.        Yes, ma'am .

11 Q.        Are those item s in substantially       the same

12 condition    they were in when you re covered       them but for

13 what they did at the lab ?

14 A.        Yes .

15 Q.        In term s of Walker      1.   Look s like we have some

16 other personal       item s in there ; is that fair to say ?

17 A.        Yes .    You have cigarette s, some lit tle item s,

18 here another       scale .    I mean , it has -- it 's a little

19 pocket   scale .     You would flip that out and hook the

20 little   bowl --

21 Q.        If you could maybe step over close r to the jury

22 so they can see how it work s.

23 A.        Hook the little       bowl to it , and this little

24 slide here -- I've got to do a little           re pair here .       You

25 put what you want to weigh in this little           bowl here ,




                                                                Page 55
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 56 of 231



 1 and then you would slide this little           weight ,

 2 counter weight   to the other end until it just -- it

 3 would -- it would keep do ing until this little              arm came

 4 up to being level,      such as I have it here .

 5           You could see how it 's kind of , like , float ing .

 6 That mean s that it 's -- there 's -- it 's whatever           this

 7 weight    is , which is zero , you see the little          indicator

 8 there on that edge there .         It will tell you what the

 9 weight    is for , whatever   you have in this , for lack of a

10 better    word , the bowl here .     And if it 's down like

11 this , it mean s it 's too heavy , that what you have in

12 there , you have to slide that scale forward              or this

13 little    counter weight   until you get it to where it 's

14 just float ing like that .

15           And that would mean that , of course , there 's

16 nothing    in there , so it 's say ing there was nothing            in

17 there , but if we had a weight        in there , you would slide

18 that until it became       -- so if it was up like that , it

19 meant that you had to slide the scale .              But that 's just

20 a little    pocket   scale to measure     out , and then it folds

21 into itself , and you put it in your pocket .

22 Q.        If we could have a sticker , we'll mark the scale

23 as Walker -1 A and it in the       plastic   bag .

24 A.        That 's just a contain er to keep thing s in .

25 In side of this , I think at one time this was probably                  a




                                                                 Page 56
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 57 of 231



 1 mint contain er for breath          mint s.   More Ziploc     baggi es .

 2 Q.        For convenience      sake , we'll put both the scale

 3 and the little       contain er contain ing baggi es , small

 4 baggi es , into the exhibit         mark ed as Walker -1 A.

 5 A.        This is a bottle         with some white residue .

 6 Without   a field test kit , I would n't know what that is .

 7           MR. WARD:     Objectio n based as to the         previous

 8 objection , Your Honor .

 9           BY MS. JOHNSTON:

10 Q.        So the materials         of significance , including      the

11 scale and the baggi es as well as some of the items ,

12 were mark ed as Government 's Exhibit           Drug s 18 .    You've

13 also gone into the leather           pouch there .

14 A.        Yeah , and there 's a cut ting board with some

15 white residue .

16 Q.        Then the Walker -2, other than the item s that

17 were re move d for testing , are there other personal

18 item s in there ?

19 A.        A bottle    of cologne .      Just a bottle     of cologne ,

20 some hand lotion , some breath           strip s.

21 Q.        Not plastic     baggi es ?

22 A.        Not plastic     bag s.     Some hand lotion .       Here is a

23 piece of paper here with a website             on it .

24           MR. SUSSMAN :     Ms. Johnston , could you --

25           BY MS. JOHNSTON:




                                                                   Page 57
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 58 of 231



 1 Q.        Could you please     speak up ?

 2 A.        This is a piece of paper with a website , an

 3 Inter net site on it and a phone number .            And a couple

 4 of toothpick s.

 5 Q.        And the item s that you determine d were of

 6 evidentiary       value were submitted    to the lab ?

 7 A.        Yes .

 8 Q.        With the exception     of Walker -1 A?

 9 A.        With the exception     of those , yes .

10           MS. JOHNSTON :    Your Honor , if I could publish

11 Drug s 18 and Walker -1 A to the jury at this time .

12           THE COURT:     You may .

13           MS. JOHNSTON:     Thank you .

14           Your Honor , again , while we're publish ing Drug s

15 18 to the jury , I would like to read again from the

16 stipulation       all of the parti es have agreed and

17 stipulate d that the content s of Drug s 18 , the bag

18 that 's being pass ed to the jury now , contain ed a

19 substance    contain ing a detectable       amount   of marijuana ,

20 cocaine   and cocaine     base , common ly known as crack .

21 Specifically , 6.95 grams of marijuana , 2.67 grams of

22 cocaine   hydrochloride , 0.3 grams of cocaine , and .85

23 grams of cocaine       base , common ly known as crack , and

24 that those item s were re covered        from Milburn    Walker   on

25 or about June 1st of 2004 .




                                                                Page 58
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 59 of 231



 1            BY MS. JOHNSTON:

 2 Q.         Detective , I believe    I'm finish ed with my

 3 question s for you .

 4            Court 's indulgence    one moment .

 5            You mentioned    see ing the mirror    in the dance

 6 studio .     Did you observe     any other item s that were

 7 consistent        with an on going dance studio    operation ?

 8 A.         No .

 9 Q.         You mention ed the other day --

10            MR. MONTEMARANO :     Objection , Your Honor , move to

11 strike .     Basis for knowledge .

12            THE COURT:     Over ruled .

13            BY MS. JOHNSTON:

14 Q.         Yesterday , you also mention ed some box es of

15 cracker s.        If I can put this board up very brief ly .

16 Call ing your attention       to P-19 5.    Were you able to tell

17 what kind of cracker s they were ?

18 A.         I don't remember     the brand name , but they were

19 the little        round soup cracker s.    The reason   I know is

20 because     all of the one s that were by the piano.          I

21 search ed -- I actual ly went through         those cracker s.

22 They were the small , like , oyster -type cracker s.

23 Q.         Are you able to see them --

24 A.         I can't make it out at all off of this picture ,

25 but I remember .        I want to say that -- I'm not 100




                                                                Page 59
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 60 of 231



1 percent     certain , but I want to say they were , like ,

2 member 's mark from Sam 's Club .

3 Q.          If you could resume        the witness       stand , please .

4             MS . JOHNSTON:     I have no further          question s for

5 this witness         at this time .

6             THE COURT:     Cross-examination        ?

7             MR. MONTEMARANO :       Thank you , Your Honor .

8                            CROSS-EXAMINATION

9             BY MR.    MONTEMARANO :

10 Q.         Go od morn ing , Detective     Shea .       How are you ?

11 A.         Good morn ing , sir .      I'm fine .

12 Q.         Seventeen    year s in narcotic s; correct ?

13 A.         Yes .

14 Q.         Twenty-two    year s as a police officer ?

15 A.         Yes .

16 Q.         And you spent six months        or so at the academy ?

17 A.         Yes .

18 Q.         Where you acquired        train ing experience       in

19 basic s, but to be very honest , most of what you know is

20 experience       while on the street ; is that a fair

21 statement ?

22 A.         A lot of it , yes .

23 Q.         I'd like to get clear on a couple              of thing s Ms.

24 Johnston     asked you about .       You're   the seizi ng officer ;

25 aren't   you ?




                                                                     Page 60
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 61 of 231



 1 A.       At this location .

 2 Q.       We're going to be talk ing about the search of

 3 5559 South Dakota      Avenue on the 1st of      June, 2004,

 4 commenci ng at approximately 6:45 a.m.           That's what you

 5 testified to; correct?

 6 A.       That's correct.       Yes, sir.

 7 Q.       No other date and time ?        You hadn't    been there

 8 before   you haven't    been there since ; correct ?

 9 A.       I had driven past it before for surveillance

10 purpose s, but never in side .

11 Q.       In fact , the reason     you were in side is because

12 you were hand ed a key by Detective          Eveler ; correct ?

13 A.       Yes .

14 Q.       Had you not receive d the key,        you were going to

15 break the door down ; right ?

16 A.       That 's with a search      warrant , yes .

17 Q.       No , you were going to break the door down and

18 you were allow ed do that because          you had a search

19 warrant ; correct ?

20 A.       Yes .

21 Q.       You were there to search        the premise ; correct ?

22 A.       That 's correct .

23 Q.       The photo s you took accurate ly depict          what you

24 saw there on that day ; correct ?

25 A.       Yes .




                                                                Page 61
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 62 of 231



1 Q.         Would it be fair to say that when you came

2 through      the door , what the place look ed like would be

3 more or less        Photograph   P-19 4?   For the record , I'm

4 going to show it to you , then show it to the folk s on

5 the jury , and that 's this big over all picture             here ?

6 A.         That 's the dance hall , yes .          That 's a picture    of

7 the dance hall .

8 Q.         And P-19 5.

9 A.         That 's mid way through     the dance hall , so you

10 could get to the back .

11 Q.        And P-19 6?

12 A.        That would be this left , back corner , yes .

13 Q.        Okay .    So , show ing you that P-19 4, -5, and - 6

14 photos,     are these three here across the top .           And those

15 are what we would call , for lac k of a better             term , an

16 over view of what you saw ?         Wide angle ; correct ?

17 A.        Yes .

18 Q.        And then the other photograph s were

19 progressively       and success ive ly closer -up shot s;

20 correct ?

21 A.        It was evidence       locate d, yes .

22 Q.        There are also some closer         shot s of the

23 bookshelves .

24 A.        There was evidence       on the bookshelves .

25 Q.        There would be specific         -- I always    have trouble




                                                                  Page 62
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 63 of 231



1 with that word -- specific         shot s of specific     item s of

2 evidence ; correct ?

3 A.        Yes .

4 Q.        Those would be the one s locate d by the search ing

5 officer s; correct ?

6 A.        They would be locate d, yes .

7 Q.        Those item s would be locate d by the search ing

8 officer s, then they would put that famous            little   three

9 by five card with the number          next to it ; correct?

10 A.       They would fill out the slip of paper .

11 Q.       You use little     slips of paper ?

12 A.       We use slip s of paper , yes .

13 Q.       I guess it 's Montgomery       County officer s that use

14 three by five cards .       That was yesterday , I'm sorry .

15 That 's based on your train ing and experience , you're

16 told this is how we're going to do it ; correct ?

17 A.       Yes .

18 Q.       Because   you're   direct ing the search      because

19 you're   ultimate ly responsible ; correct ?

20 A.       Yes .

21 Q.       That 's why you're     here testify ing ; correct ?

22 A.       Team leader , yes , sir .

23 Q.       Team leader , that was your words .          Now , based

24 upon the search     warrant , you were therefore        able to go

25 into contain er s locate d at 5559 South Dakota ; correct ?




                                                                 Page 63
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 64 of 231



 1 A.       Yes .

 2 Q.       You were able to look in side of box es ?

 3 A.       Yes .

 4 Q.       You were able to look be hind thing s?

 5 A.       Yes .

 6 Q.       Under thing s?

 7 A.       Yes .

 8 Q.       On top of thing s?

 9 A.       Yes .

10 Q.       And you've    testifi ed to many of the thing s that

11 you seize d; correct ?

12 A.       Yes, sir .

13 Q.       Many of the thing s that you saw ; correct ?

14 A.       Yes, sir .

15 Q.       Now , correct     me if I'm wrong .     You saw a number

16 of scale s, electric      and at least    one balance    scale ;

17 correct ?

18 A.       Yes .

19 Q.       Total number      of -- was it three ?

20 A.       What , scale s?

21 Q.       Scale s.

22 A.       No .    It 's been -- it was more than three .         There

23 were three digital       scale s locate d in side of the black

24 over night bag .

25 Q.       Inside of the bag ?




                                                                Page 64
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 65 of 231



1 A.        In side the bag .       There were two more digital

2 scale s locate d in side of a two -drawer         file cabinet .

3 Q.        In side of the cabinet ?

4 A.        In Paula 's -- what I labeled         as Paula 's office

5 in the bottom       drawer .

6 Q.        Well , Ms. Martin       was n't there , was she ?

7 A.        No .    Not at the time of the search , no .

8           There was the old er balanci ng scale so that 's a

9 total of six so far .

10 Q.       This is the balanci ng scale ?

11 A.       Yes .     That 's the one that was in the green chair

12 in the dance hall , and there was another             scale in the

13 Hallmark     bag that was in side the dance hall , back left

14 corner   in side the Cook 's champagne        box .   It was in side

15 of the Hallmark       bag , And that appear s to be it so a

16 total of seven .

17 Q.       Seven .     That 's -- seven scale s locate d

18 throughout      the premises .     But scale s are legal , are

19 they not ?

20 A.       Sorry ?

21 Q.       Scale s are legal , are they not ?

22 A.       Yes .     They're    legal , yes .

23 Q.       You can go out and buy one today ; correct ?             You

24 don't need a warrant ; correct ?

25 A.       No, sir .     They have a purpose .




                                                                Page 65
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 66 of 231



 1 Q.       You can go out and buy one ?

 2 A.       Yes , you can .

 3 Q.       And you talk ed about find ing a number          of these

 4 empty can s:      The Soft &    Dry , Aqua Net , Noxema .    There 's

 5 a name from the past .         Are those the only three ?       Am I

 6 miss ing something ?

 7 A.       You're    miss ing some .      There was the Aqua Net ,

 8 then there was a Soft &         Dry .   There was a Right Guard ,

 9 a spray starch , a Noxema , and According           to You

10 contain er .

11 Q.       So there would be about five or so ?

12 A.       About five.       If you're     count ing , the contain er

13 that 's six .

14 Q.       Six .

15 A.       The champagne      contain er would be six , but that

16 didn't   have a false bottom .

17 Q.       This has a false bottom , you say ?

18 A.       Yes .    Is that the -- is that spray starch ?

19 Q.       Yes .    Value Plus Spray Starch.

20 A.       It was empty at the time , yes .

21 Q.       Now , this is not within         your area of expertise ,

22 but based upon your examination           of this , you would

23 agree this is commercial ly manufactured , this isn't

24 homemade ; correct , sir ?

25 A.       I would agree to that .




                                                                Page 66
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 67 of 231



 1 Q.         It 's got this foam rubber     insert   in side the lid ?

 2 A.         Yes .

 3 Q.         Or the bottom ?

 4 A.         Yes .

 5 Q.         It 's got a foam rubber    top , so whatever     bounce s

 6 right in side could n't broken       or should n't be broken ;

 7 correct ?

 8 A.         Yes .

 9 Q.         It 's got a plastic -thread ed insert      in side the

10 neck ; correct ?

11 A.         Yes .

12 Q.         That match es up with    the plastic    thread ing on

13 the lid --

14 A.         Yes .

15 Q.         -- correct ?   This would be , we'd agree ,

16 commercial ly available ?

17 A.         I've never purchase d one in my private         life , but

18 yes , I would have to agree with you that you could

19 purchase     it somewhere .

20 Q.         This isn't illegal ?

21 A.         Not to my knowledge , no .

22 Q.         To save a little    time with the folk s of the

23 jury , because     I would n't wish to be labor the point , it

24 would be fair to say those other can s were all

25 substantially      the same , all commercial ly available , all




                                                                Page 67
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 68 of 231



1 commercial ly manufactured ; correct ?

2 A.        Yes .

3 Q.        That 's also legal .

4           Speak ing of commercial ly available , have you

5 ever been to Home Depot ?

6 A.        Yes .

7 Q.        You'd agree that hang ing on the ceil ing at a

8 store like the Home Depot , there are sign s; plumbing ,

9 electrical , hardware ; correct ?

10 A.       Yes .

11 Q.       When you came through      the door at 5559 South

12 Dakota   on the 1st of June of 2004 , at approximately

13 6:45 a.m. in the morn ing with your warrant , there were

14 no sign s of that sort hang ing on the wall s; correct ?

15 A.       No .

16 Q.       Or from the ceil ing ; correct ?

17 A.       No .

18 Q.       It didn't   say cocaine    here , cane base there ,

19 heroin   here ; is that a fair statement ?

20 A.       That 's a fair statement .

21 Q.       None of this illegal      stuff , drug s, et cetera , in

22 plain view ; is that a fair statement ?

23 A.       Excluding   -- well , I mean , the drug s, no , but

24 that scale was in plain view , the old scale .

25 Q.       Even I remember    the name Ohaus from high school




                                                               Page 68
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 69 of 231



 1 chemistry , maybe college       chemistry , it 's commercial

 2 venture .     These guy s make scale s, lot s of scale s.         It's

 3 a common     name ; correct ?

 4 A.        Yes .

 5 Q.        So people who have scale s for il legal purpose s

 6 often by Ohaus scale s, as do person s who often by

 7 scale s for legal purpose s; fair statement , sir ?

 8 A.        Fair statement .

 9 Q.        If I'm walk ing down the street         with this in my

10 hand , you're     not going to bust me ?

11 A.        Not just that scale , no .

12 Q.        That 's not evidence     of plain view drug activity

13 is it ?     This by itself ?

14 A.        Not drug activity .      Suspicion .

15 Q.        If I'm walk ing down the street , you think it 's

16 suspicion     -- that suspicious     that I'm carry ing a scale ?

17 Know ing nothing     else , just the scale ?

18 A.        It could .   It would catch my at tention .

19 Q.        You could n't search     me because     of that ; could

20 you ?

21 A.        I would n't search    you because      of that , no .

22 Q.        The reason   that that got grab bed up and all this

23 other stuff got search ed , go t look ed into and all that

24 is because     of the warrant ; correct ?

25 A.        That and what was re covered .




                                                                Page 69
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 70 of 231



 1 Q.         The reason    that you found it is because       you had

 2 a warrant     that permitted    you to   look for it ; correct ?

 3 A.         Yes .

 4 Q.         If a person    were to have walk ed in , let 's say

 5 you on May 31st at 6:45 in the morn ing without             a

 6 warrant , it would be fair to say there was no drug s in

 7 plain view ; correct ?

 8 A.         Correct .

 9 Q.         In your 17 year s in narcotic s, have you ever had

10 occasion     to have any kind of evidence       from a search       and

11 seizure     warrant    you have participate d in fingerprint ed ?

12 A.         Yes .

13 Q.         Your answer    was yes ?

14 A.         Yes .

15 Q.         And that 's because , in your experience , not that

16 you're    a fingerprint     ex pert or anything    like that , but

17 Detective , it would be fair to say that a metal --

18 smooth , clean , metal surface        like this can is the kind

19 of surface     from which fingerprint s are easily        found ;

20 correct ?

21 A.         Sometimes .

22 Q.         Sometimes .    And the only way you're      going to

23 find it is by fingerprint ing it ; right ?

24 A.         Yes .   You have to fingerprint     in order    to find

25 it ; correct .




                                                                   Page 70
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 71 of 231



 1 Q.        And nothing     was ; correct ?

 2 A.        I'm sorry ?

 3 Q.        And nothing     was , that you're    aware of , were

 4 fingerprint ed ?

 5 A.        Yes , some of the item s I testifi ed to earlier

 6 were fingerprint ed ; that can in particular           was not

 7 because   it was empty .

 8 Q.        Court 's indulgence , please .

 9           You said there were a piano on the location            when

10 you --

11 A.        There was a piano and an organ , yes .

12 Q.        Two of them ?

13 A.        Yes .

14 Q.        Just two ?

15 A.        That 's all I recall , yes .

16 Q.        Okay .   You didn't   test them ; did you ?      By test ,

17 did you see if they were operable ?

18 A.        I did not , and I don't remember        if any of the

19 team member s actual ly -- well , the organ that was in

20 the back , left corner       had -- it was just covered , had ,

21 I mean , paper s, box , records      on it .   It show s in one of

22 the picture s.     The piano was up near the front near the

23 office , and I check ed the cracker s.         I don't remember

24 -- I don't recall       pick ing it up and a play ing .      I'm not

25 very musically     inclined .




                                                                Page 71
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 72 of 231



 1 Q.       Unless    I'm wrong , the organ probably         had a plug

 2 -- would need to be plug ged in to operate ; correct ?

 3 A.       I don't know .     I don't recall     if it had a plug

 4 or if it was      an old er organ .

 5 Q.       All right .     You said there was stuff on top of

 6 it ; correct ?

 7 A.       Yes .

 8 Q.       Be also fair to say that you went through             the

 9 stuff on to p of it ?

10 A.       The document s and stuff , yeah .

11 Q.       So it would be fair to say that with the

12 expenditure      of a small amount     of time , stuff could be

13 re moved from the organ and it could be rendered

14 operable , whether     or not   it need ed to be plug ged in if

15 it were operable .

16 A.       I was actual ly there to search         for drug s.    I

17 was n't there to test musical         equipment , sir .

18 Q.       Fair enough .     Thank you .

19          Did you involve     yourself    in any pre -raid

20 observation s prior to entering         the premises      on June 1st

21 at 6:45 in morn ing ?

22 A.       Yes .

23 Q.       For how long ?

24 A.       Maybe we were there for about approximately                an

25 hour .   I was there for an hour .




                                                                 Page 72
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 73 of 231



1 Q.       From about 5:45 until about 6:45 ?

2 A.       Yes .

3 Q.       And it would be fair to say now , Mr. Walker

4 arrive d sometime     after you commence d your search ?

5 A.       Approximately     7:50 .

6 Q.       For the sake of discussion , he arrive s at 5:50 ,

7 tr ies to get in , you might well have arrested           him ;

8 correct ?   F air statement ?

9 A.       Yes .

10 Q.      Anybody    who 's comi ng in or going out , you're

11 going to arrest ?

12 A.      Going to detain .

13 Q.      Going to detain .

14 A.      Mr. Walker    had an arrest     warrant .

15 Q.      Oh .    Like wise , it would be fair to say anyone            on

16 the premises    would have been detain ed an d search ed ?

17 A.      Would have been detain ed .

18 Q.      And search ed ?

19 A.      Yes .

20 Q.      So you can't tell us , other than that window            of

21 about an hour for the search , who frequent ed Paula 's

22 School of Perform ing Art s; is that a fair statement ?

23 A.      I can't tell you ; no, sir .

24 Q.      You can't tell us how many people           frequent ed it ?

25 A.      Between    the morn ing of --




                                                               Page 73
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 74 of 231



 1 Q.         Except ing that time window , you can't tell us

 2 how many people        frequent ed Paula 's School of Perform ing

 3 Art s?

 4 A.         Between    the morn ing of 5:45 in the morn ing and

 5 6:45 in the morn ing ; no, sir , other than that little

 6 window .

 7 Q.         You don't know who , how many time s, when , which

 8 date s, which time s, or anything        like that ; correct ?

 9 A.         No .

10 Q.         It was n't your case .      You were there to be the

11 seizi ng agent for this search ; correct ?

12 A.         I was involve d in the case a little        bit , but

13 that was my purpose        was to search     that location .

14 Q.         You testifi ed that in response       to one of Ms.

15 Johnston 's last question s, that in your view , there was

16 no evidence       of on going dance or anything     like that at

17 the school , based upon your view of it ; is that a fair

18 statement ?

19 A.         Is that the one you      object ed to , or someone

20 object ed to ?

21 Q.         No , I think you were permitted       to answer     it .

22 A.         I do , yeah .   It didn't    --

23 Q.         Didn't    appear .

24 A.         No .

25 Q.         You 'd admit you're    a narcotic s detective ; right ?




                                                                  Page 74
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 75 of 231



 1 A.        I also have three daughter s that attend           quite a

 2 few dance re cit als, sir .

 3 Q.        Here ?

 4 A.        Not at that particular        school ; no, sir .

 5 Q.        But there is an open floor there ; isn't there ?

 6 A.        Yes , sir .

 7 Q.        And in your direct      testimony , without     any

 8 bidding    from Ms. Johnston , you de scribe d it as a dance ;

 9 didn't    you ?

10 A.        I said a dance hall .

11 Q.        Dance hall .      And that look s like a dance floor ,

12 does n't it , based upon your experience          with your

13 daughter s?

14 A.        I mean it 's hard, it 's not like carpet .            It's a

15 tile floor , I'll give you that.           Dance floor , I'm going

16 to have to dis agree with you .

17           MR. MONTEMARANO :      No further     question s, Your

18 Honor .    Thank you .

19           THE COURT:      All right .

20           MR. MARTIN:       Mr. Goodwin   has no question s, Your

21 Honor .

22           MR. HALL:      I have no question s, Your Honor .

23           MR . MITCHELL :     None , Your Honor .

24           MR. WARD:      No question s, sir .

25           MR. SUSSMAN :      I've got a few .




                                                                   Page 75
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 76 of 231



 1                          CROSS-EXAMINATION

 2          BY MR.    SUSSMAN :

 3 Q.       Good morn ing , Detective .

 4 A.       Good morn ing , sir .

 5 Q.       Just some general        question s about the search .

 6 In addition    to the item s that you find , you tear up a

 7 drug -- a suspect ed drug premises             pretty   well ; would

 8 that be fair to say ?

 9          MS. JOHNSTON:         Object ion to    the

10 characterization .

11          THE COURT:      Sustained .

12          MR. SUSSMAN :     It 's not meant to de mean ing .           It's

13 just meant to ask the question .

14          THE COURT:      Sustained .     You can re phrase      the

15 question .

16          BY MR. SUSSMAN :

17 Q.       You're look ing for       drug s in any place you can

18 find them ; is that right ?

19 A.       I like to do a system         systematic       search , and as

20 you can see , drug s can be hidden         anywhere .       False

21 bottom   can s, box es , bag s, so yes , there is , believe            it

22 or not , there 's a system        to a search .       How you search .

23 Q.       Right .    But one of the things         you're    look ing for

24 is secret    panel s in the floor and the ceil ing and the

25 wall s; isn't that right ?




                                                                   Page 76
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 77 of 231



 1 A.         Yes .

 2 Q.         So if there 's a suspicion        of that , you're    not --

 3 you're   not adverse      to tear ing up a wall or a ceil ing to

 4 find it ; right ?

 5            MS. JOHNSTON:      Objection .

 6            THE COURT:     Sustained .

 7            BY MR. SUSSMAN :

 8 Q.         Will you tear up -- you pull down panel ling in

 9 the ceil ing to find drug s?

10            MS. JOHNSTON:      Objection .

11            THE COURT:     Over ruled .

12            THE WITNESS:     If it 's a drop -ceil ing , you'd lift

13 it up and look .        You don't have to take every panel .

14 You can lift it up and with a flashlight             and the aid of

15 a ladder , you can pretty much           scan the area .

16            BY MR. SUSSMAN :

17 Q.         The point of my question         is you can look at

18 whatever     you think you might find evidence ; is that

19 correct ?

20 A.         I try to search     everywhere .

21 Q.         That 's your first concern        and not necessarily

22 the condition      of the premises ?

23 A.         No , that 's why you take the picture        before    you

24 search   so that you have -- you can see what it look ed

25 like before .




                                                                   Page 77
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 78 of 231



 1 Q.        Your first responsibility       is to do what's

 2 necessary    to find the evidence      you're   look ing for ; is

 3 that right ?

 4 A.        We're there to find evidence         and we're -- yes .

 5 Q.        All right .   Now , let me ask some of the thing s

 6 you found in there .      You found small scale s, is that

 7 your testimony ?

 8 A.        Yes, sir .

 9 Q.        And in term s of your experience , that 's pretty

10 much a staple     tool in the drug distribution         trade ;

11 right ?

12 A.        Yes , it is a tool .

13 Q.        And from your experience , that 's not an

14 un expect ed thing to fine ; is that correct ?

15 A.        No , it 's not un expect ed , no .

16 Q.        Now , let me just get back to during         your direct ,

17 you mention ed brief ly want ing to either         kick yourself

18 or be kick ed , and I want to be specific          about that .

19 Which was it ?     Did you want to be kick ed or did you

20 want to kick yourself ?

21 A.        I want ed to be kick ed for maki ng that mis take

22 there .

23 Q.        And your mis take was basically        on a couple      of

24 occasion s you said that an eight ball was 1.5 grams or

25 thereabout s, right ?




                                                                Page 78
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 79 of 231



 1 A.         On one occasion , I said an eight ball was 1.5 .

 2 Q.         Now , first of all , these term s are not -- these

 3 are street     term s; right ?

 4 A.         Yes .   I mean , it 's a street   term for an eighth

 5 of an ounce .

 6 Q.         It 's fair to say that to your understanding , the

 7 Bureau    of Standards    has n't adopt ed these term s as

 8 official     term s in any of their publication s; is that

 9 right ?

10 A.         Not to my knowledge , no .

11 Q.         And in actuality , on the street       what is

12 considered     to be an eight ball can vary quite a bit ;

13 isn't that true ?

14 A.         It 's pretty   standard .    I mean , the weight s could

15 vary a little .

16 Q.         That 's what I meant .

17 A.         The cost could vary .       Like I testified,    it

18 depends    on who you are or who you know .         It could be

19 more or it could be less .

20 Q.         Oh, right .    For example , a dime bag could vary

21 in weight     depend ing on who is sell ing to whom ?

22 A.         A dime bag is current ly , in my experience ,

23 refer s to marijuana , and it 's a small Ziploc          bag , and

24 it mean s $10 .

25 Q.         Not a specific    weight    necessarily ?




                                                                Page 79
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 80 of 231



 1 A.       No .     It 's close , but it 's --

 2 Q.       Sure .     You 've heard the term lid ?

 3 A.       Lid ?     That 's a film canister         that usually    would

 4 be pack ed with marijuana       lace d with PCP or pars ley.

 5 It 's also been referred       to as parsley .

 6 Q.       Not a specific      weight     either ?

 7 A.       No .

 8 Q.       Exact weight s are more like ly to be use d in

 9 quantity ; is that correct ?          If you don't understand

10 what I mean , I'll try to re phrase          that .

11 A.       Can you re phrase     that ?     I don't want to make a

12 mis take .

13 Q.       Someone     who is buy ing kilogram s is much more

14 like ly to be precise      about the weight s they're         get ting

15 than these small er amount s; right ?

16 A.       No , I belie ve it 's up to the individual ,

17 depend ing on how tedious       a person 's system , how they

18 cut their product       down for sale .      You know , one deal er

19 could possibly , you know , each time you buy a product

20 from him , you get the exact same weight              and it 's not

21 un common    for you to buy from another           deal er who is not

22 as conscientious       about his weight      and you could get --

23 the weight s would vary .

24 Q.       You think when people          are buy ing kilogram s,

25 there is a large variation        in the weight s they are




                                                                     Page 80
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 81 of 231



 1 willing   to accept ?

 2 A.        Not kilogram s, usually     that 's small er .

 3 Q.        No , it 's much more common       to see big ger weight s

 4 be more precise      --

 5 A.        In the kilogram     range , yes .

 6 Q.        I'm sorry , there was a mis understand ing .

 7 A.        I'm sorry .     I'm mis understand ing you .

 8 Q.        When they're buying serious weight, that's when

 9 they're precise about --

10 A.        Pretty   much , yes .

11 Q.        In the small er amount s, you say these weight s

12 tend to vary, on a percentage basis, quite a bit?

13 A.        Yeah.    It's not really    that much of a

14 fluctuation , but there 's a fluctuation           there .

15 Q.        When you talk about tenth s of gram , those are

16 pretty large percentage        swing s; aren't     they ?

17 A.        Tenth s of gram ?

18 Q.        Yes .

19 A.        I don't think so , no .

20           MR. SUSSMAN :     Okay , fine .     Thank s.

21           THE COURT:      Any additional      cross ?

22           MR. MCKNETT :     Yes , Your Honor .

23                           CROSS-EXAMINATION

24           BY MR. MCKNETT :

25 Q.        Good morn ing , sir .    It's " detective ;" is that




                                                                Page 81
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 82 of 231



 1 right ?

 2 A.         That 's fine .    Yes .

 3 Q.         Detective , just to follow        up on what Mr.

 4 Sussman     asked you about .        You de scribe d an eight ball

 5 -- ultimate ly de scribe d it as 3.5 grams , or 1/8 of an

 6 ounce ; right ?

 7 A.         Yes .

 8 Q.         There were some pack ages you referred              to , these

 9 little     baggies    that were re covered       from the dance

10 studio .     You said some of them weigh ed 3.3 grams ; is

11 that correct ?

12 A.         Yes , and that 's considered       -- by the analogy ,

13 that could be considered         an eight ball .

14 Q.         That would include        the weight    of the package      as

15 well , didn't      it ?   Would that include       the weight     of the

16 envelope     as well as the weight        of the content s?

17 A.         Well , that 's what you're       talk ing about .      I

18 calculate     it as an estimate        for 76.9 grams with 23

19 Ziploc bags.         That was an estimate    .     I didn't

20 individual ly weigh each one .           That calculation        was done

21 right there .

22 Q.         I understand     that .    I understand    that .     But you

23 came up with an average?

24 A.         Ye ah, the average .

25 Q.         Of 3.3 grams ?




                                                                     Page 82
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 83 of 231



 1 A.         Yes .

 2 Q.         And that include d the packaging ?

 3 A.         That would have been off of my total , yeah ,

 4 76 .9 .

 5 Q.         Okay .    So 3.3 grams -- I want to be clear , 3.3

 6 grams include d the content s of the             baggy and the baggy

 7 itself ?

 8 A.         The 76 .9, yes , did .

 9 Q.         Okay .    Am I confusing      you ?

10 A.         No , I understand     what you're      say ing , but that

11 was the estimate .        I mean , I didn't       weigh each of the

12 individual     23 Ziploc s.

13 Q.         So you had the over all weight          of all the drug s

14 and all the package s?

15 A.         Right .

16 Q.         You divide d that by what number ?

17 A.         Twenty-three .

18 Q.         And the average     weight     of the individual     baggy

19 was 3.3 grams , and that included            the weight     of the

20 content s of the baggy and the           weight    of the   baggy

21 itself ?

22 A.         The average     did , yes .

23 Q.         The average .     Thank you .

24            Detective , you mention ed and de scribe d several

25 drug exhibit s, and do you have your --




                                                                   Page 83
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 84 of 231



1 A.       I have my note s.

2 Q.       Tell me if I've got too many here, Drug s 12 --

3 A.       Can you de scribe      -- I don't have      what --

4 Q.       You don't have them labeled ?

5 A.       I don't have     them labeled .

6 Q.       There was the Aqua Net can .

7 A.       The Aqua Net can , false bottom          can .

8 Q.       Right .

9 A.       That 's the    one with the 23 Ziploc        bag s.

10 Q.      There was -- I just have Drug s 13 identifi ed as

11 18 .88 grams of heroin     in little   baggi es .

12 A.      That should     have been in an envelope , in a Bank

13 of America    en velope with   45 baggi es .

14 Q.      Okay .

15 A.      But my tot al weight      was 25 .3.

16 Q.      For now , I want to identify        so we can get on the

17 same page .

18 A.      Sure .

19 Q.      Next I had 2.79 grams of crack .

20 A.      2.9 ?

21 Q.      2.79 .

22 A.      Can you tell me what it was in ?

23 Q.      I'm not sure .     That 's why I was asking .

24 A.      Perhaps   we didn't     get to that one .

25 Q.      We'll come back to that one .          Then there was a




                                                                 Page 84
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 85 of 231



 1 box .    I think the box was on a shelf .

 2 A.        The -- that would have been the champagne                box ?

 3 Is that what you're         -- or the --

 4 Q.        I think it was the box on a shelf .

 5 A.        A mailbox ?       Priority   mailbox    contain ing the    two

 6 Ziploc    bag s with   cocaine    total ling 253 .8 locate d in

 7 Paul a's office .

 8 Q.        That would be it .

 9 A.        Okay .

10 Q.        Then there was a bag , I had it Drug s 16 .              A bag

11 contain     contain ing approximately       205 grams of powder

12 cocaine .     Does that sound familiar ?

13 A.        A bag with powder       cocaine ?      No .

14 Q.        No ?

15 A.        Not unless       you -- if you tell me what it was in

16 --

17 Q.        Let me try this a different            way .

18           There was the drug s that were found on Milburn

19 Walker ; correct ?

20 A.        Yes .

21 Q.        But they really       were -- that was just fortuitus .

22 You hadn't       planned   to go there and arrest        Milburn

23 Walker ; had you ?

24 A.        No .

25 Q.        He just show ed up ?




                                                                  Page 85
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 86 of 231



 1 A.        He show ed up .

 2 Q.        He was actual ly arrested      outside    the studio ;

 3 was n't he ?

 4 A.        He was pull ing on the door as we opened          it .

 5 Q.        So the drug s re covered     from Milburn    Walker

 6 aren't    really    part of the search    and seizure    at the

 7 dance studio ?

 8 A.        No .

 9 Q.        Let me turn first to the Express mailbox .               Is

10 that available ?

11           MR. MCKNETT :      May I approach   the witness , Your

12 Honor ?

13           THE COURT:      You may .

14           BY MR. MCKNETT :

15 Q.        This has been mark ed as drug s Exhibit 15 ,

16 Detective .

17 A.        Yes, sir .

18 Q.        I just want to talk to you about that for a

19 little    bit .    The box , as it exist s now , has been

20 collapsed ; right ?

21 A.        Yes .

22 Q.        It was n't collapse d when you found        it; was it ?

23 A.        No .    The picture   show ed it was --

24 Q.        I don't have      color picture s, but I think the

25 black and white s will work .         That 's the box there ;




                                                                Page 86
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 87 of 231



1 isn't it ?

2 A.        Yes .

3 Q.        Right there ?

4 A.        Yes, sir .

5 Q.        That 's in the shape that it        was in when you

6 found it ; correct ?

7 A.        Yes, sir .

8 Q.        That 's P-18 8, and there was nothing         unique    about

9 that box when you first saw it , was there ?

10 A.       Sergeant     Huskins   is the one that actual ly

11 locate d it , but when I walk ed in and first seen it in

12 that condition , no , it didn't .

13 Q.       It look ed like a box that show ed up in the mail

14 and somebody     had put it on a shelf ?

15 A.       Yes, sir .

16 Q.       Due to your train ing and expertise , then, with

17 the contents of the search warrant and such,             you

18 decided that that --       not you personally , but somebody

19 on your team decide d you should        look in that box ?

20 A.       Yes .

21 Q.       An d you did and you found what ?

22 A.       253 .8 grams of crack cocaine .

23 Q.       I'm show ing you now what 's mark ed as P-189.            Do

24 you see that?

25 A.       Yes, sir .




                                                                  Page 87
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 88 of 231



 1 Q.        Particular ly , this item here , do you know what

 2 that is ?

 3 A.        That 's a book safe and it has on the back strap

 4 it 's The Bounty .

 5 Q.        It has , excuse    me , The Bounty ?

 6 A.        The Bounty .

 7 Q.        The name of the book ?

 8 A.        Yes , I guess it 's suppose d to look like a book .

 9 Q.        Do you have     that book handy ?

10           MR. MCKNETT :     May I approach    the witness , Your

11 Honor ?

12           THE COURT:      Yes , you may .

13           BY MR. MCKNETT :

14 Q.        Detective , this has been mark ed as South Dakota

15 2.   This is the book we're talk ing about ; correct ?            A.

16 Yes, sir .

17 Q.        It has The Bounty on the back ?

18 A.        Yes, sir .

19 Q.        Do you remember     the shape that was in when it

20 was re covered ?

21 A.        Judgi ng by the mark s on it , I'm going to say

22 that it was lock ed and we pri ed it open .

23 Q.        It was lock ed and secured ?

24 A.        And we pri ed it open .

25 Q.        The cover is miss ing , but the        cover was on it




                                                                Page 88
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 89 of 231



 1 when it was re covered ; was n't it ?

 2 A.         I don't believe      so .

 3 Q.         You don't believe       so ?

 4 A.         I don't believe      so , no .

 5 Q.         Detective , I'm show ing you what's          been mark ed as

 6 the chart , and it 's Government 's Exhibit            P-189 .    This

 7 is the color version          of the photograph    that I put up on

 8 the screen        a moment   ago ; right ?

 9 A.         Yes .

10 Q.         Can you tell by look ing at that picture              whether

11 or not the cover is on the front of that book -- book

12 safe ?

13 A.         Do you mean the back strap or the cover ?               The

14 side cover s?

15 Q.         Let me be more specific .

16 A.         Okay .

17 Q.         The way the book look s now , the back look s like

18 a book ?

19 A.         That 's the back strap .

20 Q.         This look s like a book ?

21 A.         Side cover .

22 Q.         But this does n't look like a book ?

23 A.         No .

24 Q.         This is a metal casi ng -- door .           But you can't

25 tell from look ing at the picture            whether   or not    there




                                                                    Page 89
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 90 of 231



 1 was a cover .

 2 A.        No .     Can't from that picture , no .

 3 Q.        It look s like there had been a cover on here at

 4 one point ; correct ?

 5 A.        Judgi ng by -- there may have        been , but at the

 6 time or -- I belie ve -- my best recollection            is that 's

 7 the way we received        it right there .

 8 Q.        Okay .     If it had been lay ing on that shelf ,

 9 metal cover side down , it would have look ed just like a

10 book lay ing on the shelf ; right ?

11 A.        Could have .

12 Q.        Nothing     unique    about it to draw your attention

13 to it ?

14 A.        Th at 's correct .

15 Q.        Again , you were in there look ing for thing s like

16 this ?

17 A.        Yes .

18 Q.        Because     they may or not contain     evidence     of drug

19 trafficking ; correct ?

20 A.        Yes, sir .

21 Q.        Detective , I'm going to show you what's           been

22 mark ed as Drug Exhibit 12 , which is the Aqua Net can .

23           MR. MCKNETT :        May I approach , Your Honor ?

24           THE COURT:      You may .

25           BY MR. MCKNETT :




                                                                Page 90
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 91 of 231



 1 Q.       That 's not really     an Aqua Net can , is it ?

 2 A.       No, sir .     It's a false bottom      can .

 3 Q.       The purpose     of which is to hide thing s; correct ?

 4 A.       That 's correct .

 5 Q.       But if it 's -- if it has the bottom            in it , which

 6 I don't think      it does right now .

 7 A.       The bottom 's off of it .

 8 Q.       If it had the bottom          in it and it was sitting        on

 9 a shelf somewhere , like in somebody 's bathroom , there

10 would be nothing       about that that would draw your

11 attention   to it , is there ?

12 A.       I would still check it , but I mean , it look s

13 normal , but through      my experience , I have        a habit of

14 check ing all can s.

15 Q.       Sure .    That 's your job .

16 A.       Yes .

17 Q.       But for the average          person , there is nothing

18 unique   about that or un usual about it that would draw

19 their attention      to it , it would ser ve the purpose        for

20 which it 's made ; right ?      It would hide thing s?

21 A.       Conceal     thing s, yes .

22 Q.       When you search ed that , you found drug s in it ;

23 correct ?

24 A.       Yes, sir .

25 Q.       Where was that bag -- that Aqua Net can found ?




                                                                 Page 91
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 92 of 231



 1 A.       It was locate d in the dance hall , in the back

 2 left corner      in side of a brown box locat ed in that black

 3 bag sitting      on the floor there .      That black over night

 4 bag .

 5 Q.       This bag here ?

 6 A.       Yes, sir .

 7 Q.       It was in side of a bag in side of this bag ?

 8 A.       In side that bag , which was in side of a brown

 9 box , in the back left corner        of the   dance hall .

10 Q.       So this bag was in a box ?

11 A.       Yes .

12 Q.       Was the box close d when you got there ?

13 A.       I don't believe     so , no .    Detective   Black locate d

14 that .

15 Q.       In any event , this bag was in a box , and in this

16 bag was the Aqua Net can ?

17 A.       Yes .

18 Q.       So the Aqua Net can was not visible           until you

19 opened   the box and then opened         this bag ; correct ?

20 A.       Yes .

21 Q.       Finish ed with it ?

22 A.       Yes, sir .

23 Q.       So am I.

24 A.       Thank you .

25 Q.       Detective , you de scribe d a champagne        tin .   Was




                                                                Page 92
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 93 of 231



 1 that the --

 2 A.         It was a protective     housi ng for a champagne

 3 bottle .     It 's a metal can .

 4 Q.         And this is the can .     I belie ve it 's been mark ed

 5 as South Dakota -1 ; correct ?

 6 A.         I have to look at it , yes, sir .         Yeah , I'm

 7 sorry .    That can was locate d in the dance hall in the

 8 back , left corner      in side of a Hallmark     bag , which was

 9 in side of a Cook 's champagne       box on the top left of the

10 table .    On the top of the table .

11 Q.         So in side this -- well , this is not a safe

12 contain er ; is it ?

13 A.         No, that 's just a protective       can for a bottle        of

14 champagne .

15 Q.         And you could buy this in most liquor          store s?

16 A.         That 's a fair statement , yes .

17 Q.         And it would have a bottle        of champagne    in it ?

18 When you buy it , you would hope and maybe drink the

19 champagne     and then keep this as a keepsake ?

20 A.         That 's a fair statement     yes, sir .

21 Q.         In side of this , you found -- not you person ally

22 --

23 A.         No , I actually found that    .

24 Q.         This ?   Y ou found the drug s?

25 A.         Yes .




                                                                Page 93
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 94 of 231



 1 Q.       This can was in ?

 2 A.       The Hallmark    bag .

 3 Q.       This bag ?

 4 A.       Inside that bag with other items,               yes .

 5 Q.       With other item s and this bag is mark ed -- is

 6 this mark ed as an exhibit .

 7          MS. JOHNSTON:      Yes .

 8          BY MR. MCKNETT :

 9 Q.       I don't see a tag .         I'm sure it 's on here

10 somewhere .     Do you have a number ?

11 A.       I think it 's on the front of the              bag .

12 Q.       So South Dakota     11 was in side of South Dakota

13 15 , which was in side of what ?

14 A.       A Cook 's champagne        box .

15 Q.       Do we have    that box ?

16 A.       No , but I know there 's a picture             of it on one of

17 those boards .

18 A.       It would be with -- the picture               would show the

19 multi colored    green bag there , the green , red and white

20 bag also .    No, sir , it 's not on this board .

21 Q.       It 's not on this board , and I don't think                 it 's

22 on this board .

23 A.       No, sir , no t on this board .

24 Q.       Must be on a different             board .   This is it .

25 A.       That 's it , yes, sir .




                                                                    Page 94
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 95 of 231



 1 Q.        South Dakota     P -- excuse            me , strike   that .

 2           Government   Exhibit          P-202 .      So in side this can --

 3 A.        In side that can .

 4 Q.        -- contain er were drug s.               The tin contain er was

 5 close d when you found it ; correct ?

 6 A.        Yes , I believe       so .

 7 Q.        Had the lid on it , and that was in this ?

 8 A.        Alo ng with other item s, there were other item s

 9 in that bag also .

10 Q.        And other item s and then this bag was in this

11 box .

12 A.        Yes .   The picture          show s it .

13           MR. MCKNETT :     Your Honor , I have a few more

14 minute s to go .    I didn't know           if you want ed to take a

15 break .

16           THE COURT:      If you have a few more minute s to

17 go , we will see you in 20 minute s.

18           MR. MCKNETT :     Might be five or ten .

19           THE COURT:      No.     Let 's take a re cess until 20

20 minute s of 12:00.

21                   (Jury excused at 11:30 a.m.)

22                   (Off the record           at 11 :30 a.m. )

23                   (On the record           at 11 :52 a.m. )

24                   (The witness resumes the               stand .)

25                   (The jury return s at 11 :53 a.m. )




                                                                        Page 95
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 96 of 231



1          THE COURT:       Ladies and gentlemen    , while you're

2 get ting your seat s, I want ed to tell you that today we

3 will go until about 4:15 because          I have a sentenci ng at

4 4:30 , so we will get you out of here for sure before

5 4:30 today .      You may proceed .

6          BY MR. MCKNETT :

7 Q.       Det ective , in Government's      P-19 9, what are we

8 look ing at here ?

9 A.       That 's the Honey well box .

10 Q.      The Honeywell ?

11 A.      Honeywell      heat er box .

12 Q.      It appear s that somebody       is taking     something   out

13 of that box ; is that correct ?

14 A.      It 's my hand , I believe .

15 Q.      Okay .      And what are you re moving    from the

16 Honeywell   box ?

17 A.      What am I taking       out of there ?

18 Q.      Yes .

19 A.      That 's a black bag .

20 Q.      We see a black bag ; right ?

21 A.      I believe      it 's -- I think it 's the     black , yes .

22 Q.      And then on P-200 , we have your hands again ?

23 A.      Yes , I believe     so .

24 Q.      Same box .      Here 's the bag ; correct ?

25 A.      Yes .




                                                                Page 96
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 97 of 231



 1 Q.        And out of the bag is comi ng this package ;

 2 correct ?

 3 A.        Yes .

 4 Q.        And then on P- 19 8, if I have it in proper                   order ,

 5 this is the content s of the black bag ?

 6 A.        No .

 7 Q.        No ?      Have I got them --

 8 A.        Stay back .         Go back to that picture         there .     I

 9 didn't    mean to yell at you .

10 Q.        That 's okay .

11 A.        If you raise the picture         up a little         high er , see

12 down at the bottom            where it says Pelon is?

13 Q.        Yes .

14 A.        Okay .      That 's a Pelonis , that 's in the China

15 cabinet .     The box es look very similar .

16 Q.        Okay .      I've confused    the box es .    Let me go back ,

17 then , to P-200 .        This is the Honeywell        box .     How did

18 you de scribe       this ?     The white thing in the middle            here ?

19 A.        That 's cocaine .

20 Q.        Okay .      So it was -- that appear s to be in a

21 plastic     bag ?

22 A.        Yes .      It look s like it 's in a Ziploc          bag .

23 Q.        Ziploc      bag ?

24 A.        In side of a black , plastic        bag in side of the

25 box .




                                                                      Page 97
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 98 of 231



 1 Q.          The black plastic       bag is opaque .   You can't see

 2 through    it ?

 3 A.        No .

 4 Q.        It 's in a box .       The box was close d, was it or

 5 not ?

 6 A.        I believe     so .    I mean , I'll tell you who found

 7 that .    That 's the Pelonis       box ; right ?

 8 Q.        I think we're look ing at the --

 9 A.        Honeywell ?

10 Q.        -- the Honeywell .

11 A.        Okay .   Just bear with me one second , please .

12 Detective    Black locate d that .

13 Q.        Okay .

14 A.        So , he locate d it and I went and re covered         it ,

15 took picture s.

16 Q.        You don't know if the box was opened          or close d

17 when he re covered      it ?

18 A.        I believe     when I went to it , it was in its --

19 back in its original           state and it was -- the top was

20 down .

21 Q.        The top was down ?

22 A.        Yes .

23 Q.        Okay .

24 A.        Yes .

25 Q.        I'll come back , then , to the Pelonis        box , which




                                                                Page 98
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 99 of 231



 1 is P-19 8.     This is the Pelonis      box here ; right ?

 2 A.         Yes .

 3 Q.         This is the top of it open ?

 4 A.         Yes .

 5 Q.         This is the content s of it ?

 6 A.         Yes .

 7 Q.         Is that your hand ?

 8 A.         I'm not sure .     The watch does n't look familiar .

 9 That could have been Detective          North's   hand .

10 Q.         Okay .     The content s of this plastic    bag here --

11 strike     that .

12            This plastic     bag was in side the Pelonis      box;

13 correct ?

14 A.         Yes, sir .

15 Q.         And do you recall     if the Pelonis    box was open or

16 close d?

17 A.         The same -- Detective      North locate d it , and when

18 I got there , I believe        it was close d by the time I had

19 went to that -- to photograph          it and collect      it .

20 Q.         Okay .     P-203 , this will show us , I believe , the

21 champagne     box .

22 A.         In side the Cook 's champagne , right .

23 Q.         Do you know where that box is ?

24 A.         The box ?

25 Q.         Yes .




                                                                     Page 99
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 100 of 231



 1 A.      I didn't     take it .       I just took the two bag s.

 2 Q.      You just brought         the content s?

 3 A.      The content s, right , the two bag s that were

 4 in side -- I didn't        bring the box .

 5 Q.      We're look ing at one of the bag s here ; correct ?

 6 A.      Yes , that 's the      green , red and white bag .

 7 Q.      We've seen that before ?

 8 A.      It contain ed a bunch of small er Ziploc              baggi es .

 9 Q.      Right .     But this bag , this multi colored           bag was

10 in side this box ; correct ?

11 A.      Right .     That bag -- the red -- the green , red

12 bag along with a Hallmark            bag were both in side of that

13 Cook 's champagne     box .

14 Q.      We saw the Hallmark           bag just a few minut es ago

15 just before    the recess ; correct ?

16 A.      Yes, sir .

17 Q.      In side this bag , you found what you testifi ed

18 was drug s?

19 A.      No .     Several    Ziploc    baggi es .

20 Q.      Without     drug s?

21 A.      Without     drug s.    The hallmark         bag is the one that

22 contain ed the drug s.

23 Q.      Okay .     So in this bag , you had baggi es that were

24 empty ; and in the Hall mark bag , we had drug s.

25 A.      Drug s, scale s, false bottom              can s, black plastic




                                                                   Page 100
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 101 of 231



 1 bag with more drug s.

 2 Q.      What 's this bag down here ?

 3 A.      Which bag ?     That 's in side of the green , red and

 4 -- it contain s Ziploc     baggi es .

 5 Q.      So the baggi es were in this bag ?

 6 A.      They were scattered       throughout .        Some in there

 7 and then some just sitting        loose ly in that bag .

 8 Q.      This bag was in side this bag , which was in side

 9 this box ?

10 A.      Yes .

11 Q.      And this box was close d?

12 A.      No .     It was open with the bag s stick ing out of

13 the top of it .

14 Q.      When you saw it ?

15 A.      Yeah .     I have re covered     that ba g.     I locate d it

16 and re covered    that bag .

17 Q.      P-204 , there are several         contain er s here ;

18 correct ?

19 A.      Yes .

20 Q.      There 's the Right Guard can we've seen , this is

21 a spray starch ?

22 A.      Yes .

23 Q.      Did we see that ?

24 A.      I can see it .      I can tell by the V at the bottom

25 of your pen there , that 's the         spray starch    can .    That




                                                                   Page 101
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 102 of 231



1 was empty .

2 Q.        I'm sorry , did I interrupt             you ?

3 A.        No , no .

4 Q.        This is the Noxema          can ; correct ?

5 A.        Yes .

6 Q.        This is the Soft &          Dry can ?

7 A.        Yes .

8 Q.        Now , as we look at them on the picture , they're

9 all opened        up ?

10 A.       Yes .

11 Q.       But that was done for your purpose s?

12 A.       That was done by me .

13 Q.       When they were discovered , they were close d?

14 A.       They were close d and I opened             them when I took

15 the photo to show the content s.

16 Q.       And these are the          content s here , here , perhaps

17 over here .

18 A.       That 's a scale , and if you look down in the top

19 of the Soft &           Dry , you will see the content s of the

20 Soft &   Dry .

21 Q.       In side ?

22 A.       Yes .

23 Q.       These are the lids .          There 's the lids for the

24 Soft &   Dry .     This is a lid for one of them .         This is a

25 lid for one of them ; correct ?




                                                                 Page 102
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 103 of 231



 1 A.        Yes, sir .

 2 Q.        When they were dis cover ed, the content s were in

 3 the contain er s and the contain er s were close d?

 4 A.        Yes .

 5 Q.        And to all intents        and purpose s, these look ed

 6 like the legitimate       item s that you would buy in a

 7 grocery   store or beauty      supply    shop or something     like

 8 that ?

 9 A.        Yes, sir .     That 's what they look ed like .

10 Q.        That 's what they're       suppose d to look like ,

11 right ?   They're   hid ing thing s?      They're   safe s?

12 A.        For all intent s and purpose s, yes .

13 Q.        Where were these found ?

14 A.        Those were in side the Hallmark        bag , which was

15 in side of that Cook 's champagne         bag , along with the

16 green , red and white bag .

17 Q.        So once again , the drug s were in the contain er s,

18 and the contain er s were close d and seal ed and the

19 contain er s were in a Hallmark         bag and the Hallmark     bag

20 was in the champagne        box ?

21 A.        Yes, sir .     On the top of the table .

22 Q.        Right here .

23 A.        Right .   That box was on top of the table and in

24 the back left corner .

25 Q.        You can see the ship .        On the side there ?




                                                                 Page 103
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 104 of 231



 1 A.        Yes, sir .

 2 Q.        And P-205 , this , I think -- correct       me if I'm

 3 wrong -- is the black bag we saw a few minute s ago ?

 4 A.        Yes .   That is the black bag that I labeled         it as

 5 over night bag inside of a      brown box in the dance hall

 6 in the back left corner .

 7 Q.        This was the box it was in when you discovered

 8 it ; correct ?

 9 A.        Yes .

10 Q.        The bag appear s to be close d?

11 A.        The bag was close d.

12 Q.        Was the box close d?

13 A.        I'm not sure .    That was locate d by Detective

14 Black , but it could have been and I would have

15 position ed it like that so that my picture           would

16 reflect     that it had the black bag in side of the brown

17 box .

18 Q.        So it may have    been in the condition       the picture

19 reflect s, but it may have      been close d?

20 A.        Yeah, I mean , that -- obvious ly I want ed to make

21 sure that the picture      reflect ed the black bag in side

22 the brown box .

23 Q.        In side the black bag was ?

24 A.        That was the Aqua Net false bottom         can with 23

25 Ziploc s.




                                                               Page 104
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 105 of 231



1 Q.       That 's the picture       I'm show ing you , which now

2 has been re -mark ed as P-205 A; correct ?

3 A.       Yes, sir .

4 Q.       So once again , we have the drug s that were

5 in side the can that had the lid close d, and the can was

6 in this bag which is in side this box .

7 A.       Yes .

8 Q.       Look ing at P-208 .       This is the champagne       bottle

9 contain er ?

10 A.      Yes .

11 Q.      We talk ed about that       earlier ; right ?

12 A.      Yes, sir .

13 Q.      Where was that champagne        bottle    contain er ?

14 A.      That was in side of the Hallmark          bag in side of

15 the Cook 's champagne     box .

16 Q.      So once again , we have these content s in side

17 this contain er seal ed with this lid in side the Hallmark

18 bag , which was in side this box ?

19 A.      Yes, sir .

20 Q.      Detective , it appear s that all the drug s that

21 were re covered    were hidden    before   you dis covered     them ;

22 correct ?

23 A.      Yes .

24 Q.      And they were hidden        in multiple    layer s.      They

25 were hidden     in item s that could be de scribe d as safe s




                                                                 Page 105
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 106 of 231



 1 except   for the Express mailbox         and the book safe ,

 2 everything     else appear s to have been in safe contain er s

 3 in side of bag s in side of other bag s in side of box es ; is

 4 that a fair description ?

 5 A.           All except   -- well , yeah , except    for the box

 6 that was in the heat er box , the Pelonis           box .

 7 Q.       Except    for the heat er box ?

 8 A.       In side the China cabinet .

 9 Q.       That was -- let me see if I can find that

10 quick ly .    That was not the Honeywell       heat er ?

11 A.       No , it 's the    one that 's in the China closet        next

12 to the SOS?

13 Q.       That 's the Pelonis     box ?

14 A.       Yes, sir .

15 Q.       That was under this shelf here ?

16 A.       That 's a shelf that was a China cabinet             and you

17 know the China cabinet        has , like , the bottom       part and

18 the part where the glass door s cover .

19 Q.       Right .

20 A.       It was on the bottom       shelf there .

21 Q.       So this item here was in side this box which was

22 in side this cabinet ?

23 A.       The glass door s were close d.

24 Q.       And the door s were close d and it was right be low

25 this shelf here ?




                                                                 Page 106
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 107 of 231



 1 A.       Yes, sir .

 2 Q.       Thank you , Detective .

 3 A.       Sure .

 4          THE COURT:          Al l right .   My any re direct ?

 5          MS. JOHNSTON:          Just a few question s.

 6                         REDIRECT      EXAMINATION

 7          BY MS. JOHNSTON:

 8 Q.       Detective , call ing your attention             to drug s --

 9 what was mark ed as Drug s 13 , which was the heroin               and

10 the little      baggi es .

11          Do you recall         that exhibit     from the black bag ?

12 A.       Yes, ma'am .         That was in the back left corner

13 that was in side the black ba g which was in side the

14 brown box .

15 Q.       How much heroin         was that ?

16 A.       There were 45 individual             heroin   baggi es and

17 total weight      was 25 .3 .

18 Q.       That was n't in the safe ; was it ?

19 A.       No .     That was in side that black bag in the Bank

20 of America      money envelope .

21 Q.       As it 's attach ed here ?

22 A.       Yes, ma'am .

23 Q.       And all of those safe s; the Soft &              Dry can , the

24 Right Guard can , and the one s that didn't               have drug s in

25 it , the Noxema , they all were -- all they required                  was




                                                                    Page 107
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 108 of 231



1 a screw on it ; is that right ?

2 A.         Yes, ma'am .     Just twist .

3 Q.         So they were not lock ed where you had to pry

4 open , like the book ?

5 A.         That 's correct .

6 Q.         In regards     to the -- these two bag s, they were

7 found with handle s on it , like this referring              to South

8 Dakota     1 and South Dakota     15 ; is that correct ?

9 A.         Yes, ma'am .

10 Q.        And in fact , when you re covered       them , you said

11 you personally     observe d these two bag s; is that

12 correct ?

13 A.        Yes, ma'am .

14 Q.        And the two bag s, when you re covered          them ,

15 weren't     seal ed in a box ; were they ?

16 A.        They weren't     seal ed in the box .    The box -- the

17 top part of the box had been , you know , sitting             up like

18 that , and the bag s were just as you see in that

19 picture .

20 Q.        Let me show the picture         to the jury .    You 're

21 referring     to P-202 ; is that correct ?

22 A.        Yes, ma'am , the one on the top .

23 Q.        Does that picture , P-202 , first of all , was that

24 box on the floor or where was it ?

25 A.        That box was on top of the table in the back




                                                                Page 108
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 109 of 231



 1 left corner .

 2 Q.      Okay .    That picture , P-202 , accurate ly depict s

 3 the way it was situated       when you observe d it ?

 4 A.      Yes, ma'am .

 5 Q.      With the two bag s stick ing out of the top ?

 6 A.      Yes, ma'am .

 7 Q.      And the Hallmark      bag , that was n't close d or

 8 seal ed in any way ; was it ?

 9 A.      No, ma'am .

10 Q.      Do you remember      if the other plaid bag was

11 zip ped close d or open ?

12 A.      I don't recall .      It may have    been zip ped .

13 Q.      And this other black bag , this black bag when

14 you re covered    it , South Dakota    3, it had handle s on it

15 like this , too ; didn't     it ?

16 A.      Yes, ma'am .

17 Q.      Now , Mr. Montemarano       asked you if those can s

18 were legal .     Are they legal to possess ?

19 A.      I believe     so , yes .

20 Q.      Based on your -- is it legal to possess             them

21 with cocaine     in them ?

22 A.      No, ma'am .

23 Q.      Like wise , with the scale s, you can't have scale s

24 with cocaine     or heroin   residue   on them ; can you ?

25 A.      No, ma'am .




                                                               Page 109
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 110 of 231



 1 Q.        Similar ly with the little      baggi es ; is that

 2 correct   as well ?

 3 A.        That 's correct     as well .

 4 Q.        Fingerprint s.      Some of these item s were sent for

 5 fingerprint s; is that correct ?

 6 A.        Judgi ng by the black powder      on them , yes, ma'am .

 7 Q.         That would have been a decision         you didn't

 8 make , but Detective      Eveler   or Agent Snyder ?

 9 A.        One of the case agent s made it , yes, ma'am .

10 Q.        One of the     case agent s made that decision .       Is

11 it your experience       that you frequent ly get fingerprint s

12 off of these kind of contain er s and bagg ies that have

13 drug s in them ?

14 A.        I would say more rare than it is common .

15 Q.        Now , in term s of the dance studio , you indicated

16 you didn't    believe    it was a function ing dance studio ;

17 is that correct ?

18 A.        That 's correct .

19 Q.        And you indicated      you had three daughter s who

20 went to dance school ?

21 A.        Yes, ma'am .

22 Q.        Could you de scribe      for us some of the reason s

23 why or thing s that were miss ing that cause d you to           say

24 it was n't function ing ?

25 A.        The first thing that I believe        is the storage




                                                               Page 110
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 111 of 231



 1 over the equipment       that was store d in the back would

 2 pose a hazard     for a dance studio      if a person     were to be

 3 danci ng and trip ped and fall and they would hit

 4 themselves     on the amount    of storage , the A contraction

 5 unit , the lawn mower , and that group of stuff .

 6            The instruments     or the music , they were just

 7 taking     such a long time , that would have taken such a

 8 long time to clear off , and they didn't           appear    as if

 9 they had been use d in quite some time , and the amount

10 of , for lack of a letter       better   term , clutter     that , and

11 that was section ed off and the opening           as Counsel

12 de scribe d it , the dance hall would not have enough            room

13 for anyone     to dance .

14 Q.         And in your experience , do they store cracker

15 box es in dance studio s?

16            MR. MONTEMARANO :     Objection , Your Honor .

17            MS. JOHNSTON:     I'll withdrew    that question .

18            BY MS . JOHNSTON:

19 Q.         Mr. Sussman   asked you some question s about drug

20 quantiti es and where you search ed .         In this case , did

21 you tear open the wall s or the ceil ings of the dance

22 studio ?

23 A.         No wall s were torn , to my knowledge .        We may

24 have -- there was -- above the office , there were some

25 box es .    One of the photo s show we did get up there and




                                                                Page 111
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 112 of 231



 1 look in those box es , but we didn't          tear anything    up ,

 2 no, ma'am .

 3 Q.         Was there a bathroom     in the studio ?

 4 A.         Yes, ma'am .

 5 Q.         Were any of these can s, the Soft &        Dry or the

 6 Noxema , found in the bathroom ?

 7 A.         No, ma'am .

 8 Q.         They were all found in the areas you de scribe d

 9 for us ?

10 A.         Yes, ma'am .

11 Q.         In term s of drug quantiti es , Mr. Sussman        had

12 asked you some question s about whether            you were more

13 concerned     about weight , if you're       a deal er involve d

14 with kilogram s, than if you're         a deal er involve d with

15 small er quantiti es .      Do you recall     those question s?

16 A.         Yes, ma'am .

17            MR. SUSSMAN :     I don't think    that 's the question

18 I asked , Your Honor .

19            THE COURT:      Well , let her finish    the question .

20            BY MS. JOHNSTON:

21 Q.         In term s of small er quantiti es , are scale s still

22 use d by people     to measure    their -- the drug s they're

23 sell ing or purchasi ng ?

24 A.         Yes .   Most of the time , yes, ma'am .

25 Q.         Is that important     to have a scale in -- if




                                                                 Page 112
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 113 of 231



1 you're     sell ing or -- if you're       sell ing drugs or

2 purchasi ng them for re sell ?

3 A.         Yes, ma'am .

4            MR. MONTEMARANO :        Objection , Your Honor , basis

5 of knowledge .

6            THE COURT:      Sustained .    You can lay foundation

7 for it .

8            BY MS. JOHNSTON:

9 Q.         The eight ball .        Is that based on your

10 experience ?       Is that a quantity     that one would use a

11 scale with ?

12 A.        Yes .    That 's an eighth    of an ounce .

13 Q.        Is it important     to know general ly how much drug s

14 you're    sell ing if you're      involve d in that business ?

15 A.        Yes .    You -- yes , you would want to know the

16 weight    versus    the amount    so that you don't lose money .

17 Q.        The weight     versus    the amount   of money ?

18 A.        Money that you're        chargi ng so that you don't

19 lose money .

20 Q.        Now , I think he also asked you about the little

21 maybe -- one of them asked you about the little              tenth

22 of a gram ?

23 A.        Yes .

24 Q.        That would not be a quantity          that you would

25 ordinarily     weigh ; is that correct ?




                                                                Page 113
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 114 of 231



 1 A.        No .     If you're    a user , you know what a tenth          of

 2 a gram look s like .       I mean , it 's about the size of a

 3 pencil    eraser.     That 's pretty       close .   You eyeball     that .

 4 I mean , but most of the time , that 's -- that is at its

 5 lowest    form .    It 's not broken       down anymore .    It 's a $20

 6 piece , one -tenth of a gram , it sell s for $20 , so that 's

 7 at its smallest       form that it come s.

 8 Q.        And you said a user would eyeball             it , they

 9 would n't need the scale s; is that correct ?

10 A.        A user that has -- I mean an addict               would --

11 know s.

12           MR. MARTIN:      Your Honor , objection .          701 .

13           THE COURT:      Over ruled .

14           THE WITNESS:         An addict    who , in my train ing and

15 experience , and the one s that I have work ed with and

16 have use d them , use drug s know what they're              buy ing .   I

17 mean , they can look at it , and even a detective 's been

18 on the job and has purchase d it for a while can eyeball

19 and pretty       much tell you close .        Not exact ly , but close

20 to the size of a 20 .

21           BY MS. JOHNSTON:

22 Q.        Drug s can't -- is it different            if someone 's

23 buy ing the drug s to sell them ?

24 A.        Is it different ?

25 Q.        In term s of whether       they eyeball      it or use a




                                                                    Page 114
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 115 of 231



 1 scale .

 2 A.         The majority    of them use a scale because           you

 3 don't want to get rip ped off .          You're   not an addict ,

 4 the difference       between   an addict    and a person       who sell s

 5 drug s is an addict       is an addict     and has to use the

 6 drug s.    The person     who is sell ing it , most of the time ,

 7 is not using the product         that they're     sell ing .     They're

 8 in it for the profit .         So , they want to make sure that

 9 they're    not get ting rip ped off and that they're             sell ing

10 the right --

11 Q.         I believe    the response    to one of the     question s

12 you said if it was somebody         who dealt with -- if it was

13 somebody     they dealt with all the time , they would n't be

14 so concerned     about weigh ing it .

15 A.         Right .   I mean , as time as you get to know

16 people    and you get to -- in the drug field , a certain

17 amount    of trust develop s there that , okay , I've

18 purchase d from you a coup le of time s, fi ve or ten

19 time s, and I'm get ting the good thing s each time , so we

20 develop    a trust , and then it come s to the point where I

21 may not use a scale or , you know , depend ing on if I

22 think it look s bad or something           is wrong , then I would

23 use a scale to try and prove my point .

24            MS. JOHNSTON:       I have no further    question s.

25            THE COURT:     All right .    Any re cross ?




                                                                   Page 115
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 116 of 231



1                          RECROSS-EXAMINATION

2             BY MR. MONTEMARANO :

3 Q.          You just state d in response     to Ms. Johnston 's

4 question , Detective        Shea , that an addict     would be

5 buy ing drug s to use whereas       a sell er would be in it for

6 the "profit ;" isn't that correct ?

7 A.          Most of the time , yes .     The person     that 's

8 sell ing it is in it for the profit .

9 Q.          Pose you a hypothetical      based on your train ing

10 and experience ?

11 A.         Sure .

12 Q.         Buy ten unit s of a drug , let 's say powder

13 cocaine .     Take eight of them , you empty them out and

14 you add some cut .       You then fill up those ten bag s with

15 the content s of the eight after you use the other two .

16 Do you understand ?

17 A.         Okay .   Let me understand    you right .

18 Q.         You buy ten .

19 A.         Buy ten .

20 Q.         You snort two .

21 A.         Snort two , so now you're     at eight .

22 Q.         You've   got eight left .    You pour eight onto a

23 piece of glass .       You can add some cut, you can buy

24 Mannitol     anywhere ; right ?   Mannitol 's legal ; right ?

25 A.         Yes .




                                                                Page 116
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 117 of 231



 1 Q.         Mannitol    is a cut for cocaine ; correct ?

 2 A.         Yes .

 3 Q.         You add some Mannitol , you cut it up , you re fi ll

 4 the ten bag s?

 5 A.         You re fill the ten bag s.

 6 Q.         And you go off and re sell the ten bag s.

 7 A.         Most like ly, if you were do ing that , you would

 8 have a scale unless         you were eyeball ing it .      Could it

 9 be done ?     Yes .

10 Q.         In fact , they call that juggli ng ; right ?

11 A.         If you're    -- continui ng .    If you're    an addict ,

12 you're   going to use more than two bag s.

13 Q.         Maybe .

14 A.         Most like ly .

15 Q.         Maybe you don't have any money , and that 's a way

16 of feed ing your addiction .

17 A.         Okay .

18 Q.         Basically    for free .   You buy your ten bag s for

19 whatever     ten bag s are cost ing .      You sell ten bag s for

20 whatever     the same amount     of money and the two that you

21 use , and you can burn people        because    people    are now

22 get ting a short ed amount ; correct ?         That 's not un known

23 in the drug trade ?

24 A.         No , that 's not un known , but it depends        if you

25 don't do that to somebody , that if you're              a user /sell er




                                                                 Page 117
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 118 of 231



 1 to support       your habit , as he 's say ing , you don't do

 2 that to your regular        customers    because    they real ize ,

 3 you know , that what's       happening    because    you're   sell ing

 4 to an addict .       An addict   is go ing to know that you --

 5 you're    cut ting your product .

 6 Q.        But certain ly , and especially        in the inner city

 7 context , regular      customers , regular    buyers    are as a --

 8 are not necessarily       the only way thing s go ; correct ?

 9 A.        No .    I mean , there 's people    that come up every

10 day to a sell er that don't know that seller , so that

11 seller    could possibly     sell one of your dilute d bag s.

12 Q.        You have a regular       sell er sell s goods of vary ing

13 quality    from time to time depend ing on the quality            of

14 his suppli er ; correct ?

15 A.        That and depend ing on your seller .

16 Q.        Big city drug organization s routine ly pay people

17 who are sling er s or pitch er s on the street          corner   in

18 drug s because      those people   are addict s; correct ?

19 They're    not in it for the profit ; are they ?

20           MS. JOHNSTON:      Objection     to the inner city

21 reference .

22           THE COURT:      Sustained .

23           MR. MONTEMARANO :      If you know .

24           MS. JOHNSTON:      Objection .

25           MR. MONTEMARANO :      May we approach , Your Honor ?




                                                                 Page 118
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 119 of 231



 1          THE COURT:      Sustained .

 2          MR. MONTEMARANO :        May we approach ?

 3          THE COURT:      Yeah .

 4                    (At the bar of the Court.)

 5          MR. MONTEMARANO :        Ye s, sir .   I don't understand         .

 6          MS. JOHNSTON:       This is not an inner city case .

 7 We're not here try ing a case that happened            on the

 8 street s of Baltimore      city .

 9          THE COURT:      Objection     to using the inner city

10 term .

11          MR. MONTEMARANO :        Wash ing ton , D. C. , 20011 .

12 It's a Washington      address .     We're not in the suburb s.

13 He may be from the sub urbs, but certain ly he has an

14 understand ing or knowledge         of how thing s are done .          I

15 don't understand      that the Court believe        that 's

16 de mean ing or something ?

17          MS. JOHNSTON:       He 's a Prince     George's   County

18 detective .    I don't know       how much information        he has

19 about the inner city .        Also , I didn't     ask him about --

20          THE COURT:      I think you can ask the same kind of

21 a question , and the question         was inner city or out er

22 city or sub urb an or whatever .

23          MR. MONTEMARANO :        Fair enough .    Thank you .

24                       (Back in open court.)

25          BY MR. MONTEMARANO :




                                                                  Page 119
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 120 of 231



 1 Q.          In your experience, it's not unusual that people

 2 who sell drugs are paid by their distributor               in drug s;

 3 is that correct?

 4 A.          Very little amount to sell       .   It goes back to the

 5 trust.       It's an addict.        This person's out there for a

 6 reason,      and they're     sell ing to support   their habit .         So

 7 you know, it 's basically           your addict who is pretty       bad

 8 and who is out there -- it more or less              insulate s the

 9 deal er .     That way , if the addict      sell s to an under cover

10 officer , there 's a possibility          that the dealer       won't be

11 identifi ed because         of the addict   -- the police       arrest

12 the addict .         So , yes , it 's done for a couple    of

13 reason s.

14 Q.          Are you done ?

15 A.          Yeah .     Sorry .

16 Q.          No .     Not at all .   Going back to my question .

17 That 's a person         -- that addict   you were just talk ing

18 about is      a person     who sell s and who is not in it for

19 profit ; correct ?

20 A.          I'm going to dis agree with you because         they are

21 in it for the profit , if they don't sell and they don't

22 get any money or they don't get paid .             So it is a

23 profit , but it 's an addict          who is do ing it .

24 Q.          You state d in response       to one of Ms. Johnston 's

25 question s that , in your experience , it 's more rare than




                                                                   Page 120
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 121 of 231



 1 not that you get finger prints          off the item s that you

 2 seize .

 3 A.        Yes .

 4 Q.        Even like a can .     But unless     I'm very wrong , how

 5 many agent s were involve d in the search , if you would

 6 refresh   my rec ollection ?

 7 A.        In the search     of my location ?

 8 Q.        Yes .

 9 A.        It was me --

10 Q.        Just a ball park .    Six ?    Seven ?   Something    like

11 that ?

12 A.        Probably     about five .

13 Q.        Five .   And using these photograph s we 've already

14 look ed at -- these big shot s up here at the top of the

15 book s on the shelve s, for example ?

16 A.        Yes, sir .

17 Q.        And these , for the record , are P-18 7 and 18 8.

18 And you found this box here with drug s; correct ?

19 A.        Yes .

20 Q.        Were the book safe s on the shelf ?

21 A.        Just one .

22 Q.        One ?

23 A.        It was in that picture , it 's on the top shelf .

24 Q.        Okay .   On the top shelf .      About how many book s

25 would you say were on these shelve s?




                                                                  Page 121
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 122 of 231



 1 A.         I didn't      count them , sir .

 2 Q.         Dozen s?      Score s?   Maybe a hundred ?

 3 A.         I'm not sure .       I mean , there 's quite a few .

 4 I'll agree with you there .

 5 Q.         Will you give me lot s?

 6 A.         Lot s.     That 's fine .     I'll give you lot s.

 7 Q.         You found the       drug s in two item s on those

 8 shelve s, but that didn't           pre vent you from search ing

 9 every single        item on those shelve s; correct ?

10 A.         All those book s were check ed , yes .

11 Q.         So we don't bore the jury , with regard          to every

12 location     in side 5559 , every area within        that premises ,

13 you search ed everything ; correct ?

14 A.         Tri ed , yes .

15 Q.         Or tri ed .      You didn't    find drug s in everything ;

16 correct ?

17 A.         Not in everything , no, sir .

18 Q.         You didn't       find drug s in half of the thing s you

19 search ed , did you ?

20 A.         No .

21 Q.         Didn't     find probably      drug s in ten percent   of the

22 thing s you search ed ?

23 A.         I mean , percentage s, I would say .

24 Q.         The fact is , you don't know .

25 A.         No.      I don't have    it broken   down into




                                                                   Page 122
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 123 of 231



 1 percentage s.          I know what we did find .

 2 Q.        You search ed everything         to be sure ; right ?

 3 A.        Yes .

 4 Q.        Because       that 's the   way you do the job

 5 effectively       --

 6 A.        Yes .

 7 Q.        -- correct ?

 8 A.        Yes, sir .

 9 Q.        And after having        search ed every one of these

10 item s, you're         sure where the drug s were ; correct ?

11 A.        Yes .

12 Q.        And you're       sure where the drug s weren't ;

13 correct ?

14 A.        95 percent       sure , yes, sir .

15 Q.        And in assum ing that,         you had , for example , or

16 if it had been done , that Aqua Net can had been

17 finger printed,         you'd be sure about it having

18 fingerprint s or not ; right ?

19 A.        Twenty-two       year s, I'm not a finger print ex pert ,

20 sir .    I would assume       that -- I would do my best to find

21 it .    If I fingerprint ed it , I would do my very best .

22 Q.        I mean , if you got it fing er printed,          the ex pert s

23 in fingerprint ing , if you submit           it --

24 A.        Yes .

25 Q.        -- it's going to get          print ed , and assum ing that




                                                                 Page 123
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 124 of 231



 1 it 's print ed correct ly , you'll      find whatever     prints are

 2 on it ; correct ?     They will find whatever         print s are on

 3 it ?

 4 A.       There could have been smudge s, there could have

 5 been fingerprints      on there that aren't        recognizable .        I

 6 don't know , sir .

 7 Q.       You don't know because         it was n't printed ;

 8 correct ?

 9 A.       I didn't    print anything .        The case agent s were

10 the one s who made that de termination .

11 Q.       Absolute ly .

12          MR. MONTEMARANO :      No further      question s.

13          THE COURT:       Any further    re cross ?

14          MR. MARTIN:       No , Your Honor .

15          MR. HALL:       No , Your Honor .

16          MR. SUSSMAN :      I've got one .

17                          RECROSS-EXAMINATION

18          BY MR. SUSSMAN :

19 Q.       Detective , I want to clarify          something .     We were

20 talk ing about search       procedure s, and I talk ed about the

21 reference    you made to find thing s in term s of

22 thoroughness .      You don't gratuitous ly bust anything           up

23 before   you do a search ; is that correct ?

24 A.       We try not to bust anything           up , no, sir .

25 Q.       To the ex tent that you believe          or have some




                                                                   Page 124
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 125 of 231



 1 suspicion     that the drug s are hidden         in the wall s or

 2 floorboards     or ceil ing , you have to do what's           necessary

 3 to find the evidence         you're   look ing for ?

 4 A.         Hypothetically , if there 's a hole in a wall , I

 5 do my best to look in that hole , and you know , stick my

 6 hand in there without         destroying   anything .       But if you

 7 have to pull it back a little           bit or take out a little

 8 sec tion, then I would do that yes, sir .

 9 Q.         You're   not try ing to    destroy    anything    or damage

10 anything     un necessarily , but you are try ing to find what

11 you're    look ing for ?

12 A.         Yes, sir .

13 Q.         Okay .   Now , and that 's jus t the thoroughness        of

14 the search     procedure ; correct ?

15 A.         Well , the -- my particular       procedure      can -- the

16 way I do it is I clear a section           in a room , and what I

17 mean by clear is I take everything              out of there and

18 then that 's my clean zone .          That 's where after I search

19 something , whether        it be clothe s, whatever      the article

20 is , after I'm sure that -- or I'm satisfi ed there is

21 nothing    there , I take it out,       that little     section   that

22 I've clear ed out , so when I'm done with the room

23 initial ly , everything       would look like it would be in a

24 pile .

25 Q.         I think you're     mis understand ing my intention s




                                                                  Page 125
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 126 of 231



1 here .     I'm just try ing to say that when you walk out of

2 the premises , you're        hope ful that you have found what

3 there was -- what was to be found ; is that correct ?

4 A.         Yes, sir .

5 Q.         Now , with regard    to the drug thing , I think Ms.

6 Johnston     asked a couple     of question s, and is it the sum

7 of your testimony         that you -- if you're    a drug user ,

8 you basically      rely on eye balling     the drug s; is that

9 right ?

10 A.          Sometimes .    I mean , a person   -- that was

11 referring    to the smallest     -- one -tenth of a gram .

12 Q.        Is that yes ?

13 A.        Sometimes .

14 Q.        Sometimes .     If you're    a drug seller , more often

15 than not , you have a scale ?

16 A.        More often , unless    you've    developed   a trust --

17 let 's say you and I were in the trade and we had been

18 deal ing with each other for X number          of year s and I

19 trusted    you and you gave me no reason        not to trust you ,

20 there may be time s when I didn't         -- I would n't bring a

21 scale because     I trusted    you .   We have a trust .

22 Q.          But before    we develop    that trust , I certain ly

23 had a scale , right ?

24 A.        I would think you would , yes, sir .

25 Q.        Thank you , sir .




                                                               Page 126
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 127 of 231



 1            MR. MCKNETT :     If I may , Your Honor .

 2            THE COURT:      You may .

 3                         RECROSS-EXAMINATION

 4            BY MR. MCKNETT :

 5 Q.         Detective , Ms. Johnston       asked you about the

 6 Hallmark     bag and the green , blue --

 7 A.         Red , green, and    white .

 8 Q.         Multi colored    bag .

 9 A.         Yes, sir .

10 Q.         You don't know how those bag s got into the

11 studio ; do you ?

12 A.         No, sir .

13 Q.         Now , if someone    happened     to walk past the box es,

14 the champagne     box that contain ed those bag s and look

15 down into it , the person           would n't see drug s, would she ?

16 A.         No .

17 Q.         You would see a Hallmark         bag , the multi colored

18 bag , the trash bag ?

19 A.          It was n't seal ed , but I can speak to that

20 because     I locate d that bag .       It was close d, but you

21 know how the mid dle is        kind of touch ing but the edge s

22 would be open , but I mean , I didn't           --

23 Q.         If you walk ed by it and you look ed down , you

24 might see the Hallmark         bag , you might see part of the

25 green , blue , white bag ?




                                                                Page 127
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 128 of 231



 1 A.        You could see the top of the -- if you look at

 2 the picture , you could see the top of the green , red ,

 3 white bag and the top of the         Hallmark    bag , and I mean,

 4 if you look ed down into the Hallmark           bag through    the --

 5 near the worn corner , you may catch a glimpse            of

 6 something .

 7 Q.        The glimpse   -- you would n't catch a glimpse          of

 8 drug s?

 9 A.        They were pretty    much , you know , covered        with --

10 in the contain er and in the black bag .

11 Q.        Right .   And if someone    happened    to be carry ing

12 those bag s, the Hallmark      bag and the other multi colored

13 bag , and look ed down into them , all the person          would

14 see would be the Aqua Net can , maybe a trash bag ?

15 A.        I think it would be difficult         to see it if a

16 person    was carry ing it as you 've de scribe d.

17 Q.        You wouldn 't see drug s eve n if you look ed down

18 into the bag s when you were carry ing it ; would you ?

19 A.        If it were shift ed , it would be difficult           to see

20 it , yes .

21 Q.        If the content s of the bag s on June 1st , 2004 ,

22 were the same as the      content s of the bag s when they

23 were taken into the studio ?

24 A.        Yes .

25 Q.        And we have no idea whether       that 's true or not ;




                                                                 Page 128
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 129 of 231



 1 do we ?

 2 A.         Repeat   -- I'm sorry .

 3 Q.         We have no idea whether         the content s of the bag s

 4 as found on June 1st , 2004 , were the same content s at

 5 the time that the bag s were taken into the studio .

 6 A.         I don't know     what was taken .

 7 Q.         No one know s what was in those bag s when they

 8 were taken into the studio .

 9 A.         I don't know .     I don't know     if anyone    else would

10 know .     The person   who carri ed the bag in may know .

11 Q.         Only the person      who pack ed the bag s and we don't

12 know who that was , do we ?

13 A.         I don't know .     No, sir .

14            MR. MCKNETT :     Thank you .

15            MS. JOHNSTON:      Nothing     further .

16            THE COURT:      All right .     You may step down .

17 Thank you very much .

18            (Witness   excused    at 12 :32 p.m. )

19            MS. GREENBERG:       Your Honor , we will call

20 Sergeant     Tim Muldoon    as the government 's next witness .

21 While he 's do ing that, Special          Agent Snyder     is going to

22 put some item s on the table .

23            MS. JOHNSTON:      Court 's indulgence     a moment ,

24 please .

25            Your Honor we will next be call ing Colleen




                                                                 Page 129
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 130 of 231



 1 Muldoon .    There are two Muldoons          in the case , Your

 2 Honor , but it seem s that Mr. Muldoon            has decide d maybe

 3 to go to lunch early .

 4            THE COURT:      So does she have the rank of

 5 sergeant    as well?

 6            MS. JOHNSTON:      No , she has a rank of corporal ,

 7 so if the Court will bear with me .

 8            (Witness   Colleen      Muldoon   resume s the stand .)

 9                           DIRECT    EXAMINATION

10            BY MS. JOHNSTON:

11 Q.         Corporal   Muldoon , would you please         state your

12 full name    for the record ?

13 A.         Corporal   Colleen      Muldoon , M U L D O O N.

14 Q.         Where are you employ ed ?

15 A.         With the Prince      George's     County   Police

16 Department .

17 Q.         How long have you been so employ ed ?

18 A.         For almost     18 year s now .

19 Q.         You testifi ed previous ly in this case , I

20 believe , about a surveillance ; is that correct ?

21 A.         Yes, ma'am .

22 Q.         Just so the jury recall s, what is your narcotic s

23 experience ?

24 A.         I've been in the narcotic          enforcement      division

25 for a lit tle over 15 year s.           I have work ed in long -term




                                                                    Page 130
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 131 of 231



 1 investigation s identify ing co -conspirator s.           I've

 2 work ed on wiretap s, Title IIIs .        I've also done a lot

 3 of surveillance s and search warrant s of that sort .

 4 Q.         In term s of search     warrant s, have you had

 5 occasion     to obtain    search   warrant s and execute    your

 6 fair share of search        warrant s during   all of those

 7 year s?

 8 A.         Yes, ma'am .

 9 Q.         Call ing your attention     to on or about June 1st

10 of 2004 , were you asked to assist         Detective     Eveler    with

11 the continuation       of the investigation     of Ms. Martin       and

12 her associate s?

13 A.         Yes, ma'am .    I was asked to be a part of a

14 search     warrant   locate d at 846 Oglethorpe       Street in

15 Washingt on , D. C.

16 Q.         Would that be in Northeast      Washington ?

17 A.         That would be , ma'am .

18 Q.         What was your responsibility        in regards   to the

19 execution     of the search    warrant   at 846 Oglethorpe

20 Street ?

21 A.         I would take photograph s of any evidence         that

22 was found , and I would actual ly re cover it and tag it ,

23 and then I actual ly -- when I was done with all that , I

24 brought     it back to Montgomery      County where we were

25 collect ing all the evidence         at that time .




                                                               Page 131
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 132 of 231



 1 Q.        What do you mean by tag the evidence ?

 2 A.        We would -- I would , once they -- one of our

 3 search    team s would find an item , it was my

 4 responsibility      to go there and take the picture s, they

 5 would write down where they found it , what time it was ,

 6 who found it , put it in the bag , and then I would put

 7 it down and would take it from them and write on our

 8 return    exact ly what was found and what was re covered

 9 and that would -- that 's what I mean by tag ging it .

10 Q.        When -- about how many agent s did you have there

11 assisting      you with the search ?

12 A.        We had about six .

13 Q.        Was there anyone     in the residence     when you got

14 there ?

15 A.        There was nobody     home when we got there .

16 Q.        Did anyone   come while you were in the process          of

17 search ing ?

18 A.        No .   No one came to the house .

19 Q.        Could you de scribe    how the search     was conduct ed ?

20 Were there officer s designate d to particular           area s?

21 A.        That 's correct .    Once we secured     the residence ,

22 we went into the residence , we took some photo s of how

23 it look ed prior to us search ing .        Then I designate d

24 officer s or agent s to search      a certain    area of the

25 house .




                                                               Page 132
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 133 of 231



 1 Q.        Can you de scribe     for us what was at that

 2 location ?    Apartment ?     Single   family   home ?

 3 A.        It was attach ed like a row , hometown -house kind

 4 of thing .    It was three stori es , consist s of a

 5 base ment , a first floor , and a second         floor .

 6 Q.        Did you take picture s to show the over all layout

 7 of the house ?

 8 A.        Yes, ma'am .

 9 Q.        In addition    to that , did you prepare         any

10 sketch es or chart s?

11 A.        I did do a diagram .

12           MS. JOHNSTON:       Your Honor , if I could ask the

13 witness   to step down .      We're going to be using some

14 photo boards     with her .

15           THE COURT:     Yes , you may .

16           MS. JOHNSTON:       Thank you .

17           BY MS. JOHNSTON:

18 Q.        Detective    Muldoon , I'm going to ask you to keep

19 your voice    up nice and loud so everyone         can hear you .

20           I'm going to give you a laser point er .               First of

21 all , beginning    with the first photograph , P-138 , if you

22 could tell us what we're look ing at there .

23 A.        This is Oglethorpe      Street    here and this is the

24 front entrance     to the address .        The apartment    -- the

25 house that we were look ing at .




                                                                    Page 133
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 134 of 231



 1 Q.       Did you prepare       a diagram   of the first floor of

 2 the residence ?

 3 A.       I did .

 4 Q.       Let me show you CH-6 .

 5          Do you recognize       that diagram ?

 6 A.       That 's my diagram .

 7 Q.       I'm going to put it up on the over head so you

 8 can see it on the monitor .          If you could , using that

 9 diagram , de scribe    for the ladies and gentlemen of the

10 jury the layout      of the first floor .

11 A.       I guess as you walk in the front door , the

12 stairwell    is there .      You have a liv ing area on this

13 side .   Then there 's a walk way this way that goes into ,

14 like , a small little        hall way , and then there 's , like , a

15 table here .     The kitchen , of course , is in this area ,

16 the stair s to the base ment goes down and there 's a

17 small bathroom     here .     There is an exit door here -- no ,

18 I'm sorry , it 's about right here , an exit door .

19 Q.       Lead ing out to the back ?

20 A.       Lead ing out to the back , yes .

21 Q.       If we could then look at P-139 .           De scribe   what

22 that is in relation         to the chart of CH-6 .

23 A.       P-139 is in that living        room area , it's against

24 the wall .     That couch would be , like , right about there

25 on that wall .




                                                                Page 134
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 135 of 231



1 Q.          And P-140 .    What do we see in P-140 ?

2 A.          That 's exact ly when you walk in the front door ,

3 that refrigerator         is right -- as you can see the

4 stairwell      in the picture .

5 Q.          You can use the laser on the picture         as well ?

6 A.          Okay .    This is the stairwell      I was referring     to

7 earlier .      As you walk ed in the front doo r, there is a

8 refrigerator .        This is the hall way that goes into the

9 back or the kitchen         and the    eat ing area is --

10 Q.         And I'm going to the next picture , P-142 .

11 A.         This picture ?

12 Q.         Yes .

13 A.         This is a picture     of the eat ing area that I

14 referred     to in the diagram       right there .   As you walk

15 down , this is where the table -- the kitchen              table is .

16 Q.         And P-141 , what is that ?

17 A.         This area here is the walk way that I was

18 mention ing earlier       that you walk ed into the kitchen

19 area or the eat ing area -- I'm sorry,           the eat ing area

20 that 's shown in this picture          here .

21 Q.         P-142 ?

22 A.         Yes, ma'am .

23 Q.         You would be out of numerical         order on the

24 chart ; is that right ?

25 A.         Yes, ma'am .




                                                                Page 135
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 136 of 231



1 Q.        Then going to P-143 , what do we see here ?

2 A.        This is the kitchen        area , which is right there .

3 The kitchen       area in the house .

4 Q.        And then the bottom        picture    on the far left,

5 P-144 .   What is that ?

6 A.        This is the back exit .        As you can see , here is

7 the shades , the blinds , the blinds            there , and then

8 there is this door area here , and that would be right

9 on the side here , this kitchen          area right there .

10 Q.       Referring    to P-143 ?

11 A.       Correct .

12 Q.       Now , in regards    to Government 's Exhibit       P-142 ,

13 the far picture      on the second     row .

14 A.       This picture    here ?

15 Q.       Yes .    What is that on the table ?

16 A.        This is a monitor        that we had discovered .       It

17 was -- I don't know      if it was fil ming , but it was

18 monitoring .      It had camera s.     There were cam eras

19 locate d on the outside     of the house, the        front door ,

20 and then at the back door , so anyone            in side the house

21 could see who was at the door s, and that one monitor

22 was on this table .

23 Q.       In the eat ing area ?

24 A.       Yes, ma'am .

25 Q.       Do we see it again in P-141 as well on the




                                                               Page 136
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 137 of 231



 1 table ?

 2 A.        Ye s, ma'am , it 's right there .

 3 Q.        Now , on chart CH -6 , there appear       to be name s.

 4 Can you explain        what the name s mean ?

 5 A.        Yes, ma'am .       The name s here are the name s of the

 6 agent s or officer s that were actual ly search ing in

 7 those location s.

 8 Q.        Why don't we stay with the kitchen           for a while .

 9 Did you re cover some item s in the kitchen ?

10 A.        Yes, ma'am .

11 Q.        If I could have Oglethorpe         2 , 3, 4, 6, 7, 8 and

12 Drug s 24 .      Show ing you first what's      been mark ed as

13 Oglethorpe       2.   Do you recognize    this box ?

14 A.        No .    You have to open it up .

15 Q.        Do you recognize       what's   in side the box ?

16 A.        In side the box are six Pyre x measuring            cup s, all

17 of them are glass , which have some sort of residue                on

18 the bottom       of them .

19 Q.        Do you want to count them to make sure you have

20 the number ?

21 A.        Eight .     I have eight .

22 Q.        One of them appear s to have been broken .

23 A.        Yes, ma'am .

24 Q.        Was it broken       when you re covered   it ?

25 A.        No .




                                                                  Page 137
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 138 of 231



 1 Q.         What was done with these exhibit s?

 2 A.         These exhibit s were taken to Montgomery         County

 3 with the rest of all the item s, and they were put into

 4 evidence     and check ed for any CDS residue       on them .

 5 Q.         Call ing your attention     to our photograph s --

 6 now , are they depict ed in any of the photograph s?

 7 A.         They're    here on this shelf .   I don't know       what P

 8 number    that is , ma'am .

 9 Q.         For the record , P-151 .

10 A.         They're    on the bottom   shelf here , and the

11 cabinet , which was locate d right about here on this

12 cabinet     there .

13 Q.         Referring    to P-143 ?

14 A.         Yes, ma'am .

15 Q.         Why did you seize the Pyre x bowls?

16 A.         To me , when they had the residue       on the bottom ,

17 they were also store d with baki ng soda along with a

18 scale .     They were all in that one area , and it was to

19 -- where someone       norm ally would use that kind of stuff

20 to make cocaine .

21 Q.         To make what kind of cocaine ?

22 A.         To make cocaine    base or crack cocaine .

23 Q.         Let me show you what's      next mark ed as

24 Government 's Exhibit       Oglethorpe 3, do you recognize       that

25 exhibit ?




                                                               Page 138
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 139 of 231



1 A.         These are the two baki ng soda box es that are

2 depict ed in the picture          here that was re covered         with

3 the Pyr ex .

4 Q.         And Oglethorpe        4, tell us what Oglethorpe         4 is .

5 A.         It 's a scale -- it 's a weigh scale .              Again , it

6 was re covered       in the same location     as the     other s.       I

7 don't know     if you can see the picture .            I don't think

8 you can see the scale in there , but it was re covered                      in

9 that same area .

10 Q.        Referring    to P-151 .

11 A.        Yes, ma'am , in the kitchen       area .

12 Q.        Now , while we're up here , I want to -- let me

13 show you what's       been mark ed as Exhibit       P-152 , which was

14 previous ly admitted      during    the testimony      of Chemist

15 Gervasoni .       Do you recognize    Drug s 24 ?

16 A.        Yes .    This is the -- a sift er that was re covered

17 and it 's depict ed in this picture         right there .         It had

18 cocaine   residue     on it .    It was re cover ed from       on top of

19 the refrigerator .

20 Q.        Why did you seize that item ?

21 A.        Because    it had cocaine     residue     on it .     It use d

22 -- you can also use a sift er jus t to sift down any kind

23 of -- just to make the cocaine           smooth er before        you

24 start tinkering       wit h it, I guess .

25 Q.        And where in relation        in the kitchen         was it ?




                                                                    Page 139
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 140 of 231



1 A.        You can't see where that re frigerator is                 in the

2 picture .     It's in the refrigerator            up front .     There 's

3 another     refrigerator    in the kitchen         that 's not

4 depict ed .

5 Q.        In the same general          area ?

6 A.        It was in the refrigerator , yes, ma'am .

7 Q.        On to p of the refrigerat or ?

8 A.        Yes .

9 Q.        In the general      area that 's depict ed as P- 143 in

10 the kitchen ?

11 A.       Yes, ma'am .

12 Q.       In addition      to re covering       those item s, did you

13 also re cover some document s from the kitchen                area ?

14 A.       Yes .   There were some document s in the kitchen

15 drawer   that we went through .

16 Q.       I'm going to show you what's              been mark ed as

17 Government 's Exhibit      Oglethorpe      6.     And ask you if you

18 can identify     Government 's Exhibit          Oglethorpe    6.

19 A.       These are two pads that was re covered               from the

20 drawer   in the kitchen      area .     Th ey have phone number s,

21 name s on there , like a telephone             book .   There 's some

22 calculation s in there , mathematical             calculation s.       A

23 lot of phone number s.

24 Q.       Now , a drawer     in which room ?

25 A.       I'm sorry , in the kitchen , in the -- I belie ve




                                                                      Page 140
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 141 of 231



 1 it 's that corner      drawer    right there in the back .

 2 Q.         Referring     again to P-143 ?

 3 A.         Yes .

 4 Q.         Let me also show you Government 's Exhibit 7              and

 5 ask you if you recognize          that exhibit .

 6 A.         This , again , is another     pad that was re cover ed

 7 in that same drawer        in the kitchen .       It has , again ,

 8 several     number s and name s in side of it .       There 's some

 9 other thing s in the back as well .

10 Q.         There are some green tab s on there and maybe

11 some tab s on the previous         exhibit .     Were those on there

12 when you re covered       it ?

13 A.         No, ma'am .     There was nothing      on there .    There

14 was no tab s.

15 Q.         Let me next show you Oglethorpe          No. 8 .    Do you

16 recognize     these receipt s and doc uments?

17 A.         Yes, ma'am .     Again , these document s were

18 re covered    from that same drawer .          It has --

19 Q.         Let me put some up on the screen          so the jury can

20 see it .     If you need to see them up close , I'll bring

21 them down to you while I'm walk ing over there .                In

22 regards     to -- were these in these little          plastic

23 envelope s when you seize d them ?

24 A.         No .    The drawer 's like a junk drawer , kind of

25 thing -- we all kind of have them .              It was all sort of




                                                                   Page 141
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 142 of 231



1 shove d in that drawer .           They were kind of all over the

2 place .

3 Q.         What did you do with the content s of the drawer ?

4 A.          Everythin g was seize d, thing s that we did see

5 and that we thought         were important , they were seize d

6 and package d and brought           back to Montgomery   County.

7 Q.         In preparation        -- in those bag s, for example ,

8 from this particular            drawer , did you put anything    in

9 that bag so you would know where the item s came from ?

10 A.        Right .     As I explained    earlier , the officer       who

11 did the search        would go ahead and write down on there

12 the time and date re covered , what they re cover ed and

13 where they found it , and that was all stuck in the bag ,

14 so that these item s came from that one bag .

15 Q.        In preparation        for your testimony , did you meet

16 with Detective        Eveler    and myself   and actual ly go

17 through   the bag s and pick out these particular            item s?

18 A.        Yes .     Yes , we did .

19 Q.        Are you able to see that ?

20 A.        I'm going to have to come by you , ma'am .            I

21 can't read it .        I know what they are .      They're

22 receipt s.    They're     Wal -Mart receipt s.     There 's a Jack

23 in the Box receipt .           The only thing I can't read is the

24 date s or area s in which they were --

25 Q.        Let me bring them to you .          If you could




                                                                Page 142
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 143 of 231



 1 general ly de scribe      them to the jury .       We can always

 2 publish     them to the jury .

 3 A.        Okay .   This is a Rig gs Bank receipt , actual ly ,

 4 after maki ng deposit s.       There is the rose from Union

 5 Station .     There is a Shell Foo d Mart here from Atlant a

 6 -- LA is -- what state is LA?

 7           JUROR:    Louisiana .

 8           MR. WARD:     I'm sorry , we can't hear the witness .

 9           MS. JOHNSTON:      Please    continue     with your

10 testimony .

11           THE WITNESS:      I can't remember        what some of my

12 states are.

13           MR. SUSSMAN :     Your Honor --

14           MS. JOHNSTON:      If you would,     speak loud ly .

15           THE COURT:      Counsel ?

16           MR. MARTIN:      I'm wondering .     Is all this part of

17 Exhibit 1 ?

18           MS. JOHNSTON:      They're    part of Exhibit 1 .       It

19 might be easier       if I have her resume        the witness    stand

20 brief ly , and then we'll come back down here if that 's

21 easier    for counsel .     You resume    the witness     and stand ,

22 and I will put them up there where everyone               can see

23 them .    There is a monitor      up there .

24           BY MS. JOHNSTON:

25 Q.        Again , look ing at Oglethorpe       8.     You mention ed




                                                                   Page 143
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 144 of 231



 1 that there were a series        of receipt s.     Can you see the

 2 date and time of this receipt ?

 3 A.         '04.

 4 Q.         Where is that receipt ?

 5 A.         I'm sorry , it 's in Texas -- from Texas .         It's

 6 from Mercantile      in Texas that receipt 's from .

 7 Q.         Are you able to read the date on that ?

 8 A.         '04.   0 3/27 /04.

 9 Q.         What kind of receipt    does this appear      to be ?

10 A.         That is a receipt    from Friday , March 19 , 2004 ,

11 at 3:00 in the morn ing for un le aded gasoline .          Customer

12 order for -- I guess it 's a dinner           party -- dinner    for

13 buffet     table serv ed at March 15 of '04 at 6:00 in the

14 evening .

15 Q.         Was this ticket --

16 A.         From Texas .

17 Q.         Let me put it up on screen        for a second .

18 A.         It look s like it 's for food .

19 Q.         At the same place as the        last one , the Gold en

20 Corral ?

21 A.         Yes , and that 's on 3/15 /04.

22 Q.         Does it give you the location        of that Gold en

23 corral ?

24 A.         Texas .   El Paso , Texas .

25 Q.         What is the    next receipt ?




                                                                 Page 144
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 145 of 231



 1 A.       Murphy    USA in Dallas , Texas .

 2 Q.       The date of that one ?

 3 A.       Is 3/18 /04.

 4 Q.       The next one ?

 5 A.       Town & Country , and that is also in Texas .            The

 6 date on that is 3/18 /04.

 7 Q.       How about this one ?

 8 A.       Gas on 3/19 /04 in Tenne ssee .

 9 Q.       This is from Wal -Mart in -- I guess at the

10 bottom   -- I can't see the bottom , ma'am .         There is a

11 date .   I don't see a location .        The date on there is

12 March 7 of '04.

13 Q.       Does it give      you an area code for the manager ?

14 A.       Oh , ar ea code is 318 , and I do not know where

15 that come s back to .

16 Q.       You mention ed the Jack in the Box .

17 A.       Yes .    On March 7 of '04.

18 Q.       And then some bank receipt s?

19 A.       Yes, ma'am .      From Wash ington , D. C.

20 Q.       There are a couple        of those ; is that correct ?

21 A.       From Washington , D.C. area , yes, ma'am .

22 Q.       And the bank on those bank cards is ?

23 A.       Rig g' s Bank .

24 Q.       And then the one that you were having           a problem

25 with , I believe .     Recognize    this one ?




                                                               Page 145
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 146 of 231



 1 A.       Yes .

 2 Q.       Let me zoom in .      Can you see the date on that ?

 3 A.       03/06 /04.

 4 Q.       Again , in Ma rch of '04; is that correct ?

 5 A.       Yes, ma'am .

 6 Q.       And the location ?

 7 A.       Athens , AL is -- I want to say Alabama .

 8 Q.       Okay .    You're   not sure what state it is ?

 9 A.       I can't remember .

10 Q.       That 's okay .

11 A.       That sounds      silly .

12 Q.       Then we have another       one -- another     receipt .

13 Again , what's     the date on this receipt ?

14 A.       3/6/04.

15 Q.       And the --

16 A.       That 's in Georgia .

17 Q.       These all came out of the same drawer ; is that

18 correct ?

19 A.       Yes, ma'am , they did .

20 Q.       In addition      to those exhibit s, I want to show

21 you a couple      more we've mark ed as Oglethorpe        8A.

22          Do you recognize      this exhibit ?

23 A.       Can you pull that back , the camera ?

24 Q.       I will in deed .

25 A.       Oh , that 's for a Budget Rental Car receipt           and




                                                                Page 146
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 147 of 231



 1 --

 2 Q.         Whose name is that receipt ?        I still can't see

 3 it .   Mc Kenzie    -- is that O L T O N, Olton ?

 4 Q.         Where was that vehicle     rent ed ?

 5 A.         Is that D. C. ?    I don't know     if you can move it .

 6 Can you move the --

 7 Q.         Where do you see that it 's rent ed from ?

 8 A.         Washington , D. C .   Thank you , ma'am .

 9 Q.         What is the time -- does it reflect            on there the

10 date it went out ?

11 A.         I went out on March 20 of '04 at 12 :27 in the

12 afternoon , and it came back at three -- I'm backwards .

13 It went out on 3/5/04, and it came back in on 3/20 /04.

14 Q.         This receipt   was re covered     from ?

15 A.         Again , in that drawer   in the kitchen .

16 Q.         Let me show you the next exhibit , Oglethorpe           8B.

17 Again , is that another       document   re covered     from the same

18 drawer ?

19 A.         Yes, ma'am .   It 's from a tire store , and it 's a

20 receipt     from a location    in Las Cruces , New Mexico .

21 Q.         What's   the date of that receipt ?

22 A.         3/10 of '04.

23 Q.         What does it indicate    was purchase d?

24 A.         Use d tire wheel s.   I don't know         what the rubber

25 stem is .




                                                                 Page 147
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 148 of 231



 1 Q.         You don't know what the rub ber stem is ?

 2 A.         No .     I guess it 's that little     thing .

 3 Q.         Let me show you the next exhibit , Government 's

 4 Exhibit 8 C.        Again , where did this come from ?

 5 A.         In that drawer     in the kitchen .

 6 Q.         I'll bring it up to you .      Can you tell us ,

 7 before    I put them on the screen , general ly what kind of

 8 document     document s these are ?

 9 A.         Okay .     These are hotel from Red Roof Inn and the

10 Comfort     Inn receipt s.

11 Q.         I'll put it on the screen      so everyone       can see

12 them .    Begin ning with the first one , the Red Roof Inn

13 receipt .

14 A.         That 's in El Paso, Texas , and the date on there

15 is March 7 through         the -- is it the -- the 10 th .      March

16 7 through     March 10 of '04.

17 Q.         Who was the individual      the room was registered

18 to ?

19 A.         Tiffany     Vessel s.

20 Q.         How was the room paid for ?

21 A.         I need you to --

22 Q.         How was it paid for ?

23 A.         Cash .     For the third night , it says cash .       Cash .

24 Yes, ma'am .

25 Q.         Show you the Comfort      Inn bill .     Do you recognize




                                                                 Page 148
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 149 of 231



 1 that bill ?

 2 A.         Yes, ma'am .     Again , that was re covered               in the

 3 drawer    in the kitchen .

 4 Q.         In whose name is the room rent ed ?

 5 A.         Can you focus in ?        Okay .     It's Tiffany          Vessel s.

 6 Q.         What was the date on this one ?                 Arrival     date ,

 7 departure     date ?

 8 A.         Arrival     date is 3/14/04; departure date is

 9 3/18/04.

10 Q.         And let me show you -- do you recognize                     this

11 Comfort    Inn bill ?      Let me zoom in .

12 A.         Yes, ma'am .     Again , that item was re covered                  from

13 the drawer     in the kitchen .

14 Q.         Who is the room registered              to ?

15 A.         Tiffany     Vessel s.

16 Q.         Where is this hotel ?

17 A.         In El Paso , Texas .

18 Q.         What's    the time period      covered         by this ?

19 A.         March 11 of '04 through            March 13 of '04.

20 Q.         Court 's indulgence .       One minute .

21            Let me show you next what's              mark ed as

22 Government 's Exhibit        Oglethorpe       8.

23            Do you recognize        this item ?

24 A.         Yes, ma'am .     That was also re covered             in the

25 drawer    in the kitchen .




                                                                          Page 149
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 150 of 231



 1 Q.        Again , when it was re covered , the yellow         tab s,

 2 were they on it ?

 3 A.        No, ma'am .     The yellow    tab s were not on there .

 4 Q.        Why would you seize something          like Oglethorpe

 5 8D?

 6 A.        It had telephone       number s in side it with name s.

 7 Q.        Now , was any search       conduct ed of the second

 8 floor ?

 9 A.        Yes, ma'am .

10 Q.        Did you similar ly draw a rough diagram          of the

11 second    floor ?

12 A.        Yes, ma'am .

13           THE COURT:      Ms. Johnston , we're going to go to

14 the second    floor at 2:10 p.m .

15           MS. JOHNSTON:        That 's fine .   Thank you , Your

16 Honor .

17                     (Jury excused at 1:03 p.m.)

18                     (Off the record    at 1:03 p.m. )

19                     (On the record    at 2:11 p.m. )

20           THE COURT:      Counsel , are you ready for the jury ?

21 Here come s the jury .

22                     (Witness   resume s the stand.)

23                     (Jury return s at 2:13 p.m. )

24           THE COURT:      Ms. Johnston , I think we're ready to

25 go upstairs .




                                                                Page 150
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 151 of 231



 1           MS. JOHNSTON:       Un fortunate ly I don't think       that

 2 micro phone is work ing quite the way we had hope d.               With

 3 the Court 's permission , I'll try to --

 4           BY MS. JOHNSTON:

 5 Q.        Corporal      Muldoon , before   we broke for lunch , we

 6 were get ting ready to go up to the second            floor .     Do

 7 you recall     that ?

 8 A.        Yes, ma'am .

 9 Q.        Let me give you give you the laser point er

10 again .     Look ing at CH-7 , which will be up on the

11 monitor , can you de scribe       for the ladies and gentlemen

12 of the jury     what we're look ing at ?

13 A.        Could you move the camera         back just a little

14 bit ?

15 Q.        Oh , sure .

16 A.        This is the second       floor of the house .      This is

17 the stairwell     comi ng up .    It come s up again on here ,

18 and then you have the plat form area right here .                The

19 front bed room here , we identifi ed it as Bedroom              No. 3 .

20 There was a bed room to the front of the           house , and

21 Bedroom     No. 2, and then in this back corner         is Bedroom

22 No. 1, and then the land ing goes around           this way here ,

23 and then there 's the back room there .

24 Q.        Now , in term s of the three bedroom s, could you

25 de scribe    whether    there are master    bedroom s or who




                                                                Page 151
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 152 of 231



 1 occup ied the    bedroom s?

 2 A.         Well , none of the bedroom s had their own

 3 bathroom     in there .   They were just all normal -size

 4 bedroom s.     The front bedroom     here , it look ed to us like

 5 it was decorate d for a female        child , and then this

 6 front bed room here was decorate d for boy child , and

 7 then the back bedroom         was decorate d for an adult .

 8 Q.         That 's based on the furnish ings ?

 9 A.         Yes , the furnishings .

10 Q.         The bedroom s are mark ed on your diagram        as what ?

11 A.         Three for the girl 's and two for the boy 's .

12 Q.         I'm look ing at our photograph      be gin ning with

13 P-145 .    Can you de scribe     what's   depict ed in that in

14 relation     to your diagram ?

15 A.         The first picture     here is a picture    of the front

16 of the    back room there on that land ing .        This would be

17 the front bedroom , which would have been the girl 's

18 bedroom    here , the back in this corner , there would be

19 the front boy 's bedroom , and this is where we

20 considered     the adult room .

21 Q.         And then going to the next picture , P-246 .

22 What's    depict ed there ?

23 A.         This is the Bedroom     No. 1 , which we identifi ed

24 as being an adult room .         This is look ing in from the

25 closet    here , look ing out into corner      to back .




                                                               Page 152
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 153 of 231



 1 Q.         And the next picture , P-147 ?

 2 A.         In this room , it 's the same room .      Again , this

 3 is the door way lead ing into the room .         This is a closet

 4 here .     The bedroom    is -- the bed is right there .         And

 5 that main Bedroom        No. 1 .

 6 Q.         What is that on top of the chest ?

 7 A.         That , again , is one of those monitor s that we

 8 discovered .     The other monitor , again,      was downstairs .

 9 It depict ed anybody       at the back door .

10 Q.         And P-148 ?

11 A.         This closet    here is actual ly this closet      there .

12 It 's just a picture       of the closet    in the room .

13 Q.         And P-149 .

14 A.         P-149 is this one here , and we re covered        a

15 bullet     -- a nine millimeter    bullet    on the shelf of this

16 closet .     After we took all the stuff down , we covered             a

17 bullet .     This is jus t the shelf we actual ly lift ed it

18 up , and that ledge that was sitting          on it , we could n't

19 get a good picture        of it when we were search ing , so

20 that 's why that bullet       there is on the ledge where that

21 shelf is .

22 Q.         And the last picture , P-150 .       What's depict ed in

23 that ?

24 A.         This is a shoe box .    It has marijuana      residue       on

25 it .     It came from underneath    the bed .




                                                               Page 153
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 154 of 231



 1 Q.        If I could show you what's          been mark ed as

 2 Oglethorpe     1 and ask if you can identify         that exhibit .

 3 A.        Yes, ma'am .      This is -- actual ly , it 's a .32

 4 caliber    bullet .   I stand correct ed .       This is the bullet

 5 that was re covered      here from the bedroom .

 6 Q.        That 's in P-149 ?

 7 A.        Yes, ma'am .

 8           MS. JOHNSTON:       Okay .     With the Court 's

 9 permission , may we publish        that to the jury ?        It 's in a

10 seal ed envelope .

11           THE COURT :      Yes , you may .    You should     start with

12 our foreperson .

13           THE WITNESS:       I apologize .

14           BY MS. JOHNSTON:

15 Q.        Corp oral Muldoon , so that we keep everything

16 going the same way .         If we could , then did you also

17 search    the base ment area of this residence ?

18 A.        Yes , we did .

19 Q.        Again , did you make a chart of the base ment area

20 of the residence ?

21 A.        Yes, ma'am .      I did do a diagram     of the base ment .

22 Q.        Okay .   Put it up on the screen .        And do you

23 recognize     that chart ?

24 A.        That is the diagram          I drew depicting    the

25 base ment .




                                                                    Page 154
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 155 of 231



 1 Q.        Again , if you could explain       the layout    of the

 2 base ment .

 3 A.        This is a stairwell      there .   As you're    comi ng

 4 down the step s, there 's a small land ing here .           As you

 5 walk down here , it 's kind of open here , but along this

 6 wall , there was a lot of electronics          equipment , a lot

 7 of thing s still in box es .       You walk into this room

 8 here , as we identif ied as Base ment Room No. 2 .           It was

 9 -- this is -- right here is the front of the house .

10 You can see it on the front .         There 's a picture     of the

11 front .

12 Q.        Let me bring that board back , since -- show ing

13 you what's    been mark ed as P-138 .

14 A.        The base ment window     right there where the front

15 of the car is at the very front , when you see where it

16 says dress er , it would be right there .          That 's the

17 front , just to give you guy s an idea of where

18 everything    is .

19           Then when you walk into the back area , we

20 identif ied this     room as Base ment Room No. 3 .        There was

21 -- there 's a back door here .        An exit to go out and

22 over here .    There 's a wash er and dr yer area with all

23 kinds of soap.

24 Q.        If you can step back so the juror s can continue

25 to see the screen      while you're     explain ing what's




                                                                Page 155
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 156 of 231



 1 depict ed .

 2           Call ing your attention       to the photograph s.        And

 3 so the record      is clear , identifi ed someone      has advise d

 4 me that I may have       identified    Picture   P-146 or 143 as

 5 246 or 243 .

 6           MS . JOHNSTON:     Ms. Greenberg , what number       is it ?

 7           MS. GREENBERG:      146 .

 8           BY MS. JOHNSTON:

 9 Q.        It should   be P-146 , not 246 in the record .            If

10 we could now start with P-153, and tell            us what we're

11 looking at in relation to your diagram.

12 A.        This is a -- I call it a workout area.             It's

13 right here in      Base ment Room No. 1 .     Here would be the

14 workout   bench , and the bicycle would be         right there .

15 In the back is a small table .          That 's what we're

16 look ing at here .

17 Q.        And in regards     to P-154 , what do we see there ?

18 A.        Okay .   On this weight      bench here , there is a

19 brown suitcase , and then on top of that is a lock ed red

20 toolbox , and that 's what this is .         This is the    bench

21 here with the brown suitcase , and the red lock toolbox .

22 Q.        That 's depict ed also on P-153 ?

23 A.        Yes, ma'am .

24 Q.        Did you find several        toolbox es in different

25 area s of the base ment ?




                                                                Page 156
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 157 of 231



 1 A.        Yes, ma'am .

 2 Q.        Were they all found in the base ment ?

 3 A.        They were all found in the base ment .

 4 Q.        Focusing     in on Government 's Exhibit         P-154 .   Let

 5 me show you what's        been mark ed as Government 's Exhibit

 6 Oglethorpe    9, which I believe       is your 19 .    Do you

 7 recognize    this toolbox ?

 8 A.        Yes, ma'am .

 9 Q.        Was it lock ed when you re covered        it ?

10 A.        It was lock ed and we pri ed it open .            It was

11 lock ed in right there ?

12 A.        If I can get my note s.

13 Q.        Yes , if you would like to retrieve         your search

14 warrant    note s, that 's fine .

15           An d you also mention ed a brown suitcase            in

16 P-154 .    Is that depict ed on the photograph s?

17 A.        Yes, ma'am .     The brown suitcase     is on the bottom

18 part .    The toolbox     is sitting   on top of that .

19 Q.        And P-16 3.     What does that depict ?

20 A.        That is the     brown suitcase .    It 's opened      up and

21 we re covered    within    that brown suitcase     there was a ski

22 mask in there , there was a bullet proof vest , which is

23 that white thing here , and then there were was some

24 ammunition    here .

25 Q.        Was that live ammunition       from what you could --




                                                                   Page 157
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 158 of 231



 1 A.         Yes .   I believe    it was .45 caliber     ammunition .

 2 Q.         Now , if we could return      to the toolbox ,

 3 Oglethorpe     9, which is , I believe , your Search Item No.

 4 19 ; is that correct ?

 5 A.         Yes, ma'am .

 6 Q.         Call ing your attention     to Photograph     P-155 , if

 7 you could de scribe       what we're look ing at there .

 8 A.         On this top portion      here , when you opened        it up ,

 9 it has this part here , the top part of the toolbox ,

10 that 's what you're       look ing at here , and there we

11 re covered    cocaine .    There 's a whole bunch of different

12 size s and baggi es .      If I could take a look .

13 Q.         Go right ahead .

14 A.         There 's a couple     of big baggi es of cocaine        here .

15 I think those were both hydrochloride            and co cain e base,

16 which is     the powder    and the crack cocaine .

17 Q.         Let me show you what 's been previous ly admitted

18 as Dobie (sic) 19 and 19 A.

19            MS. GREENBERG:       Could you repeat     that ?

20            MS. JOHNSTON:       Drug s 19 and 19 A.

21            MR. WARD:      I'm sorry , is it Dobie or is it

22 drug s?

23            MS. JOHNSTON:       It 's Drug s 19 and 19 A.      I

24 mis spoke , Mr. Ward , and Ms. Greenberg         was kind enough

25 to correct     me .




                                                                 Page 158
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 159 of 231



 1          BY MS. JOHNSTON:

 2 Q.       Do you recognize      those exhibit s?

 3 A.       Yes, ma'am .

 4 Q.       What are those ?

 5 A.       These are the cocaine       that was re covered       from

 6 the toolbox , this particular        toolbox .

 7 Q.       While we're do ing that , let me also show you

 8 Drug s 20 .   Do you rec ognize     this as well ?

 9 A.       Right .    This is the other portion        of the cocaine

10 that was re covered     from that same toolbox .

11 Q.       Can you -- you mention ed that was both crack and

12 -- crack cocaine      or cocaine    base and hydrochloride .

13 Can you tell us , 20 A, what that is ?

14 A.       What I have here is the hydrochloride            and what I

15 have here --

16 Q.       In Drug s 19 ?

17 A.       In 19 , this is the crack cocaine .

18          MR. MARTIN:       Objection , 701 again .

19          BY MS. JOHNSTON:

20 Q.       Is that based on your experience           and your

21 observation s?

22          MR. MARTIN:       Objection , Your Honor .      May I

23 approach , please ?

24          THE COURT:       You may approach .

25                    (At the bar of the Court.)




                                                                Page 159
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 160 of 231



 1            MR. MARTIN:     Your Honor , brief ly , because      I

 2 don't want to be up here long .            I notice   police

 3 officer s are comi ng up .       They're    testify ing under their

 4 general     knowledge , experience , et cetera .        It sounds

 5 like it 's a back door attempt        to get them in as ex pert

 6 witness es .     Eve n if she is an ex pert witness        regard ing

 7 police     matter s, she 's not a chemist , she 's not a

 8 pharmacologist,      there is no indication       or evidence       that

 9 she tested      this stuff .    She didn't    taste it .

10            THE COURT :   Is there a stipulation        on this ?

11            MR. MARTIN:     No, there is no stipulation .

12            MS. JOHNSTON:       The chemist , Richard    Gervasoni ,

13 testifi ed previous ly they were crack and they were

14 cocaine .      It was a little     bit out of order .

15            THE COURT:    If you've    already   got it in through

16 Gervasoni , don't ask her what it is .           You say what it

17 appear s to be , but leave it for the ex pert .

18            MS. JOHNSTON:       I thought   that 's what she said ,

19 that it     appear ed to be .

20            THE COURT:    Just leave it to appearances .             Thank

21 you .

22                   (Back in open court .)

23            BY MS. JOHNSTON:

24 Q.         What does Government 's Exhibit 19         appear   to be

25 to you ?




                                                                  Page 160
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 161 of 231



 1 A.          It appear s to be crack cocaine .

 2 Q.          And you mention ed different          size package s.

 3 Could you de scribe        the different       size package s you see

 4 in there ?

 5 A.          On this side , they look like they're           bigger

 6 piece s and then you have some small er one s in there .

 7 Just different         packaging     and different    size s for

 8 re sell .

 9 Q.          Now , bag s that they were original ly package d in ,

10 are those the one s that are attach ed with the black

11 powder ?

12 A.          Yes .

13 Q.           Do you know what the black powder , why the

14 black powder         is done ?

15 A.          For fingerprints .

16             MS. JOHNSTON:        If we could publish     Drug s 19 to

17 the jury at this time , Your Honor .

18             THE COURT:      You may .

19             MS. JOHNSTON:        Thank you .

20             BY MS. JOHNSTON:

21 Q.          Next , if I could show you Drug s 20 .          What does

22 that appear         to be to you ?

23 A.          It appear s to be cocaine          hydrochloride .

24 Q.          Again , in term s of that package , when you

25 re covered     it , is that depict ed in photograph         P-155 or




                                                                    Page 161
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 162 of 231



 1 P-156 ?

 2 A.         It 's going to be in this , and -- in both , I

 3 believe .     There 's some little       -- yeah .      There 's some in

 4 the front and then there 's some at the bottom , so in

 5 those picture s, you will see cocaine .

 6 Q.         So Drug s 20 was on the top as well as some of it

 7 in the bottom ?

 8 A.         In the bottom     portion     of it .

 9 Q.         And going back to the top , we -- of the toolbox ,

10 you indicated       was your Exhibit       R-9 ; is that correct ?

11 A.         My exhibit     R-19 .

12 Q.         R-19 ?

13 A.         Yes, ma'am .

14 Q.         What else did you re cover from that toolbox ?

15 A.         Also re cover ed from    that toolbox        was ammunition ,

16 both in 38 0 ammunition , there was a .22 caliber

17 Deringer     in side the toolbox .       There was a . 22 hollow

18 point ammunition .        There was some Viagra          pill s.    There

19 was two magazine s with ammunition            in it .     There was

20 also a . 38 0 handgun       re covered   in side the toolbox .

21 Q.         Let me show you a series         of exhibits,      then , in

22 reference     to the toolbox .      First , if you could publish

23 Drug s 20 to the jury .

24            Now , you mention ed a firearm ; is that correct ?

25 A.         Yes, ma'am .




                                                                      Page 162
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 163 of 231



 1 Q.        Where was the fire arm re covered ?

 2 A.        I'm sorry ?

 3 Q.        Where were the firearm s re covered ?

 4 A.        They would be re covered        -- you can actual ly see

 5 them in this picture .         In this top corner     here is the

 6 Deringer , a small gun , and then right there you can see

 7 the handle .

 8 Q.        Let me show you Government 's Exhibit 13 B and ask

 9 you if you recognize         that firearm , Government 's Exhibit

10 Oglethorpe      13 B.

11 A.        I don't think      13 B is in this one .

12 Q.        Court 's in dul gence one moment .

13           Show ing you what 's been mark ed as Government 's

14 Exhibit     Ogle thorpe 9 , if you could identify that

15 exhibit .

16 A.        That is the weapon      that you see in the top

17 corner , the . 22 Derin -- I'll get it right .

18 Q.        Okay .      Was that loaded    or un load ed when you

19 re covered     it , if you recall ?

20 A.        I don't recall .

21 Q.        Let me next show you what 's been mark ed as

22 Oglethorpe      9B.     If you can , tell us what 9B is .

23 A.        This is going to be the other handgun           that we

24 re covered .     It 's going to be the . 38 0 handgun .

25 Q.        Do you recall      whether    that gun was load ed or




                                                                Page 163
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 164 of 231



 1 un load ed ?

 2 A.         I don't remember .

 3 Q.         All right .    Is it depict ed in the photograph

 4 P- 156 ?

 5 A.         Yes, ma'am .    It 's right there underneath       the

 6 bag , partially      underneath   the bag .

 7 Q.         You also mention ed that there were some bullet s

 8 re covered     from that same toolbox     in the bottom     shelf ;

 9 is that correct ?

10 A.         Yes, ma'am .

11 Q.         Let me show you what 's been mark ed as Oglethorpe

12 9C.

13 A.         Right .   This is the hollow       point -- . 22 hollow

14 point ammunition       that was re covered     from there , and you

15 can see -- I believe       -- I have to go up and look .         It

16 look s like it 's right here .

17            I'm sorry .    It 's all the way in the back corner .

18 You bare ly see it , but it 's lay ing across the back

19 here .     You can see the small little        hollow   point s in

20 the corner .

21 Q.         In addition    to that , let me show you what's          been

22 mark ed as Government 's Exhibit 9 D.          Do you recognize

23 that exhibit ?

24 A.         This is the 38 ammunition .         This box here is

25 right there .




                                                                Page 164
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 165 of 231



1 Q.          And that is the same caliber            as the    gun you

2 re covered ?

3 A.          Yes, ma'am .

4 Q.          Next , let me show you what's           been mark ed as the

5 larger    of the two gun s you re covered .

6 A.          Yes, ma'am .

7 Q.          Let me next show you what's            been mark ed as 9E.

8 A.          Okay .    These bullet s are -- are they 22 caliber ?

9 What did you say ?          These is 9E.

10 Q.         Nine E, bullet s in a red case .

11 A.         I'm sure it 's there .      I just have to find it .

12 Is it right here in this corner ?

13 A.         I'm sorry .     Bullet   in case , yes , 9E.        I have

14 these bullet s.        These are the .22 caliber            re covered

15 from the area -- from in there .            I think it 's

16 underneath .        I don't see it depict ed here .           It could be

17 either   underneath      of the black bag , but all these item s

18 did come out of that lock ed box .

19 Q.         Now , they've    been tape d up .       Is that for

20 security     reason s we've wrapped       them up ?

21 A.         Yes, ma'am .

22 Q.         Finally , let me show you what's           mark ed as

23 Government 's Exhibit 10 .          Can you tell us what 's in

24 Government 's Exhibit        Oglethorpe    10 ?

25 A.         There is four magazine s for weapon s.              Look s like




                                                                     Page 165
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 166 of 231



 1 for small er caliber , like a . 22, and then the bigger

 2 caliber     bullet s for the bigger         magazine s, and then

 3 there are some bullet s on the bottom .

 4 Q.        Also re covered       from the same ?

 5 A.        Everything     --

 6 Q.        From the same toolbox ?

 7 A.        Everything     is re covered      from the same toolbox .

 8           MS. JOHNSTON:         Your Honor , if we could publish

 9 -- or at least     show these item s to the jury .

10           THE COURT:      You may dis play them .

11           MS. JOHNSTON:         I know they're    gun s.    Thank you .

12           THE WITNESS:         Just show them ?

13           MS. JOHNSTON:         Yes .

14           BY MS. JOHNSTON:

15 Q.        In addition     to R-19 , the red toolbox         that we've

16 mark ed as Oglethorpe         9, were there other tool boxes

17 re covered    from this location ?

18 A.        I'm sorry , ma'am ?

19 Q.        Were there other toolbox es re cover ed from           this

20 location ?

21 A.        Yes , there were .

22 Q.        Call ing your attention        to Government 's Exhibit

23 P-157 .     Do you recognize       what's    depict ed in P-157 , 158 ,

24 and 159 ?

25 A.        Yes, ma'am .        This is the -- another       toolbox   that




                                                                  Page 166
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 167 of 231



 1 was re covered     from the base ment .     What numb er is that ,

 2 ma'am , for me ?

 3 Q.       You would have to -- let me show you what's                   been

 4 mark ed as Government 's Exhibit         Oglethorpe       11 and ask

 5 you if you recognize        Oglethorpe    11 .

 6 A.       Yes, ma'am .      I do recognize        it .   This toolbox

 7 here was re covered       right at this corner          here , as you

 8 walk down the step s and you look forward , that 's this

 9 little   corner    right here , and that 's depict ed in that

10 very first picture .

11 Q.       Referring    to Government 's Exhibit           --

12 A.       Ri ght there .

13 Q.       -- P-157 .

14 A.       Yes, ma'am .

15 Q.       Do you recall      if that particular          tool box was

16 lock ed or un lock ed ?

17 A.       This particular      toolbox    was lock ed .

18 Q.       How did you get into that toolbox ?

19 A.       We had to pry it open .

20 Q.       What did you find in side Oglethorpe                 11 , or your

21 R-20 ?

22 A.       There was another      toolbox    in side of that , as

23 depict ed right here in this next picture                -- I can't

24 read the P number .

25 Q.       That would be P-158 , for the record .




                                                                     Page 167
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 168 of 231



 1 A.         And then once we pull ed this one out , what we

 2 re covered    within    this tool box , there was some jewelry ,

 3 there was some cash in there , and there was an ID card .

 4 Q.         In with the cash ?

 5 A.         Yes .   There was $5,940    in side this lockbox .

 6 Q.         Let me show you what 's been mark ed as Oglethorpe

 7 5 and ask you if you recognize           that identification

 8 card .

 9 A.         Yes, ma'am .    This is the      identification   card

10 that was re co ver ed from within        this toolbox   with the

11 money .

12            MS. JOHNSTON:     Your Honor , may I publish       the --

13            BY MS. JOHNSTON:

14 Q.         What is the name and expiration         date on that ?

15 A.         The name depict ed on this driver 's license         is

16 Washington , D. C. driver 's license          of Gary G. Vessel s,

17 the expiration      date is 10 /20 /2007 .

18            MS. JOHNSTON:     Your Honor , may we publish       this

19 identity     to the jury , please ?

20            THE COURT:     Yes , you may .

21            MS. JOHNSTON:     Thank you .

22            BY MS. JOHNSTON:

23 Q.         Now , what do we see here in Government 's Exhibit

24 P-159 ?

25 A.         That is the money that was re covered         from this




                                                                Page 168
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 169 of 231



 1 inner toolbox        and rubber    bands that were re covered       as

 2 well .

 3 Q.         Does that accurate ly reflect          the way the money

 4 was when you re cover ed it ?

 5 A.         Yes, ma'am .

 6 Q.         So you didn't    bundle     it up in that manner       and

 7 form ?

 8 A.         No, ma'am .

 9 Q.         Okay .    Now , was that the only two toolbox es you

10 re covered    from that location ?

11 A.         No , there were two other toolbox es .

12 Q.         Call ing your attention          to our next board .

13 Start ing with P-16 0, can you tell us what we are

14 observing     in photograph       P-16 0?

15 A.         This is where the toolbox           -- the other two

16 toolbox es that were re covered             in this back room here of

17 -- in the Base ment Area No. 3 , back in this little

18 corner .

19 Q.         Is that area depict ed on your chart ?

20 A.         Yes, ma'am .

21 Q.         Could you --

22 A.         I did .

23 Q.         Thank you .

24            All right .    If I could then begin by show ing you

25 the next exhibit , which is Oglethorpe              12 .   Again , all




                                                                   Page 169
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 170 of 231



 1 this black powder     that we're see ing .      Was that on it

 2 when you re covered       these item s?

 3 A.         No .

 4 Q.         There 's a sticker   on here say ing R-21 .      Is that

 5 your sticker ?

 6 A.         Yes, ma'am .

 7 Q.         What does that refer to ?

 8 A.         That refer s to the lock box -- the stick er refer s

 9 to ?

10 Q.         Yes .

11 A.         Just identifi es for me what lockbox        that was .

12 It depict s what R number       I gave to it during      the

13 search .

14 Q.         In reference    to R-21 , is it depict ed in any of

15 these photograph s having       been opened ?

16 A.         It 's going to depict    this one here , the very

17 first one .

18 Q.         That would be P-161,     for the record .

19 A.         Yes .

20 Q.         What did you dis cover in P-16 1?

21 A.         We had to break the lock off of this as well .

22 Once you open it , it was another         little   tray , and then

23 in side the tray , we re covered      the Rem ington    ammunition .

24 There 's some baggi es here , baggi es -- they call them

25 jewel baggi es , but we knew from experience           that 's how




                                                               Page 170
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 171 of 231



 1 you can package .

 2           MR. HALL:      Object ion .

 3           MR. MARTIN:      Objection .

 4           THE COURT:      Sustained .

 5           BY MS. JOHNSTON:

 6 Q.        What have you ever observe d pack aged in those

 7 small plastic     baggi es ?

 8           MR. MARTIN:      Objection .

 9           THE COURT:      Over ruled .

10           THE WITNESS:      Drug s.      All sort s of drug s.      There

11 was .38 caliber       ammunition     there , and there 's also .32

12 caliber   ammunition      as well as this little        tiny black

13 bag right there .

14           BY MS. JOHNSTON:

15 Q.        And did you seize the -- did you seize the item s

16 that were in the toolbox , your R-21 depict ed on our

17 P-16 1, and identifi ed as our Oglethorpe             12 ?

18 A.        Yes, ma'am .

19 Q.        We'll come back to that in a minute .               Now , you

20 mention ed there was also the fourth              toolbox    that was

21 re covered .

22 A.        That 's correct .     There was two here .          The fourth

23 one is on the bottom        and that is this toolbox           here .

24 Q.        Refer ring to    Picture      P-16 2?

25 A.        Yes, ma'am .




                                                                   Page 171
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 172 of 231



 1 Q.        Can you de scribe      what was re covered     in that

 2 toolbox ?

 3 A.        Re covered    in this toolbox , at the bottom         of it ,

 4 there were test kit s here .         These are cocaine      test

 5 kit s, there were two of them .            There was also this

 6 handgun     here that was re covered        and two magazine s for

 7 the handgun     as well as ammunition .

 8 Q.        Let me show you , first of all , what's          been

 9 mark ed as Government 's Oglethorpe           13 , which I believe

10 is your R-22 ; is that correct ?

11 A.        Yes, ma'am .

12 Q.        And again , this box didn't         have the black powder

13 on it when you re covered         it ; did it ?

14 A.        No, ma'am .

15 Q.        There 's a little      card in here , maybe in some of

16 these toolbox es .      Who put those cards in there ?

17 A.        Either    the re -- this look s like Rod rig uez did ,

18 wrote down item s that were found in side the toolbox .

19 Give s the time and date that it was found              and by whom .

20 Q.        Let me show you what's        been mark ed as

21 Government 's Exhibit      Oglethorpe       13 B.   Do you recognize

22 this exhibit       this time ?

23 A.        Yes, ma'am .     This is the weapon , the Ruger here

24 that 's depict ed right here .        This is the same gun that

25 was found in the bottom          portion    of that toolbox .




                                                                 Page 172
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 173 of 231



 1 Q.        Was it with load ed magazine s when you re cover ed

 2 it ?

 3 A.        What's   written   on my recovery     thing , it says

 4 with two magazine s, and that he         they were .45 caliber

 5 magazine s.

 6 Q.        Are they depict ed in the P-16 2?

 7 A.        Yes, ma'am .    They're     right there in the corner

 8 right next to the handgun        right here .

 9 Q.        Next , let me show you what's       been mark ed as

10 Government 's Exhibit 13 A.

11 A.        Yes, ma'am .    These are the two test kit s that we

12 found that are right here in the picture             right over

13 here .

14           MS. JOHNSTON:      Okay .    If we could publish     that

15 exhibit   to the jury , Your Honor .

16           THE COURT:     Yes , you may .

17           MS. JOHNSTON:      Thank you .

18           MS. JOHNSTON:      Court 's in dul gence one moment .

19           BY MS. JOHNSTON:

20 Q.        If we could go back to toolbox         -- if we could go

21 back to P-16 1, which was your Toolbox           No. 3 .

22 A.        Yes, ma'am .

23 Q.        Our Oglethorpe     12 and your R-21.       Let me show

24 you what's    been mark ed as Government 's Exhibit 12 A, and

25 it was our Toolbox       3, not your --




                                                                Page 173
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 174 of 231



 1 A.         They're     baggi es , the same as in the picture

 2 here .

 3 Q.         And Oglethorpe     12 B?

 4 A.         Again , the same baggi es that were in this

 5 picture    here .

 6 Q.         Referring     to Government 's Exhibit    P-16 1?

 7 A.         Yes, ma'am .

 8            MS. JOHNSTON:      If we could publish     those to the

 9 jury , Your Honor .

10            THE COURT:      Yes , you may .

11            MS. JOHNSTON:      Thank you .

12            BY MS. JOHNSTON:

13 Q.         Finally , show ing you what's      been mark ed as

14 Oglethorpe     12 C.

15 A.         Yes, ma'am .     This is the Win chester , the hollow

16 point bullet s that are right here , the picture

17 underneath     the black nylon bag .

18 Q.         Okay .    If you could open it so the juror s --

19            MS. JOHNSTON:      With the Court 's permission       may

20 we publish     this by just show ing it to them --

21            THE COURT:      You may .

22            MS. JOHNSTON:      -- as opposed     to pass ing it

23 around ?

24            THE WITNESS:      ( Witness   indicati ng she 's

25 exhibiting     the exhibit     to the jury .)




                                                                  Page 174
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 175 of 231



 1           JUROR:     May I see it , please .

 2           THE WITNESS:      I'm sorry , sir .

 3           MR. WARD :     Excuse me , Your Honor .

 4           THE WITNESS:      He asked me the caliber .

 5           MS. JOHNSTON:      You can just show the exhibit .

 6           BY MS. JOHNSTON:

 7 Q.        If you could identify        Oglethorpe   12 D.

 8 A.        These are the Rem ington       bullet s in the box

 9 there .

10 Q.        What caliber     are those ?

11 A.        These are .38 caliber .        (Witness   indicati ng she

12 is exhibiting      them to the jury .)

13 Q.        Corporal     Muldoon , if you would .

14           THE WITNESS:      I can't answer      any question s.

15           MR. WARD:      Your Honor , there 's clear ly some kind

16 of private     conversation .

17           MS. JOHNSTON:      Your Honor , I think the juror has

18 a question .

19           MR. WARD:      If the juror want s to ask a question ,

20 there 's a way to do it .

21           THE COURT:      If the juror want s to ask a

22 question , you need to tell me you want to ask a

23 question .

24           JUROR:     I'd like to ask a question .

25           THE COURT:      Go ahead .




                                                                Page 175
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 176 of 231



 1           JUROR:      I want to know the caliber      and whether

 2 they're     hollow    point s or not .

 3           THE COURT:       He wants to know the caliber and

 4 whether they're hollow points or not.

 5           BY MS. JOHNSTON:

 6 Q.        Referring first to       12B.

 7 A.        This is a .38, it is not hollow.

 8 Q.        And going back, then, to the gun distributed at

 9 Oglethorpe     12C.      Does it indicate on the box what the

10 caliber is?

11 A.        This is a .32 caliber , and it is a hollow           point .

12 Q.        Now , continui ng with our picture s here ,

13 Photograph     P-16 4.     What is depict ed in that photograph ?

14 A.        This is the cabinet       right here .    You can see a

15 the corner     of it here .     The cabinet    in the base ment .

16 Again , in the Base ment No. 3 .          It 's going to be right

17 here , Room No. 3 .

18 Q.        That is the two -- the last two toolbox es , 3 and

19 4?

20 A.        Yes, ma'am .

21 Q.        Were locate d immediate ly adjacent        to this

22 cabinet ?

23 A.        Yes, ma'am .

24 Q.        Now , could you tell us what we're look ing at in

25 P-16 5?




                                                                Page 176
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 177 of 231



 1 A.         Once you open up this door here --

 2            JUROR:     We can't see it .

 3            MS. JOHNSTON:      I'm sorry .

 4            BY MS. JOHNSTON:

 5 Q.         Call ing your attention         to P-16 5.

 6 A.         When you open ed up the door s to this cabinet ,

 7 you see in side here , and on the bottom , there in this

 8 corn er is a black duffel         bag .     Further , once we opened

 9 up the black duffel        bag in P-16 5, we re covered

10 marijuana     in side that bag .

11 Q.         Okay .    May I please   have Government 's Exhibit

12 Drug s 25 and 25 A?       Show ing you what 's -- you've        already

13 discuss ed P-16 5.       What's   depict ed in P-16 5, for the

14 record ?

15 A.         When we opened     up the black duffel       bag here , we

16 found marijuana .

17 Q.         If you could tell the jury what's , first of all ,

18 in Drug s 25 -- 25 A, what is --

19 A.         25 A is the black nylon bag , as you can see in

20 this picture        here and again in this picture .

21 Q.         Referring    to P-16 5 and 16 6.

22 A.         Yes, ma'am .

23 A.         And then attach ed to the same item is the

24 marijuana     that was re covered         from the same bag .

25 Q.         That 's evidence    that 's identifi ed as Drug s 25 ;




                                                                   Page 177
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 178 of 231



 1 is that correct ?

 2 A.       Yes, ma'am .

 3 Q.       And these were previously          admitted   into

 4 evidence ?

 5 A.       Yes, ma'am .

 6          MS. JOHNSTON:       Your Honor , if we could publish

 7 this item as well .

 8          THE COURT:      You may .

 9          BY MS. JOHNSTON:

10 Q.       Now , if I could show you what's         been mark ed as

11 Government 's Exhibit      Drug s 27 .

12          Court 's indulgence      one moment .

13          Call ing your attention         to Photograph   P-16 7, 168 ,

14 and 169 .    Can you tell us what's        depict ed in those

15 photograph s?

16 A.       Get ting back to my diag ram, as you walk into

17 this back room , Room No. 3 , it kind of circle s around ,

18 and in this area here , you can see this wash er /dr yer

19 set up , and then on top of it was this black suitcase

20 here .

21          In the second     picture   --

22 Q.       P-168 , for the record .

23 A.       -- we un zip ped the front area here , and you

24 could see marijuana       in that area once we opened         up the

25 rest of the suitcase .




                                                                 Page 178
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 179 of 231



 1           In the third picture , P --

 2 Q.        P-169 , for the record .

 3 A.        There was other marijuana        re covered .

 4 Q.        And show ing you what's      been mark ed as Drug s -- I

 5 should    say admitted    as Drug s 27 .    Do you recognize     this

 6 suitcase ?

 7 A.        Yes, ma'am .    That is the same suitcase        that we

 8 re covered   from that base ment area .

 9 Q.        Does it contain     what was previous ly admitted ,

10 the drug s that were identifi ed as Drug s 25 ?

11 A.        Yes, ma'am .    This is the marijuana       that was

12 re covered   from that same suitcase .

13 Q.        Drug s 27 , for the record .      Is that the number

14 that 's on here in Drug s 27 ?

15 A.        Yes, ma'am .

16 Q.        Okay .

17 A.        Yes, ma'am .

18 Q.        Does this accurate ly depict       the way the

19 marijuana    was when it was re covered ?

20 A.        Yes , it is .   You can even tell in that last

21 picture    there with the Ziploc s, a purple         Ziploc   baggy ,

22 top s of the Hefty bag .

23           MS. JOHNSTON:      Your Honor, we     won't move to

24 publish    this at this time because        I think was publish ed

25 the other day with the chemist .




                                                                 Page 179
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 180 of 231



 1          THE COURT:        You may .

 2          BY MS. JOHNSTON :

 3 Q.       Now , if we could go to our next set of picture s,

 4 Government 's Exhibit       P-17 0, P-17 1 and P -- let 's go

 5 with P-17 0 and P-17 1 first .          What is depict ed on those

 6 photograph s?

 7 A.       Th e first picture      here , this is the round table

 8 in the corner , which on my diagram           is right there .

 9 It 's the same round table .           This is a picture    of what

10 is on top of that table , and you can see a razor blade

11 here , there 's some document s, there is a lot of

12 different    thing s on top of this desk that we went

13 through .

14 Q.       And are those items that you record ed as being

15 R-23 ?

16 A.       Yes .

17 Q.       Show ing you first what's         been mark ed as R-15 .

18 A.       Yes, ma'am .       These are the zip tie bag s.

19 Q.       Strike   that .     That 's Oglethorpe    15 .

20 A.       You can see these baggi es .         They're     right there

21 on this picture .

22 Q.       That would be in P-17 0.          Why would you seize

23 this box of baggi es ?

24 A.       People   use those to put drug s in .

25 Q.       Okay .   Now call ing your attention        to the next




                                                                 Page 180
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 181 of 231



 1 exhibit , Oglethorpe       16 .    Can you tell us what that is ?

 2 A.         This is a Ourisman       Part s receipt .    It 's for $40 .

 3 Oh, this is an Ourisman           Part s receipt .   I don't know       if

 4 it has any other significance .

 5 Q.         In reference    to this receipt , does it say where

 6 the item s should       be ship ped to ?

 7 A.         I can't pronounce       it .   Cirilo ?   Which part ?

 8 Q.         Do you see where it says ship ped to ?          Who does

 9 it say to ship to ?

10 A.         I'm not very good at pronounci ng this .             It 's

11 Cirilo , C I R I L O, and the next initial              is C.     And

12 the last is G U E R R E R O.

13 Q.         And does it say -- what does it say above that

14 name that you've        just spell ed ?

15 A.         It's Lobo 's Dis count Car Center .

16 Q.         At what address ?       Does it give an add ress ?

17 A.         On the other side , there 's a bill ing add ress .

18 Q.         Which is what ?

19 A.         4400 Branch    Avenue in Mar low Height s.

20 Q.         Is that the address        of the Ourisman    Part s

21 Center ?

22 A.         Yes, ma'am .

23            MS. JOHNSTON:      Your Honor , if we could publish

24 Government 's Exhibit       Oglethorpe      15 and 16 to the jury .

25            THE COURT:     You may .




                                                                   Page 181
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 182 of 231



 1          BY MS. JOHNSTON:

 2 Q.       Let me show you next what 's been mark ed as

 3 Oglethorpe     19 .

 4 A.       Yes, ma'am .

 5 Q.       Look at that and tell us that is .

 6 A.       These were two calculat or s that we re covered ,

 7 all off of that same table top here .

 8 Q.       Show ing you what 's been mark ed as Oglethorpe              17 .

 9 A.       These are play ing cards .        Again , the cards as --

10 you can see some of the cards here in this box lid .

11 Again , it was re covered       from on top of the table .

12 Q.       If I could have Drug s 22 and Drug s 23 , please .

13 I have Drug s 23 here .        Let me show you what's      been

14 mark ed as Government 's Exhibit        Drug s 23 and ask you if

15 you recognize         that exhibit .

16 A.       These are bag gies that have a residue           in side ,

17 and again , they were re covered        from the same tabletop .

18 Q.       Show ing you 's been mark ed as Drug s 22 --

19 admitted     as Drug s 22 .    Do you recognize      that exhibit     as

20 well ?

21 A.       Yes .    This is a marijuana      pouch .    That bag of

22 marijuana     that was also re covered      from the same

23 tabletop .

24 Q.       In reference       to Drug s 23 , what kind of residue

25 did you say it was seize d for ?




                                                                Page 182
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 183 of 231



 1 A.        Cocaine .

 2 Q.        Show you next what 's been mark ed as Government 's

 3 Exhibit    Oglethorpe    20 , still part of your R-23 .        Can

 4 you just tell us what that is ?

 5 A.        These are rubber     bands , assorted    different     size

 6 rubber    bands that were re covered      from the same

 7 tabletop .

 8 Q.        Were there also some document s re covered          from

 9 that tabletop ?

10 A.        Yes .

11 Q.        Before    we go over the    document s on the tabletop ,

12 let 's go next to P-17 2.      Can you tell us what P-17 2 is ?

13 A.        This is a box of document s re covered        from there .

14 There was a scale , I believe         -- let me double      check .

15 Cell phone item s were in this as well .          There were a

16 lot of different       thing s jumbled   up in side this box .

17 Q.        Look look ing next at Government 's Exhibit          P-17 3.

18 If you could tell us what's          depict ed in P-17 3.

19 A.        These are -- this is a blue duffel         bag that was

20 right there at the bottom        of the -- you could see ,

21 like , there 's a bike area in the bottom         portion     of the

22 table right here , so it 's in that general          area where

23 these were .       In side there were packaging     materials .

24 Q.        Can I have the over all -- one of the other

25 chart s, please ?      Show ing you P-153 , do you see that




                                                                Page 183
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 184 of 231



 1 first photograph ?

 2 A.         Yes, ma'am .   You can see the blue duffel        bag

 3 right there on the floor .

 4 Q.         That give s us an idea ?

 5 A.         An idea of where it was , yes, ma'am .

 6 Q.         Where the table was , where it was , and where the

 7 first lockbox     we discuss ed was ; is that correct ?

 8 A.         Yes, ma'am .

 9 Q.         That was the lockbox    with the drug s in it ; is

10 that correct ?

11 A.         Yes, ma'am .

12 Q.         Let me show you next what 's been mark ed as

13 Oglethorpe     33 and ask you if you recognize        that

14 exhibit .

15 A.         That is the blue bag that was re covered , and

16 again , it 's in these last two picture s here and here .

17 Q.         Referring   to Photograph   P-17 3 and 17 4 for the

18 record .    Could you de scribe    for the ladies and

19 gentlemen of the jury       what was re covered     in Oglethorpe

20 33 ?

21 A.         There was a scale that was re covered .

22 Q.         First of all , if we could just turn the bag --

23 allow the jury to see the content s.

24 A.         We have .

25 Q.         Start ing with here , this is Oglethorpe       33 C.




                                                                Page 184
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 185 of 231



 1 A.       Assorted    baggi es , differing       size s.

 2 Q.       Do you how many baggies are            in there ?

 3 A.       Several    hundred .      There is a lot of baggi es .

 4          MS. JOHNSTON:       Could we publish       this to the

 5 jury , please ?

 6          THE COURT:      Yes , you may .

 7          BY MS. JOHNSTON:

 8 Q.       Show ing you next Oglethorpe           33 D, if you could

 9 de scribe    what those are .

10 A.       These are rubber       glove s also re covered       within

11 this bag .     Publish   these ?

12          BY MS. JOHNSTON:          If we could publish       those as

13 well , Your Honor .

14          THE COURT:      Yes , you may .

15          BY MS. JOHNSTON:

16 Q.       Why did you seize the rubber            glove s?

17 A.       People    use glove s so that their hands don't get

18 contaminate d with anything .

19          MR. MARTIN:      Objection .

20          THE COURT:      Over ruled .

21          BY MS. JOHNSTON:

22 Q.       Let me next show you what's            mark ed as Oglethorpe

23 33 A.

24 A.       This is a scale that has cocaine            residue    on it .

25 Q.       Show ing you Oglethorpe        33 B.




                                                                  Page 185
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 186 of 231



 1 A.          This , too , is a scale .      Both of them were

 2 re covered     from within    this bag .

 3             MS. JOHNSTON:      If we could publish      Government 's

 4 Exhibit     33A and 33 B.

 5 Q.          And in regards     to the content s of 33 , are there

 6 more bag s, other than the one s we 've individual ly

 7 mark ed ?

 8 A.          Yes, ma'am .    And more glove s as well .

 9 Q.          Could you hold some up so the jury can see them ?

10 A.          (Witness    indicati ng .)

11 Q.          What is this item here ?

12 A.          That look s to be , like , a mask people       might use

13 to not breathe         in certain    thing s.

14             MR. MARTIN:     Objection .

15             THE COURT:     Over ruled .

16             BY MS. JOHNSTON:

17 Q.          And this little     baggy here ?

18 A.          Yes, ma'am .    It has some sort of substance

19 in side there .

20 Q.          A white powdery     substance ?

21 A.          Yes .

22 Q.          Let me show you what's        been mark ed as and

23 introduced      into evidence       as Drug s 21 .   Can you tell us

24 what these item s are ?

25 A.          The blue gym bag , this is cocaine         powder   residue




                                                                   Page 186
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 187 of 231



 1 on the -- in baggi es that were recovered .

 2            MS. JOHNSTON:     If we could publish      that to the

 3 jury as well , Your Honor .

 4            THE COURT:     Yes , you may .

 5            MS. JOHNSTON:     Thank you .     Your Honor , I believe

 6 that I can have the witness          take the stand and finish

 7 the remain ing -- remainder         of the exhibit s.     We'll take

 8 the photo board down and hope fully everyone            -- if

 9 somebody    can't see her , let us know .        We'll move some

10 other item s.

11            THE COURT:     Because   we're going to be finish ing

12 at 4:15 or so , why don't we take a 15 -minute            break now

13 and then you can get all set up .

14            MS. JOHNSTON:     Thank you , Your Honor .

15            MR. MARTIN:     Your Honor , sir , may I approach ?

16            THE COURT:     Yes .

17                  (At the bar of the         Court.)

18            MR. MARTIN:     Your Honor , if the juror s have a

19 question , I would like to request           that first the

20 question    be put in writing , submitted        to you , and then

21 after the witness        has finish ed testifying , the lawyer s

22 have an opportunity        to look at the question      before   they

23 put it to the witness .

24            THE COURT:     I'd prefer   that , to o, but this is

25 just one question .




                                                                Page 187
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 188 of 231



 1          MR. MARTIN:      I don't know     if it 's going to

 2 happen   again .

 3          THE COURT:      I don't    want this to become      a habit .

 4 Trust me .

 5          MR. MARTIN:      I know in Virginia      they do it,     and

 6 in the military      they do it .

 7          MS. JOHNSTON:       Perhaps   at the end of the day ,

 8 the Court could instruct        them , if you have any more

 9 question s.

10          MR. SUSSMAN :     Keep them to yourself .

11          THE COURT:      No , I'm not going to en courage       it .

12                        (Back in open court .)

13          MS. GREENBERG:       Your Honor , there are certain

14 item s the jury was n't done with .

15          THE COURT:      Then when we come back , they can

16 look at them .

17                        (Jury excused at 3:10 p.m.)

18                        (Off the record at 3:10 p.m.)

19                        (On the record      at 3:26 p.m .)

20          THE COURT:      Have changed    the courtroom      from meat

21 locker   position    to sauna position .      I've told Bea to

22 communicate    with them and ask,       could they please

23 com promise between sauna       and meat locker ?

24          MR. MARTIN:      We will all be asleep in a half

25 hour .




                                                                Page 188
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 189 of 231



 1          THE COURT:      I have to do a sentenci ng at 4:30 ,

 2 too , so I'm go ing to     throw you out of here between         4:15

 3 and 4:30 .

 4          Ready for the jury ?

 5          MS. GREENBERG:       Yes, sir .

 6          THE COURT:      Bring them in .

 7                  (Witness    resume s the stand .)

 8          THE COURT:      I'm going to me ntion to the jury

 9 about question s.

10          MS. JOHNSTON:       Your Honor , they will also get

11 the evidence     back in the jury room .

12                  (Jury returns      at 3:29 p.m. )

13          MS. GREENBERG:       Judge , while you were up at the

14 bench , I did take the exhibit s that were publish ed to

15 the jury .

16          THE COURT:      You may publish     the one s that were

17 in the process     of being publish ed .

18          MS. GREENBERG:       I don't know    what they were , but

19 I trus t the foreperson      --

20          THE COURT:      Ladies and gentlemen     , let me explain

21 one thing to you about question ing of witness es .             The

22 role of question ing witness es is assigned           to the

23 attorney s in the case s.         On rare occasion s, and I think

24 you 've seen how rare it is , the judge asks question s,

25 this one does n't , and even rarer occasion s, juror s do ,




                                                                Page 189
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 190 of 231



 1 but if you really        do feel a need to ask a question , and

 2 I don't want to dis courage        you from that , what you

 3 should     do is write it down on a piece of paper and then

 4 I will eval uate it with the           attorney s and then we'll

 5 ask it , but you should        put it in writing .

 6            You may proceed .

 7            MS. JOHNSTON:      Thank you , Your Honor .

 8            BY MS. JOHNSTON:

 9 Q.         If we could , Ms. Mul doon , go back to your R-23 ,

10 which I believe      are the document s and other item s that

11 were on top of the         round table that were still on the

12 board;     is that correct ?

13 A.         Yes, ma'am .

14 Q.         I want to show you what's        been mark ed as

15 Oglethorpe     23 , and I'll just put them up here .          And

16 what do we see here in Oglethorpe            23 ?

17 A.         Those are four bullet s that were re covered         from

18 on top of the table and they were package d in that same

19 manner .

20 Q.         So you didn't     alter -- you didn't     put them in

21 that plastic     baggy ?

22 A.         No, ma'am .

23            MS. JOHNSTON:      If we could publish     Oglethorpe

24 23 .

25            THE COURT:      You may .




                                                                 Page 190
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 191 of 231



 1            BY MS. JOHNSTON:

 2 Q.         Going back to Oglethorpe        18 .     Again , is this

 3 part of your R-23 ?

 4 A.         Yes, ma'am , it says       Learley     Goodwin.

 5 Q.         Do you recognize     the name on that document ?

 6 A.         This is a District        Court of Maryland        from Prince

 7 George's     County .    I believe    it 's a circuit        court --

 8 district     court case .

 9 Q.         Okay .    Let me open it up and see if there 's a

10 date on it .        Is there a date on it ?

11 A.         The date on that document        says 12 /23 /03.

12 Q.         And also in that en velope -- or is there some

13 notation s on the back of that envelope ?

14 A.         Yes, ma'am .     There are cell phone number s or

15 tel ephone    number s on the back of that envelope .

16 Q.         The document s that we saw from before              lunch ,

17 those were re covered       from the draw er in kitchen;            is

18 that correct ?

19 A.         Yes, ma'am .

20 Q.         These item s, again,       were re covered    from where?

21 A.         On the top of the        table in the     base ment .

22 Q.         The round table?

23 A.         The round table.

24 Q.         And Oglethorpe     24.

25            MS. JOHNSTON:      Yes , Your Honor , if we could




                                                                      Page 191
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 192 of 231



 1 publish     Oglethorpe    18 .

 2           THE COURT:      Yes , you may .

 3           BY MS. JOHNSTON:

 4 Q.        Do you see Oglethorpe         24 ?   What is that ?

 5 A.        That 's a little        tiny baggy with suspect ed

 6 residue     in side .   I can see that on there .

 7           MS. JOHNSTON:          If we could publish      Oglethorpe       24

 8 to the jury as well .

 9           BY MS. JOHNSTON:

10 Q.        And again , comi ng from the same place , that

11 round table in the base ment ?

12 A.        Yes, ma'am .

13 Q.        If one of these item s I'm going through                now

14 didn't    come from there , will you please            let us know ?

15 A.        Yes, ma'am .

16 Q.        Show ing you next Oglethorpe          25 .    What is

17 Oglethorpe     25 ?

18 A.        It 's a Tanita     scale s warranty .        We re covered

19 that scale in another            location , but that warranty        was

20 re covered    from on top of the table .

21 Q.        And Oglethorpe         26 , are these various     slip s of

22 paper s with number s on them ?

23 A.        Yes, ma'am .     Again , those were re covered           from on

24 top of the table in the base ment .            Those are just

25 number s.     Look s like tel ephone      number s.




                                                                     Page 192
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 193 of 231



 1            MS. JOHNSTON:      Your Honor , can we publish          like

 2 wise Oglethorpe        25 and Oglethorpe     26 ?

 3            THE COURT:      You may .

 4            BY MS. JOHNSTON:

 5 Q.         And next let me show you Oglethorpe            27 .    Do you

 6 recognize     these document s?

 7 A.         Yes, ma'am .     Again , that 's a court document         for

 8 Mr. Goodwin        for a district     court case .    I'm sorry ,

 9 circuit    court case , thank you , for the state of

10 Maryland     in Prince     George's    County .

11 Q.         And is there a date on it in term s of when it

12 was issue d?

13 A.         January    --

14 Q.         When it was issue d?

15 A.         Date of return     is January     9, '04.

16 Q.         And right above that , is the issue date on

17 there ?

18 A.         I'm sorry , thank you , ma'am .          The issue date on

19 that document        is December , 2003 .

20 Q.         If we were to compare        the previous     court

21 document     with this document , Page 1 of Oglethorpe              27 --

22 are there case number s on the top in reference                  to the

23 district     court matter     that would allow you to see if

24 they were the same case ?

25 A.         Yes .




                                                                    Page 193
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 194 of 231



 1 Q.         And the district     court number    would be which

 2 number ?

 3 A.         The district    court number    is that CR number ,

 4 that 's CR4E00216458 .

 5 Q.         And the case number , is that a district          court or

 6 circuit     court ?

 7 A.         The top one is a circuit       court case .     It's

 8 CT031730X.

 9 Q.         And again in here , is there a -- do you

10 recognize     that document ?

11 A.         Again , these document s were re covered        from the

12 top of that table in the base ment .

13 Q.         And does    this page have the same circuit        court

14 number ?

15 A.         Yes, ma'am , it does without       the CT.

16 Q.         Look ing at this page of the       document , let me

17 zoom it out a little        bit .   Can you tell who was

18 charge d?

19 A.         Learley    Reed Goodwin .

20 Q.         And the event he was charge d with happened            on or

21 about what date ?

22 A.         On or about the 25th day of November , 2003 .

23 Q.         And in what county ?

24 A.         In Prince    George's    County , Maryland .

25            MS. JOHNSTON:     If we could publish        Oglethorpe    27




                                                                Page 194
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 195 of 231



 1 as well .

 2            THE COURT:      You may .

 3            BY MS. JOHNSTON:

 4 Q.         Oglethorpe     21 , do you see that piece of paper ?

 5 A.         Yes, ma'am .

 6 Q.         Was that , like wise , re covered      from the tabletop ?

 7 A.         Yes, ma'am .     That was also re covered        from the

 8 tabletop     in the base ment .        It has name s and phone

 9 number s and there 's an address           on there .

10 Q.         I want to bring you -- before          I put it up on the

11 screen , Oglethorpe       22 , when I put it up on the screen ,

12 I'm going to ask you about the post mark , so if you want

13 to look at it a little         bit close ly .

14 A.         Yes, ma'am .

15 Q.         Okay .   Now , show ing you Oglethorpe       22 .   Was this

16 item like wise re covered       from that same table ?

17 A.         Yes, ma'am .

18 Q.         And who is that address ed to ?

19 A.         Mr. Goodwin , Mr. Learley        Goodwin , Sr.

20 Q.         What is the date of the post mark ?

21 A.         May 22 -- is it '03?          I can't see it on mine .       I

22 didn't mean     -- May 22 of 2003 .

23 Q.         And again , were there number s on the back of

24 that when you re covered        it ?

25 A.         Yes, ma'am .




                                                                  Page 195
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 196 of 231



 1           MS. JOHNSTON:      If we could publish         these

 2 exhibit s as well , Your Honor .

 3           THE COURT:      You may .

 4           MS. JOHNSTON:      Thank you .

 5           BY MS. JOHNSTON:

 6 Q.        I belie ve when we were look ing at the

 7 photograph , there was a photograph           of a box next to the

 8 table .   Do you recall      that ?

 9 A.        Yes, ma'am .

10 Q.        And did you seize item s from that box ?

11 A.        Yes, ma'am .

12 Q.        And those are identifi ed as your Exhibit              R-29 ?

13 A.        Yes, ma'am .

14 Q.        Is that correct ?

15 A.        Yes, ma'am , it is .

16 Q.        Let 's begin with Oglethorpe        32 .   Let me bring it

17 over to you .     What is Government 's Exhibit          Oglethorpe

18 32 ?

19 A.        That 's going to be a -- it 's a memory           pocket

20 tone dial er from Radio Shack .

21           MR. WARD:      I'm sorry , memory    what ?

22           THE WITNESS:      It says it 's a 60 memory        pocket

23 tone dia ler .

24           MR. WARD:      Tone dia ler .    I'm sorry .

25           THE WITNESS:      From Radio Shack .




                                                                    Page 196
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 197 of 231



 1          BY MS. JOHNSTON:

 2 Q.       Oglethorpe     29 .

 3 A.       Again , this is a document        that was re covered

 4 from that box .      It has address es on there , a name and a

 5 phone number .

 6 Q.       And the name and the address         on that piece of

 7 paper is where ?

 8 A.       It 's for Steve n Campbell      at 862 Mar colin Str eet

 9 in Houston , Texas .

10 Q.       The other individual ?

11 A.       It 's Tiffany    Vessel , 5812 Herrington        Dri ve ,

12 Orlando , Florida .

13 Q.       And in addition        to those two , there are some

14 other name s and information         on the in side ?

15 A.       Yes, ma'am .

16          MS . JOHNSTON:        If we could publish      those two

17 exhibit s to the jury .

18          THE COURT:      You may .

19          BY MS. JOHNSTON:

20 Q.       Next let me show you what's         been mark ed as

21 Oglethorpe    28 .   Do you recognize     the content s of

22 Oglethorpe    28 ?

23 A.       Yes, ma'am .     These item s were re covered        from

24 within   the box .    They are razor blades .

25 Q.       First call ing your attention        to the Stanley         box




                                                                 Page 197
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 198 of 231



 1 that 's in that exhibit .          Are those use d or new razor

 2 blades ?

 3 A.         Those are brand new razor blades .

 4 Q.         Then there 's a baggy with some item s in it .

 5 A.         Right , and then there are some new razor blades ,

 6 and then there are some razor blades             that don't have a

 7 pro tec tive covering      on them .

 8 Q.         And then there are a couple         of little   baggi es in

 9 there ?

10 A.         Yes, ma'am .

11 Q.         And in the white box is what ?

12 A.         More razor     blades   without   the pro tec tive

13 covering    on there .

14 Q.         Why did you seize the razor blades ?

15 A.         One can use the razor blades         to cut cocaine .

16 Q.         Would that be powder        or crack cocaine    or both ?

17 A.         It could be use d for both , yeah .

18            MS. JOHNSTON:      If we could publish      Oglethorpe

19 28 , please .

20            THE COURT:      You may .

21            BY MS. JOHNSTON:

22 Q.         Next let me show you what 's been mark ed as

23 Oglethorpe      30 .   Do you see that item ?

24 A.         Yes, ma'am .     That was a scale that was re covered

25 from the box .




                                                                   Page 198
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 199 of 231



 1 Q.       From the box in the base ment ?

 2 A.       Yes, ma'am , the box in the base ment .

 3          MS. JOHNSTON:       Your Honor , if we could publish

 4 Oglethorpe    30 .

 5          THE COURT:       You may .

 6          BY MS. JOHNSTON:

 7 Q.       And next , let me show you what's          been mark ed as

 8 Oglethorpe    31 .    Do you recognize    those document s?

 9 A.       Yes, ma'am .      That was also re covered         within   the

10 box in the base ment .

11 Q.       Okay .      First , let me call your attention         to the

12 notice   of District of      Columbia   Notice of Infraction ,

13 and let me --

14 A.       Thank you .

15 Q.       -- zoom in on it .       And if you need to see it up

16 close , let me know .

17 A.       That 's fine .

18 Q.       In whose name is that citation          written ?

19 A.       Learley      Reed Goodwin .    It says September       3 --

20 September    -- I don't know     if that 's '03.

21 Q.       I will bring it up to you .

22 A.       Thank you .

23          MR. MARTIN:       Which number    is this , Counsel ?

24          MS. JOHNSTON:       This is Oglethorpe      31 .

25          MR. MARTIN:       Thank you , ma'am .




                                                                  Page 199
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 200 of 231



 1           MS. JOHNSTON:      It 's three piece s of paper .

 2           THE WITNESS:     Tuesday , the 9th day of September ,

 3 2003 , at 9:40 in the evening .

 4           BY MS. JOHNSTON:

 5 Q.        And what 's the date on th is infraction ?

 6 A.        That 's the date on it .

 7 Q.        And it 's listed       to whom ?

 8 A.        Mr. Learley    Reed Goodwin .

 9 Q.        Found again where ?

10 A.        In the box in the base ment .

11 Q.        Let me show you also the document s that are in

12 there .   What's the date on this document ?

13 A.        August   18 , 2003 .

14 Q.        Okay .   And who is the insurance         company ?

15 A.        B I T U M I N O U S.

16 Q.        Where are they locate d?           In what state ?

17 A.        They are in Louisiana , in New Orleans .

18 Q.        Who is that address ed to ?

19 A.        That is to John D. Irby , care of Maurice

20 Alexander , Washington , D. C .

21 Q.        Does it indicate        the date and the time of the

22 accident ?    Or the DL, loss ?

23 A.        It's going to be on 8/15 /03.

24 Q.        Does it indicate        the location    of that accident ?

25 A.        It 's going to be in -- off of High way 17 1 in




                                                                   Page 200
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 201 of 231



 1 Deridder , Louisiana .

 2 Q.       And in the attach ed letter , does that also

 3 relate   to the same accident ?

 4 A.       Yes, ma'am .

 5 Q.       And the date of that letter ?

 6 A.       August   30 of 2003 .

 7 Q.       Court 's indulgence .

 8          MS . JOHNSTON:      I have no further      question s of

 9 this witness , Your Honor .

10          THE COURT:       Okay .   Cross-exami nation .

11          MS. JOHNSTON:       Your Honor , if we could publish

12 the las t exhibit s.

13          THE COURT:       Okay .

14                           CROSS-EXAMINATION

15          BY MR. MONTEMARANO :

16 Q.       I have   a little    trouble    keep ing up , so I'd like

17 your help , if I could .

18 A.       That 's fine .

19 Q.       This is Oglethorpe        9A.   This is a .22 Caliber

20 Dering er firearm ; correct ?

21 A.       Give me a sec ond.        Let me put my item s in order .

22 Yes, sir , that is .

23 Q.       And this is operable ?

24 A.       I did not test fire it , sir .

25 Q.       Okay .   This is Davis Industri es , .380 Caliber




                                                                Page 201
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 202 of 231



 1 semiautomatic ?

 2 A.       I'm sorry , is it what ?

 3 Q.       A Davis Industri es , .380 Caliber        semiautomatic ?

 4 A.       Yes .

 5 Q.       The second    firearm ?

 6 A.       I'm sorry ?

 7 Q.       I said that 's the second      firearm ; right ?

 8 A.       Yes, sir .

 9 Q.       This is a Ruger , Sturm Ruger .45 caliber ?

10 A.       Yes, sir .

11 Q.       Semiautomatic ?

12 A.       Yes, sir .

13 Q.       And these . 22 rounds     fit the -- 9E fit the

14 Deringer ?

15 A.       I am not an ex pert on gun s, so I just re covered

16 those item s, sir .

17 Q.       These are . 38 0 auto s, Winchester.        That 's 9D.

18 These probably    fit the Davis Industry        . 38 0; right ?

19 A.       Sir , again , I'm not an ex pert on weapon s.            I

20 know how to fire mine and what         goes in my weapon , but I

21 don't know   anything    else about gun s.

22 Q.       If I could ask you to      look at these two set s of

23 .22 s.   These are 9C for Charlie,       and 9E for Echo.

24 These are both . 22 , right ?      As far as    you can tell ?

25 A.       Yes, sir , they are .




                                                               Page 202
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 203 of 231



 1 Q.        They're    not the same kind , are they ?        They're

 2 take n in different      firearm s because    you require     a

 3 different     size chamber   for them , do you not ?

 4           MS. JOHNSTON:      Your Honor , objection .       The

 5 witness   has said she does n't know firearm s.

 6           THE COURT:     Mr. Montemarano , she 's said she 's

 7 not an ex pert on firearm s.

 8           MR. MONTEMARANO :     I will    let the jury look at

 9 them and make their own -- may I publish              these to the

10 jury , Your Honor ?

11           THE COURT:     You may .

12           BY MR. MONTEMARANO :

13 Q.        Then is 12 C for Charlie , these are . 32 auto matic

14 cartridge s; correct ?

15 A.        Well , my 12 -- your item number s are different

16 than mine .     That 's why I can't keep up with you , sir .

17 These are the Winchester . 32s.          That's     correct , sir .

18 Q.          These are not going to fit any of those

19 firearm s over there ; is that correct ?

20 A.        Unless    it 's .32 caliber    weapon .

21 Q.        Which none of them are ; correct ?

22 A.        Right .

23 Q.        12 D for Delta , which feel s to be a pretty            full

24 box of . 38 special ?

25 A.        Right .




                                                                Page 203
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 204 of 231



 1 Q.         Those are not going to fit into those weapon s

 2 either ?

 3 A.         Right .

 4 Q.         Oh , yeah .   This is another        .32 caliber   bullet ;

 5 correct?      This single     one here ?

 6 A.         Yes, sir .    I believe    it is .     That 's the one that

 7 was re covered       from on top of the -- yeah .

 8 Q.         Three weapon s, four kinds of ammunition            -- oh

 9 no , more ammunition       here .    Oglethorpe     10, these are the

10 magazine s for some of the weapon s along with ammunition

11 from the magazine s?

12 A.         Right .    They were re covered       with the gun .

13 Q.         And these , it would appear          from their dimension ,

14 these are probably        . 45 s?

15 A.         Yes .

16 Q.         So these would fit -- are going to fit the big

17 gun probably .

18            MS. JOHNSTON:      Objection , this witness        has said

19 she does n't know firearm s.

20            THE COURT:     Yeah .    There 's a limit on this , Mr.

21 Montemarano .        I don't know    if she can tell you that .

22            BY MR. MONTEMARANO :

23 Q.         Base d upon your 18 year s as a Prince         George's

24 County     police officer , 15 year s of which you spent in

25 narcotic s, you would agree that fingerprint ing evidence




                                                                  Page 204
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 205 of 231



 1 seize d in a drug seizure       is discretionary      on the

 2 arresting    or seizi ng officer ; is that a fair statement ?

 3 A.        Yes .

 4 Q.        You were not the case agent ; correct ?

 5 A.        Correct .

 6 Q.        So you did not make a decision        whether     or not    to

 7 print anything ; is that a fair statement ?

 8 A.        Yes, sir .

 9 Q.        Based upon your 18 year s as a Prince           George's

10 County    police officer     and a 15 year s in narcotic s, the

11 condition    of -- this is Government       13 -- Oglethorpe         13 .

12 This item appear s to have been print ed ?

13 A.        Yes, sir .

14 Q.        In side and out ; correct ?

15 A.        From where my vantage       point is , yes .

16 Q.        I'll tell you what .

17 A.        Do you want me to --

18 Q.        Let us not guess .

19 A.        Top is .     I don't know   if the bottom      tray is .

20 Yes , everything      --

21 Q.        My words exact ly .    Everything .    Every surface

22 has been print ed so somebody         want ed this print ed ;

23 right ?

24 A.        Yes .

25 Q.        Because     this is not the shape or the condition




                                                                Page 205
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 206 of 231



 1 in which it was seize d; correct ?

 2 A.       Right .

 3 Q.       In fact , when seize d -- well , the photograph 's

 4 in here somewhere .       Let 's just say it kind of look s

 5 more like this guy here who has n't been print ed ?

 6 A.       Right .

 7          MR. MONTEMARANO :       Pass the witness , Your Honor .

 8 Thank you .

 9          MR. MARTIN:      Thank you .     With the Court 's

10 permission .

11                          CROSS-EXAMINATION

12          BY MR. MARTIN:

13 Q.       Good afternoon , ma'am .

14 A.       Good afternoon , sir .

15 Q.       Corporal     Muldoon , right ?

16 A.       Yes, sir .

17 Q.       Colleen ?

18 A.       Yes .

19 Q.       Corporal     Muldoon , can you see that bottle ?

20 A.       Yes .

21 Q.       And you saw me take a swig from it ; right ?

22 A.       Yes .

23 Q.       And you've     been a police officer       how long now ?

24 A.       For almost     18 year s.

25 Q.       Eighteen     year s.   And based on your experience         as




                                                                Page 206
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 207 of 231



1 a police officer , because         you've    testifi ed to your

2 experience      as a police officer , would it be fair to say

3 that there 's a good chance         you might get my

4 fingerprint s off of that bottle ?

5 A.          Kind of depends .

6 Q.          Depends .    If I didn't   smear it ?

7 A.          Right .

8 Q.          If there 's enough    oil on my finger s, you might

9 be able to get print s; right ?

10 A.         I'm not very good at get ting print s off of

11 anything .     I usually    never get print s off of anything .

12 Q.         A fingerprint     technician    might be able to ?

13 A.         Probably .

14 Q.         There 's also a pretty     good chance     that my DNA

15 might be on that ?

16 A.         Yes, sir .    I've never take n a DNA swab from

17 anybody    yet .

18 Q.          You might be inclined , as a police officer , to

19 send it to forensic s to have a DNA sample            taken if you

20 find a half bottle       of water or something ?

21 A.         If I needed     DNA or something, yes, sir,      I would

22 do that.

23 Q.         If you needed the     DNA, right .      If you try to

24 link a certain       item to certain      people , those are the

25 thing s you try to use to link them ; right ?




                                                               Page 207
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 208 of 231



 1 A.        Yes .     If I need ed the a link, there are certain

 2 thing s I would do to get that link .

 3 Q.        If somebody     were to come and take a photo of

 4 that bottle       from this angle with Ms. Johnston           and Ms.

 5 Greenberg    sitting     there , they might come to the

 6 conclusion    that because      that bottle   was sitting       over

 7 there , it might belong        to them , right ?

 8 A.        But I don't think      I would take that picture         in

 9 that direction       because   I knew I saw it comi ng from you .

10 Q.        You saw it .     But if you didn't       see it ?

11 A.        Right .

12 Q.        And you just saw the picture , you might come to

13 that conclusion ; right ?

14 A.        If I took that exact picture        that you de scribe d,

15 yes .

16 Q.        Now getting     back to the last thing Mr.

17 Montemarano       asked you about these box es .       All of these

18 box es were found at Oglethorpe ; correct ?

19 A.        Yes, sir , they were .

20 Q.        Some of them we 've already      establish ed -- at

21 least three of them were dusted          for fingerprint s;

22 right ?

23 A.        Right .     The one s that had the drug s and the        gun s

24 in .

25 Q.          And having    been dusted   for fingerprint s, at no




                                                                  Page 208
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 209 of 231



1 time during your         testimony    today did you say whether

2 anyone 's fingerprint s were found on here ; did you ?

3 A.          That 's because      I don't know .

4 Q.          You don't know .       Because    you didn't     look at the

5 lab report s?

6 A.          Because     the last time I saw these prior to trial

7 prep was when I dropped           them off in Montgomery         County

8 for Detective         Eveler .

9 Q.          And so in all the document s that you've             look ed

10 at , you have not seen a single             laboratory    report

11 indicati ng whether       result s already      came back ?

12 A.         No, sir .

13 Q.         But you know for a fact that it was sent to the

14 forensic     lab ?

15 A.         All I know is from look ing at that , that they

16 were fingerprint ed.

17 Q.         So you have no indication          that anyone     sitting     in

18 this courtroom        or standing    in this courtroom        for that

19 matter   have their print s on that toolbox , right ?

20 A.         Right .

21 Q.         With respect     to Oglethorpe      Street , you had a

22 search   warrant ; correct ?

23 A.         Yes, sir .

24 Q.         And the search       warrant   indicated      not only the

25 address , but the person         who live s at Oglethorpe ; did it




                                                                      Page 209
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 210 of 231



 1 not ?

 2 A.         The search     warrant   was for the address .

 3 Q.         Do you have it in front of you,            ma'am ?

 4 A.         I don't know     if I have the search        warrant     with

 5 me .     Let me look .

 6            MR. MARTIN:      Court 's indulgence       for a moment .

 7            THE WITNESS:      I don't have     the search        warrant

 8 with me .

 9            BY MR. MARTIN:

10 Q.         You do or you don't have ?

11 A.         I do not have the search         warrant    with me .

12 Q.         Did there come a time when you found out who

13 live d at Oglethorpe ?

14            MS. JOHNSTON:      Objection .

15            Basis and knowledge .

16            MR. MARTIN:      I'm asking    her whether     or not     she

17 found out , and then if she did .

18            THE COURT:      Ask her if she found out , that 's

19 fine .     Yes or no .

20            THE WITNESS:      I think I knew that Mr. Lane live d

21 there , Larry Lane live d there , but there was nobody                    at

22 the house , and we were find ing thing s in different

23 people 's name s at the house , so I didn't know                exact ly

24 who was actual ly living        there .

25            BY MR. MARTIN:




                                                                     Page 210
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 211 of 231



 1 Q.         But you said you knew that there was Larry Lane ?

 2 A.         Yes .

 3 Q.         When you went into the house , I presume         that

 4 there were a lot of document s that were found .            Would

 5 that be a fair statement ?

 6 A.         There was a lot of document s, yes , that were

 7 found , yes .

 8 Q.         A lot of paper s were found in the house ; right ?

 9 A.         Right .

10 Q.         And some of those paper s had Larry Lane 's name

11 on it ; did they not ?

12 A.         I really    don't recall .   I'd have to go through

13 some of the document s.        I'm sure there was thing s with

14 his name on there .

15 Q.         Well , take me back , ma'am , because     I don't

16 remember .      I thought   that I heard you say that you were

17 either     the team leader    or the seizi ng agent .     I don't

18 remember     what your role was .

19 A.         My role after the -- after I gave everybody

20 their initial        area s where they were suppose d to be

21 search ing , my role , once they re covered       something , I

22 would go and photograph        it and pack it up and then I

23 brought     it back to Detective    Eveler   up in Montgomery

24 County .

25 Q.         So you pack ed it up , you took it back to




                                                               Page 211
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 212 of 231



 1 Detective     Eveler , and how much did you pack up ?           Do you

 2 remember     in term s of box es ?

 3 A.         There was a lot of thing s that we brought              back .

 4 Q.         A lot of those thing s included        paper s and

 5 document s; didn't       they ?

 6 A.         Yes .

 7 Q.         And it included        correspondence ; didn't   it ?

 8 A.         I really    can't remember .     I'd have to go through

 9 the -- everything        that we package d up .

10 Q.         So of all the envelope s -- well , did you find

11 more than the three or four envelope s that you

12 testifi ed about today ?

13 A.         Yes .    I'm sure we did .     I would have to , again ,

14 go through        those document s to see exact ly what we

15 found .

16 Q.         Out of all the many envelopes         presumably     that

17 were found , the only one s you've          testifi ed about today

18 are the one s that Mr. Goodwin 's name is on it ; right ?

19 A.         Yes .

20 Q.         You didn't    testify     to any of the envelope s that

21 had Larry Lane 's name on it ; did you ?

22 A.         No .

23 Q.         An d you didn't    testify    to any of the   envelope s

24 that had the address         for Oglethorpe    Street on it ; did

25 you ?




                                                                 Page 212
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 213 of 231



 1 A.        Yes , that 's correct .

 2 Q.        When you went into the home at Oglethorpe , I

 3 presume   -- correct     me if I'm wrong , because      I don't

 4 know , I was n't there .       Did you and your other members

 5 of your team wear lat ex glove s?

 6 A.        Yes, sir .

 7 Q.        If not lat ex , you wore something , and the reason

 8 you did that is because         you didn't   want to con taminate

 9 any potential       evidence   with your own print s; right ?

10 A.        That , and to not get anything        back on us .    To

11 protect   us .

12 Q.        To protect    you as well .     Now , with respect    to

13 the ski mask , and I think this that were some other --

14 forgive   me , because    I don't recall .     I was taking

15 note s.   Did you testify       to any ski mask that was found ?

16 A.        Yes, sir , there was a ski mask and a bullet proof

17 vest .

18 Q.        And a bulletproof      vest ?

19 A.        Yes, sir , that was found in the brown suitcase .

20 Q.        And the    ski mask and the     bullet proof vest, did

21 you send that to forensic s as well ?

22 A.        I didn't do anything      with that , sir .    I just

23 brought   it up to Montgomery       County where    they were

24 collect ing the evidence .

25 Q.        You have no way of telling         the ladies and




                                                                 Page 213
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 214 of 231



1 gentlemen of the jury           today whether      anyone     else 's DNA

2 was found on that ski mask ?

3 A.          Right .      I didn't     do that , right .

4 Q.          Again , based on your experience              as an officer ,

5 if you were try ing to          link somebody      to those

6 identit ies, that would be one of the thing s you would

7 try to do to link them ; would n't it ?

8 A.          That would be one of the things               I could do .

9 Q.          That would be good police           work ; would n't it ?

10 A.         It kind of depends          if I really   need ed it or not .

11 I might have it just -- if it was re covered                  in

12 somebody 's house , I could link it to that person

13 because    it was in that person 's house .

14 Q.         Let me ask you this :          When you got the ski mask

15 and you got the vest, you put it in the plastic                    bag ?

16 A.         I think I left everything           in its box in the

17 suitcase     when I brought        it up to Montgomery        County .

18 Q.         So you took it up to Montgomery               County and you

19 gave it to ?

20 A.         Detective      Eveler , yes, sir .

21 Q.         Detective      Eveler ?

22 A.         Yeah .

23 Q.         After that , you never saw it again ?

24 A.         Exact ly .

25 Q.         Do you recall      at the time that you went in for




                                                                      Page 214
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 215 of 231



 1 the search     warrant     with the search      warrant   for

 2 Oglethorpe ?

 3 A.         Yes, sir , I have      that .

 4 Q.         No, ma'am .     If you would listen        to me for a

 5 second .     Do you recall      whether     you had an arrest

 6 warrant    for Larry Lane ?

 7 A.         I don't believe       I had an arrest      warrant .    I

 8 don't remember , sir .

 9 Q.         You don't remember ?       But you did say there was

10 no one in the house when you went in there ; right ?

11 A.         Right .

12 Q.         Let 's go through      some of this stuff here .            You

13 testifi ed regard ing many item s that were pick ed up .

14 One of the item s you testifi ed about was a Pyre x

15 measuring     cup that contain ed residue , that was

16 Oglethorpe     No. 2 .     Do you remember      that ?

17 A.         Yes , the Pyr ex .

18 Q.         Do you remember       whether    that was sent to

19 forensic     to determine     whether      or not   there was

20 fingerprints     on it ?

21 A.         Sir , I don't know      if they were or not .

22 Q.         I'm sorry , ma'am ?

23 A.         I do not know if they were or not .

24 Q.         Oglethorpe    3.     You found two box es of baki ng

25 soda ; one empty , one full .         In your experience        as a




                                                                     Page 215
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 216 of 231



 1 police officer , would it be fair to say that the oil

 2 from one 's hands would sometimes         leave finger prints       on

 3 paper or cardboard        item s?

 4 A.         You know , maybe a forensic       person   or an evidence

 5 person   might be able to get print s off of there .            I

 6 don't know     if they could or not , but it could happen .

 7 Q.         You don't know .

 8 A.         Right .    I'm not an ex pert .

 9 Q.         As a police officer , if you saw a piece of paper

10 or a magazine        or something   like that , based on your

11 train ing , aren't      you aware --

12 A.         Right , you could get fingerprint s off of that ,

13 yes .

14 Q.         -- you could get finger prints       off of that .       And

15 you don't know whether        or not that was sent to any

16 forensic     lab for fingerprint s; do you ?

17 A.         I don't remember     if there was black powder       on

18 there or not .        I don't know .   I don't think    there was .

19 Q.         As you sit here today , having       re view ed all of

20 the evidence that        was seize d by the    government , you

21 can't say whether        Mr. Goodwin 's fingerprint s were found

22 on that baki ng soda ; could you ?

23 A.         I could not say that , right .

24 Q.         Oglethorpe    4, a Salt er scale , you found that in

25 the kitchen with        the Pyr ex measuring    cup , right ?




                                                               Page 216
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 217 of 231



 1 A.        Yes .

 2 Q.        Same thing .     This scale , was it sent to

 3 forensic s to determine       whether   or not     Mr. Goodwin 's or

 4 anybody   else 's finger prints    were on       there ?

 5 A.        Sir , I didn't    send anything    to forensics.        Non e

 6 of these thing s I sent to forensic s.             The only thing I

 7 did was package      it up and bring everything            to

 8 Montgomery    County .

 9 Q.        When you were preparing       for today 's testimony ,

10 as you went through        the evidence , as you went through

11 the document s to refresh       your recollection          --

12 A.        Right .

13 Q.        -- do you recall     see ing anything       that suggest ed

14 that Mr. Goodwin 's finger prints        were found on the

15 Salt er scale ?

16 A.        I did not see any kind of document s regard ing

17 any kind of finger prints .

18 Q.        Regard ing any of these item s that you testifi ed

19 to today ?

20 A.        That 's correct.     I did not see any kind of

21 documents regarding any       body 's fingerprints         on any of

22 the items that      I testified to today     .

23 Q.        You don't know how any of those envelopes              that

24 have Mr. Good win 's name and address            on it arrived    at

25 Oglethorpe ; do you ?




                                                                   Page 217
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 218 of 231



 1 A.       No, sir , I do not know how they got there .

 2 Q.       The weapon s.      .22 caliber     handgun , which is

 3 Oglethorpe       9A, that particular      weapon , where was that

 4 found , ma'am ?

 5 A.       Can you -- in the top corner          of your thing , you

 6 might see an R number .           Can you tell me what that R

 7 number   is ?

 8 Q.       Un fortunate ly , ma'am , I don't have         that .    Mine

 9 has been sanitize d.

10 A.       What is it again ?

11 Q.       Oglethorpe      9A, it 's a .22 caliber    handgun .        Do

12 you recall       where that was found ?

13 A.       Yeah .     The 9A, that was going to be -- that was

14 found in the first toolbox           that I testifi ed to .       It was

15 re covered      from the base ment .

16 Q.       And Oglethorpe          9B, the .380 Caliber    handgun ,

17 where was that found ?

18 A.       The . 38 0 handgun , again , that was found in that

19 same toolbox .

20 Q.       When you say the same toolbox , was it one of the

21 larger   tool boxes over here or the small one that was

22 no t dusted ?

23 A.       Right .     It was in one of the larger         toolbox es.

24 Q.       Th e larger     one .     So when we say the larger       one,

25 just for the sake of maki ng this clear to the juror s --




                                                                    Page 218
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 219 of 231



 1 I don't want to hurt myself         or anybody   else , so I'm not

 2 going to try to lift that .         It's one of these three

 3 that are here on the floor ; right ?

 4 A.         Yes, sir .

 5 Q.         We can distinguish     those three on the floor from

 6 this one from two way s, can we not ?          The first being

 7 that the small er one is not dusted .

 8 A.         Right .

 9 Q.         And the second     is -- the size is different .

10 A.         Correct .

11 Q.         Okay .    How many bedroom s did you say were in the

12 house ?

13 A.         Three bedroom s.

14 Q.         You said of the three bedroom s, if I recall          your

15 testimony     correct ly , two had furnish ings that indicated

16 children     would have been there ?

17 A.         Correct .

18 Q.         Or sometimes    might have stay ed there ; right ?

19 A.         Correct .

20 Q.         One was a boy 's room and one was a girl 's room ?

21 A.         Correct .

22 Q.         Do you remember     whether   there were any clothe s

23 in the closet ?

24 A.         Correct .

25 Q.         With respect    to the clothe s that were in the




                                                               Page 219
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 220 of 231



 1 closet , did the clothi ng square         with the decor ?      In

 2 other words , was there an indication            that a boy stay ed

 3 in one room and the a girl in the other ?

 4 A.       I really   -- I can't say for sure .

 5 Q.       You don't remember ?

 6 A.       No , because   we didn't      really   want to touch those

 7 room s because   those were the children 's room s, and we

 8 just did a cursory      search    on those .     We did look

 9 around , but we really       didn't    want to disturb    the

10 children 's item s.

11 Q.       There was a third bedroom , you said , and that

12 room was use d by an adult ?

13 A.       Yes .

14 Q.       Do you recall       whether   or not the room indicated

15 that it was use d by man or a woman ?

16 A.       I -- you know , I don't remember .          My job in

17 this , after an officer       would search      something , they 'd

18 call me and I'd take a picture           and I'd bag it and we'd

19 tag it , in a sense , and then I'd get call ed some place

20 else .   I did n't look in everybody 's room , look in

21 everybody 's closet , look at every piece of document

22 right then and there     .

23 Q.       Did you take a picture         of that room ?

24 A.       Yes .

25 Q.       As you prepared       for your testimony      today and you




                                                                Page 220
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 221 of 231



 1 look ed over the various        photo s and document s, is there

 2 anything     that call s to mind whether      or not   a man was in

 3 that room or use d that room ?

 4 A.         I would say a man did use that room .          I'm not

 5 100 percent        sure if there 's a woman that may have       use d

 6 that room also .

 7 Q.         We're not ruling     out the fact that a mom might

 8 have been using the room at all ?

 9 A.         I cannot recall any women's things in there, but

10 I cannot say for sure that there wasn't.

11 Q.         By the way , as you were preparing        for today 's

12 testimony     and you were going through       the evidence , did

13 you see the ski mask here ?

14 A.         It might have been in that brown suitcase .            I

15 know it was in the picture .

16 Q.         And the    bullet proof vest , is it here as well ?

17 A.         I believe    it 's in the brown suitcase .

18            MR. MARTIN:     Court 's indulgence .     And if I could

19 ask for your patience .

20            THE WITNESS:     That 's fine , sir .

21            BY MR. MARTIN:

22 Q.         When you got to the house , Mr. Lane 's house on

23 Oglethorpe , do you recall        whether   or not there was a

24 vehicle    in the drive way ?

25 A.         Yes .    I think there was three vehicle s there




                                                                Page 221
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 222 of 231



 1 that we believe d that belong ed to the house .

 2 Q.         You didn't    search    those vehicle s, though ; did

 3 you ?

 4 A.         No , I did not search      those vehicle s.

 5 Q.         You didn't    search    them because   you didn't   have a

 6 warrant    to do so ?

 7 A.         Correct .

 8 Q.         Now, there were a number        of phone number s on

 9 some paper s that you found .          If I could just show them

10 to you .     I don't know    if you have a memory      of these .

11 MR . MARTIN:       Your Honor , may I approach     the witness ,

12 please ?

13            THE COURT:     You may .

14            BY MR. MARTIN:

15 Q.         I'm show ing you what's       been mark ed as

16 Government 's Exhibit 29          and Government 's Exhibit 26 ,

17 jus t to refresh       your recollection .

18 A.         Yes .

19 Q.         Do you remember    these ?

20 A.         Yes, sir .

21 Q.         Do you remember    where you found      those ?

22 A.         I just want to double        check and make sure I give

23 you the right answer .        Those were re covered      from the

24 box -- this one , Item No. 29 was re covered           from the box

25 -- the last box that we re view ed and this , Oglethorpe




                                                                Page 222
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 223 of 231



 1 26 , was re covered       at the -- on the round table they

 2 discuss ed earlier .

 3 Q.         You have no idea whose handwriting            is that , do

 4 you ?

 5 A.         No, sir .

 6 Q.         And these document s, just like the other

 7 document s that I asked you          about , as far as       you know ,

 8 they were never sent to forensic s to get finger prints

 9 off of them ?

10 A.         Correct .      I don't know      if they were or not .     It

11 does n't look like it .          Sometimes    when you do that , it

12 might destroy        --

13 Q.         Ma'am , if you just hold on .          When I have a

14 question     --

15 A.         Okay .

16 Q.         -- you can answer .       Otherwise , Ms. Johnston        here

17 will ask you to clarify           later .

18            You also testifi ed when Mr. Montemarano             start ed

19 to ask you question s regard ing caliber             of gun s and

20 thing s like that , you said you really             didn't    have much

21 experience        or knowledge    of weapon s.

22 A.         Correct .

23 Q.         Do you remember       that ?

24 A.         Yes .

25 Q.         You are a police officer , though ; right ?




                                                                   Page 223
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 224 of 231



1 A.       Yes .

2 Q.       You use a weapon ; right ?

3 A.       I use one weapon .

4 Q.       You have to be certifi ed on it every so often

5 for proficiency;      right ?

6 A.       Yes .

7 Q.       So you have some familiarity ?

8 A.       Yes .

9 Q.       You are not a pharmacologist,          are you ?

10 A.      No .

11 Q.      And you're    not a chemist , are you ?

12 A.      No .

13 Q.      And you've    never use d crack cocaine , have you ?

14 A.      No .

15 Q.      So you really     don't know whether       or not   the

16 item s that are in that bag are crack cocaine , do you ?

17 A.      It says it on the paper .

18 Q.      It says it on the paper .         Just like the bottle

19 that I put over here appear ed to be in front of Ms.

20 Johnston ?

21 A.      What , that it appear s to be water ?

22 Q.      No , it appear ed to be her s.

23 A.      I don't understand       what you're    say ing , sir .

24 Q.      Okay .

25 Q.      And you don't know the result s of any of the




                                                               Page 224
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 225 of 231



 1 testing     with respect     to the drug s, what appear s to be

 2 drug s to you .     You don't know what the result            of those

 3 test s were either ; do you ?

 4 A.         I'm sorry , do I know what the result s of what

 5 the drug s were , if they came back to be what drug s they

 6 say they were ?

 7 Q.         Yeah .

 8 A.         I read them on the paper s.

 9 Q.         You read those report s but you didn't         read any

10 forensic     report s?

11 A.         Yeah .   The US attorney      Deborah   Johnston    hand ed

12 them to     me , the document s written      on there , what it is

13 that you could tell that it went to the lab and was

14 tested .

15 Q.         And it said that it was crack cocaine ?

16 A.         I don't know      if it said -- I think there was

17 something     on there that said that it was .          I don't

18 know .     I thought     I read that .

19 Q.         You thought      you read that , but you're    not sure ;

20 are you ?

21 A.         I'd have to look at it .

22 Q.         Would you want to look at it ?

23 A.         Yes , please .

24 Q.         Which one would you want to look at ?

25 A.         It does n't matter .




                                                                  Page 225
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 226 of 231



1 Q.         And you said that you saw a lab report          on this ?

2 A.         Not a lab report , sir .     I said I thought      I saw

3 -- identifi ed .

4 Q.         You just said where it was crack cocaine .

5 A.         No, I said I thought , excuse        me , that I saw the

6 fact that it       went to evidence    and that it said that it

7 was hydrochloride         or not , but I guess I was mis taken .

8 If it was analyze d.

9 Q.         Well , hydrochloride     is just another    word for

10 powder    or sulfur ; isn't it ?

11 A.        Yes , right .     It says here -- this one says -- on

12 the description      I was reading , the description , sir ,

13 when I was look ing at it .

14 Q.        Oh , but that description     isn't written     by a lab

15 technician ?

16 A.        No , that 's not our evidence       tag , but no , that is

17 not written      by --

18 Q.        So you didn't      use any of the item s or the

19 substance s in here ?

20 A.        I've been work ing narcotic s for a long period            of

21 time --

22 Q.        You didn't      use any of this ?

23 A.        No .

24 Q.        You didn't      test any of these substance s?

25 A.        That is correct .




                                                               Page 226
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 227 of 231



 1 Q.        You are not a pharmacologist          and you are not a

 2 chemist ?

 3 A.        Thank you .

 4 Q.        And have no reason       to believe    that Le arley Reed

 5 Goodwin     had any connection     to that house other than the

 6 envelope s with his name and address            on there ; right ?

 7 A.        That 's correct .

 8           MR. MARTIN:       No further     question s, Your Honor .

 9           MR. HALL:     No question s, Your Honor .

10           MR . MITCHELL :     No question s.

11           MR. WARD:     No question s.       Thank you , Your Honor .

12           THE WITNESS:       Thank you .

13           MR. MCKNETT :      No question s.

14           THE COURT:      Re direct ?

15           MS. JOHNSTON:       Just a very few question s, Your

16 Honor , if I might .

17                         REDIRECT   EXAMINATION

18           BY MS. JOHNSTON :

19 Q.        You've    been a narcotic s officer      for 18 year s?

20 A.        No , I've been in narcotic s for about 15 year s.

21 Q.        During    those 15 year s, how many time s have you

22 had occasion       to see a substance      that you believe d was

23 crack cocaine       and then send it to the lab ?

24 A.        Several    hundred s of thousands      of time s.   Almost

25 every other day .




                                                                 Page 227
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 228 of 231



 1 Q.        And how -- are you familiar           with what crack

 2 cocaine    look s like ?

 3 A.        Yes .

 4 Q.        Have you made those observation s and then sent

 5 drug s to the lab and gotten         the report s back ?

 6 A.        Yes .

 7 Q.        Have those report s confirm ed your evaluation ?

 8 A.        Yes .

 9 Q.        And show ing you just one , for example , 19 A.

10 What does that look to be to you ?

11 A.        Look s to me to be crack cocaine .

12 Q.        The evidence      tag s indicate     it was sent to the

13 lab ?

14 A.        Yes .

15           MR. MARTIN:       Renew ed objection     as to 701 .

16           THE COURT:       Over ruled .

17           BY MS. JOHNSTON:

18 Q.        Similar ly , that was your         basis for say ing the

19 powder    look ed like powder      and the other crack look ed

20 like crack ; correct ?

21 A.        And the marijuana       look ed like marijuana .

22 Q.        In deed , that probably         smell ed like marijuana ,

23 too ; didn't      it ?

24 A.        Yes .

25           MR. MARTIN:       Objection .




                                                                Page 228
    Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 229 of 231



1           THE COURT:     Over ruled .

2           BY MS. JOHNSTON:

3 Q.        In term s of the    item s that were select ed for

4 trial , did you make that selection          or was that made by

5 the case agent s and the prosecutor ?

6 A.        That was made by the case agent and the

7 prosecutor .

8 Q.        The only item , in term s of bullet s, gun s or

9 drug s or drug paraphernalia        was -- the bedroom , the

10 adult bedroom , did you re cover any drug paraphernalia ?

11 A.       We did find some marijuana        in a shoe box under

12 the bed .

13 Q.       That was what we saw the picture          of, that little

14 bit of residue ?

15 A.       Yes .

16 Q.       That was the ex tent of it ?

17 A.       And there was that one bullet         that was found in

18 the closet .

19 Q.       Under a bunch of box es and thing s?

20 A.       On the top shelf under everything , yes .

21 Q.       And other than that , where in the house did you

22 find item s having    coke , crack cocaine , or cocaine

23 powder   residue ?

24 A.       There was some residue        in the kitchen    that we

25 found , and then everything       else was found in the




                                                               Page 229
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 230 of 231



 1 base ment .

 2 Q.       And the document s that we've introduced            here

 3 came from what location s in the house ?

 4 A.       The kitchen     and then in the base ment .

 5          MS. JOHNSTON:       Court 's indulgence .      Nothing

 6 further .

 7          THE COURT:      Any re cross ?

 8          MR. MARTIN:      No re cross , Your Honor .

 9          THE COURT:      All right .      You may step down .

10          THE WITNESS:      Thank you , Your Honor .

11          THE COURT:      Ladies and gentlemen       we will recess

12 for the day .     I have a sentenci ng at 9:30 (sic),          so I

13 will ask people      to prompt ly evac uate their seat s so I

14 can proceed     to the 9:30 -- 4:30 sentenci ng .         Tomorrow ,

15 we're do in g our 9 clock to 2 o'clock          drill , so I will

16 see you at 9 o' clock tomorrow         morn ing .   You're excused .

17                  (Off the record       at 4:16 p.m. )

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                                                                Page 230
     Case 8:04-cr-00235-DKC Document 1196 Filed 04/30/08 Page 231 of 231



 1                              CERTIFICATE

 2

 3       I, Tracy Rae Dunlap,       RPR , CRR , an Official Court

 4 Reporter for the United States District Court of

 5 Maryland, do hereby certify that I reported, by machine

 6 shorthand, in my official capacity, the proceedings had

 7 and testimony adduced upon the Jury Trial Proceedings

 8 in the case of UNITED STATES OF AMERICA versus PAULETTE

 9 MARTIN, et al, Criminal Action Number            RWT -04-0235 on

10 July 13 , 2006.

11

12       I further certify that the foregoing            230 pages

13 constitute the official transcript of said proceedings,

14 as taken from my machine shorthand notes, of said

15 proceedings.

16

17       In witness whereof, I have hereto subscribed my

18 name, this     21st day of   April 2008.

19

20

21                                    __________________________

22                                    TRACY RAE DUNLAP, RPR , CRR
                                      OFFICIAL COURT REPORTER
23

24

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                                                                Page 231
